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                      Exhibit 32
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 1               IN THE UNITED STATES DISTRICT COURT
 2            FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
 3                       CHARLESTON DIVISION
 4
 5      _____________________________
                                      )
 6      B.P.J. by her next friend and)
        mother, HEATHER JACKSON,      )
 7                                    )
                  Plaintiff,          )
 8                                    )              No. 2:21-cv-00316
             vs.                      )
 9                                    )
        WEST VIRGINIA STATE BOARD OF )
10      EDUCATION, HARRISON COUNTY    )
        BOARD OF EDUCATION, WEST      )
11      VIRGINIA SECONDARY SCHOOL     )
        ACTIVITIES COMMISSION, W.     )
12      CLAYTON BURCH in his official)
        capacity as State             )
13      Superintendent, DORA STUTLER,)
        in her official capacity as )
14      Harrison County               )
        Superintendent, and THE STATE)
15      OF WEST VIRGINIA,             )
                                      )
16                Defendants.         )
                                      )
17      LAINEY ARMISTEAD,             )
                                      )
18                                    )
        Defendant-Intervenor.         )
19      _____________________________
20
                  REMOTE VIDEOTAPED DEPOSITION OF
21                 CHAD T. CARLSON, M.D., FACSM
                        Monday, March 28, 2022
22                             Volume I
23      Reported by:
        ALEXIS KAGAY
24      CSR No. 13795
        Job No. 5122881
25      PAGES 1 - 227

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1                IN THE UNITED STATES DISTRICT COURT
2            FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
3                        CHARLESTON DIVISION
4
5       _____________________________
                                      )
6       B.P.J. by her next friend and)
        mother, HEATHER JACKSON,      )
7                                     )
                  Plaintiff,          )
8                                     )No. 2:21-cv-00316
             vs.                      )
9                                     )
        WEST VIRGINIA STATE BOARD OF )
10      EDUCATION, HARRISON COUNTY    )
        BOARD OF EDUCATION, WEST      )
11      VIRGINIA SECONDARY SCHOOL     )
        ACTIVITIES COMMISSION, W.     )
12      CLAYTON BURCH in his official)
        capacity as State             )
13      Superintendent, DORA STUTLER,)
        in her official capacity as )
14      Harrison County               )
        Superintendent, and THE STATE)
15      OF WEST VIRGINIA,             )
                                      )
16                Defendants.         )
                                      )
17      LAINEY ARMISTEAD,             )
                                      )
18                                    )
        Defendant-Intervenor.         )
19      _____________________________
20             Videotaped deposition of CHAD T. CARLSON,
21      M.D., FACSM, Volume I, taken on behalf of Plaintiff,
22      with all participants appearing remotely, beginning
23      at 9:01 a.m. and ending at 3:19 p.m. on Monday,
24      March 28, 2022, before ALEXIS KAGAY, Certified
25      Shorthand Reporter No. 13795.

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1       APPEARANCES (via Zoom Videoconference):
2
3       For the State of West Virginia:
4            WEST VIRGINIA ATTORNEY GENERAL
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9               681.313.4570
10              David.C.Tryon@wvago.gov
11
12      For the Intervenor:
13           ALLIANCE DEFENDING FREEDOM
14              BY:     HAL FRAMPTON
15              BY:     RACHEL CSUTOROS
16              Attorneys at Law
17              20116 Ashbrook Place
18              Suite 250
19              Ashburn, Virginia 20147
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22
23
24
25

                                                                   Page 3

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1       APPEARANCES (Continued):
2
3       For defendants Harrison County Board of Education
4       and Superintendent Dora Stutler:
5              STEPTOE & JOHNSON PLLC
6              BY:    JEFFREY CROPP
7              Attorney at Law
8              400 White Oaks Boulevard
9              Bridgeport, West Virginia 26330
10             304.933.8154
11             Jeffrey.Cropp@Steptoe-Johnson.com
12
13      For West Virginia Board of Education and
14      Superintendent Burch, Heather Hutchens as general
15      counsel for the State Department of Education:
16             BAILEY & WYANT, PLLC
17             BY:    KELLY MORGAN
18             Attorneys at Law
19             500 Virginia Street
20             Suite 600
21             Charleston, West Virginia 25301
22             KMorgan@Baileywyant.com
23
24
25

                                                                   Page 4

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1       APPEARANCES (Continued):
2
3       For The Plaintiff, B.P.J.:
4               COOLEY
5               BY:     ELIZABETH REINHARDT
6               BY:     KATHLEEN HARTNETT
7               BY:     ANDREW BARR
8               BY:     KATELYN KANG
9               BY:     ZOE HELSTROM
10              BY:     VALERIA PELET DEL TORO
11              BY:     JULIE VEROFF
12              Attorneys at Law
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14              14th Floor
15              Boston, Massachusetts 02116-3740
16              617.937.2305
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24
25

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1       APPEARANCES (Continued):
2
3       For West Virginia Secondary School Activities
4       Commission:
5              SHUMAN MCCUSKEY SLICER
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7              Attorney at Law
8              1411 Virginia Street E
9              Suite 200
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22
23
24
25

                                                                   Page 6

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1       APPEARANCES (Continued):
2
3       For Plaintiff:
4               LAMBDA LEGAL
5               BY:     SRUTI SWAMINATHAN
6               Attorney at Law
7               120 Wall Street
8               Floor 19
9               New York, New York 10005-3919
10              SSwaminathan@lambdalegal.org
11
12
13
14
15
16      Also Present:
17              MITCH REISBORD - VERITEXT CONCIERGE
18
19      Videographer:
20              KIMBERLEE DECKER
21
22
23
24
25

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 1                        Monday, March 28, 2022

 2                              9:01 a.m.

 3                THE VIDEOGRAPHER:   Good morning.         We are on

 4      the record at 9:01 a.m. on March 28th of 2022.

 5                All participants are attending remotely.                09:01:01

 6                Audio and video recording will continue to

 7      take place unless all parties agree to go off the

 8      record.

 9                This is media unit 1 of the recorded

10      deposition of Dr. Chad T. Carlson, taken by counsel               09:01:19

11      for the plaintiff, in the matter of B.P.J., by her

12      next friend and mother, Heather Jackson, versus

13      West Virginia State Board of Education, et al.,

14      filed in the U.S. District Court, Southern District

15      of West Virginia, Charleston Division, Case                       09:01:38

16      Number 2:21-cv-00316.

17                My name is Kimberlee Decker from Veritext

18      Legal Solutions, and I am the videographer.             The

19      court reporter is Alexis Kagay.

20                I am not related to any party in this action,           09:01:54

21      nor am I financially interested in the outcome.

22                Counsel and all present will now state their

23      appearances and affiliations for the record.             If

24      there are any objections to proceeding, please state

25      them at the time of your appearance, beginning with               09:02:07

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 1      the noticing attorney.

 2              MR. BLOCK:    Good morning.      This is Josh Block

 3      from the ACLU on behalf of Plaintiff.           And I'll have

 4      my co-counsel introduce themselves.

 5              MS. HARTNETT:    Good morning.        This is               09:02:22

 6      Kathleen Hartnett from Cooley, LLP, for Plaintiff.

 7              MR. BARR:    Good morning.      Andrew Barr from

 8      Cooley, LLP, for Plaintiff.

 9              MS. KANG:    Good morning.      Katelyn Kang from

10      Cooley, LLP, for Plaintiff.                                         09:02:38

11              MS. HELSTROM:    Hello.     This is Zoe Helstrom

12      from Cooley, LLP, for Plaintiff.

13              MS. PELET DEL TORO:       Good morning.     This is

14      Valeria Pelet del Toro from Cooley, LLP, for

15      Plaintiff.

16              COUNSEL SWAMINATHAN:       Good morning.        This is

17      Sruti Swaminathan from Lambda Legal on behalf of

18      Plaintiff.

19              MR. FRAMPTON:    Good morning.        Hal Frampton

20      from Alliance Defending Freedom on behalf of the                    09:02:57

21      intervenor.

22              MS. CSUTOROS:    Hello.     Rachel Csutoros from

23      Alliance Defending Freedom on behalf of the

24      intervenor.

25              MR. TRYON:    This is David Tryon with the                  09:03:05

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 1      West Virginia Attorney General's Office representing

 2      the State of West Virginia.

 3              And just to clarify for the record, the time

 4      starting was Central Time, so 9:00 a.m., Central

 5      Time.                                                         09:03:18

 6              MR. CROPP:    This is Jeffrey Cropp with

 7      Steptoe & Johnson representing defendant Harrison

 8      County Board of Education and Dora Stutler.

 9              MS. MORGAN:    This is Kelly Morgan with

10      Bailey & Wyant representing the West Virginia Board           09:03:34

11      of Education and Superintendent Burch.

12              MS. GREEN:    This is Roberta Green,

13      Shuman McCuskey Slicer, here on behalf of

14      West Virginia Secondary School Activities

15      Commission.

16              THE VIDEOGRAPHER:      Thank you.

17              Will the court reporter please swear in the

18      witness.

19              (Witness sworn.)

20              MR. BLOCK:    Great.

21

22                    CHAD T. CARLSON, M.D., FACSM,

23      having been administered an oath, was examined and

24      testified as follows:

25

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 1                                EXAMINATION

 2      BY MR. BLOCK:

 3         Q      Good morning, Dr. Carlson.         My name is

 4      Josh Block from the ACLU.         I'll be taking your

 5      deposition today.                                                    09:04:22

 6                Could you state your whole name for the

 7      record.

 8         A      My name is Chad Thomas Carlson.

 9         Q      Have you ever had your deposition taken

10      before?                                                              09:04:30

11         A      In a couple of local cases, yes.

12         Q      All right.     What were those?

13         A      I can't recall.     One was -- I -- I was

14      retained as a witness in a traffic case and can't

15      recall the -- and that never went to trial.               And        09:04:48

16      then I was retained as a witness in an injury case

17      in a gym, and that also never went to trial.               I was

18      deposed in a local case once.           I can't remember the

19      circumstance.      It was over ten years ago.

20         Q      Do you remember if those cases were -- if any              09:05:11

21      of those were in federal court?

22         A      No, never --

23         Q      Okay.

24         A      -- in federal court.

25         Q      Okay.   So maybe you'll remember some of this              09:05:17

                                                                           Page 13

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 1      discussion from ten years ago, but if not, here's a

 2      refresher.       I just want to go over ground rules

 3      for -- for the deposition, and I have -- I have

 4      three main ground rules.

 5               The first is that, you know, although we have        09:05:31

 6      the video, the court reporter is also trying to

 7      write down everything we say, so it's important that

 8      your responses be verbal, by saying "yes" or "no"

 9      instead of nodding or shaking your head.

10               Is that okay with you?                               09:05:46

11         A     I understand that, and that's fine.

12         Q     Great.     And -- and you didn't nod your head,

13      which is what some people do in response to that

14      first ground rule, so you're already off to a good

15      start.                                                        09:05:59

16               The second is, again, related to the

17      transcript, that the court reporter can't write down

18      when two people are talking at the same time, so

19      it's important that you wait until I finish the

20      question before you answer, and in return, I'll wait          09:06:10

21      for you to finish your answer before I ask another

22      question.

23               Does that sound fair?

24         A     I appreciate that, and yes.

25         Q     Okay.     And the third is that, you know, it's      09:06:20

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 1      my job to ask questions that you understand and that

 2      you can provide an answer to.        So if anything in my

 3      question is unclear, I'm asking you to let me know,

 4      and I will rephrase it, okay?

 5         A    Okay.                                                        09:06:35

 6         Q    And if you do answer the question, I'm going

 7      to take that to mean that you understood it.

 8              Does that sound okay to you?

 9         A    That's reasonable, yes.

10         Q    Okay.   How did you prepare for this                         09:06:46

11      deposition?

12              MR. FRAMPTON:    Josh, real quick, before we do

13      that, this seems like a good time to memorialize our

14      typical understanding that all objections except to

15      form and scope are reserved; is that fair?                           09:07:03

16              MR. BLOCK:   Yes.    And we will agree again

17      that although any defendant can object, an objection

18      by one defendant preserves the objection for all of

19      them.

20              MR. FRAMPTON:    Okay.    Thank you.                         09:07:16

21              MR. TRYON:   This is Dave Tryon.            I agree with

22      that.

23              MR. BLOCK:   Okay.    And unless another party

24      speaks up, we'll take that as agreement for

25      everyone.                                                            09:07:34

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 1      BY MR. BLOCK:

 2         Q     Okay.   How did you prepare for this

 3      deposition?

 4         A     I reread through my statement, I read through

 5      the Safer rebuttal, and I met with counsel several             09:07:43

 6      times and reviewed some of the citations in the

 7      paper.

 8         Q     In which paper?

 9         A     In my white paper, sorry.

10         Q     When you say your white paper, are you                09:08:04

11      referring to your expert report submitted in

12      February of 2022?

13         A     Yes.

14         Q     Okay.   Did you review any other -- any

15      documents to prepare for this deposition besides               09:08:20

16      your report and Dr. Safer's report?

17         A     As I said, I reviewed some relevant papers,

18      yes.

19         Q     Did you review anything that wasn't already

20      cited in your expert report?                                   09:08:36

21         A     I -- I reviewed the FIMS paper from 2021.       I

22      reviewed a paper by Klaver.       I reviewed some data

23      on (technical difficulty) by Tomkinson.

24         Q     I'm sorry, the audio cut out.

25         A     I said, I reviewed some data on youth                 09:09:18

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 1      performance by Tomkinson.

 2              I reviewed Gregg Brown's report.

 3         Q    Did you review a transcript of Dr. Brown's

 4      deposition?

 5         A    Can you clarify what you're asking?                   09:09:40

 6         Q    Yeah.     Did you -- so Dr. Brown had a

 7      deposition on Friday.

 8              Have you reviewed a transcript of that

 9      deposition?

10         A    No.                                                   09:09:50

11         Q    Okay.     Is there any other additional research

12      you conducted?

13         A    Not that I can think of offhand.

14         Q    Okay.     So you -- you mentioned before, in

15      response to my questions about whether you've had a           09:10:11

16      deposition, some cases in which you had been a

17      witness.

18              In which of those cases were you retained as

19      an expert witness?

20         A    I believe the -- well, I was -- none of               09:10:30

21      these -- when -- when I was retained as -- I was

22      retained in a witness in all of them, I believe.

23         Q    Okay.     So you weren't -- you weren't like

24      a -- a firsthand witness to a traffic accident?

25         A    No.     No.   I -- no.   It had to do with the        09:10:49

                                                                    Page 17

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 1      nature of the injuries.

 2         Q     I see.     So other than those three cases we

 3      discussed, is there any other case in which you've

 4      been retained as an expert witness?

 5         A     Oh.     I'm sorry, yes, I have been retained by         09:11:03

 6      the State of Florida in a case similar to this.          I'm

 7      sorry.

 8         Q     And have you submitted an expert report in

 9      that Florida case?

10         A     I've submitted a different version of a white           09:11:20

11      paper -- of the white paper that I submitted to the

12      State of West Virginia.

13         Q     And have you been deposed in that case?

14         A     No.

15         Q     Is there any other case in which you've been            09:11:36

16      retained as an expert, even in a nontestifying role?

17         A     Not that I can recall, no.

18         Q     Okay.     If -- if you recall over the course of

19      this deposition, can you please bring that to my

20      attention?                                                       09:11:51

21         A     Absolutely.

22         Q     Okay.     What -- what was your -- what is your

23      hourly rate as an expert witness in this case?

24         A     I'm being paid $650 an hour for review and

25      $800 an hour for deposition time.                                09:12:09

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 1         Q    And is that the hourly rate you use in the

 2      Florida case as well?

 3         A    Yes.

 4         Q    Is that your standard hourly rate for -- for

 5      whenever you appear as an expert witness?                     09:12:25

 6         A    For local cases, no.

 7         Q    What's your hourly rate for local cases?

 8         A    I'd have to go back and look, but I believe

 9      it's somewhere around $500 an hour.

10         Q    And -- and how did you determine that as your         09:12:40

11      hourly rate?

12         A    How did I determine what?

13         Q    Sorry, the $650 an hour, how did you

14      determine that as your hourly rate?

15         A    I can't speak to that.       I -- it's the --         09:13:02

16      it's -- I was -- I tried to -- to be consistent with

17      each state that is talking to me, and that's the

18      rate we came down on.

19         Q    Okay.   So I have some questions for you just

20      about terminology so we can make sure we're                   09:13:46

21      understanding each other.

22              Do you know what the term "cisgender" means?

23              MR. FRAMPTON:    Object to the form.

24              And, Josh, can we do our standing objection

25      as to terminology?                                            09:13:59

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 1                MR. BLOCK:     Yes, absolutely.

 2                MR. FRAMPTON:      Thank you.

 3      BY MR. BLOCK:

 4         Q      But you can answer.       Do you know what the

 5      term --                                                       09:14:03

 6                MR. FRAMPTON:      Yes, go ahead and answer.

 7                THE WITNESS:      I'm familiar with the term,

 8      yes.

 9      BY MR. BLOCK:

10         Q      Okay.   What -- what do you understand the          09:14:07

11      term to mean?

12         A      Well, the terminology is not what I use, but

13      what I understand a cisgender individual to be is an

14      individual who, for example, is a biologically born

15      male who identifies as a male.                                09:14:29

16         Q      So if -- if I use the term "cisgender" in my

17      questions, you can understand what I'm talking

18      about?

19         A      I can understand what you're talking about.

20      I would prefer the term "natal male," but...                  09:14:42

21         Q      Okay.   Well --

22         A      I can understand what you're talking about.

23         Q      Okay.   So -- so to you -- well --

24         A      Or "biological male."

25         Q      But to the extent that I want to distinguish        09:14:57

                                                                    Page 20

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 1      between someone who is transgender and someone who

 2      is not, I -- I may ask you questions that -- that

 3      use the term "cisgender."

 4                So just to confirm, I want to -- you will

 5      understand what I'm referring to when I say                   09:15:15

 6      "cisgender"; correct?

 7            A   Yes, I will understand what you're referring

 8      to.

 9            Q   Okay.   And do you know what the term

10      "transgender" means?                                          09:15:22

11            A   I believe I understand what you're saying,

12      yes.

13            Q   What -- what does it mean?

14            A   I believe a transgender male, most likely by

15      your definition, would be an individual that is born          09:15:33

16      a certain sex but identifies as the opposite sex.

17            Q   Okay.   So if I use the word "transgender,"

18      you'll know what I'm talking about?

19            A   Yes, if you use the word "transgender," I

20      will know what you're talking about.                          09:15:55

21            Q   Do you have any objection to using the word

22      "transgender" yourself?

23            A   I -- I choose to use the -- the term

24      "biological male" and "biological female."          I

25      believe that that's an appropriate designator, but I          09:16:11

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 1      have -- I can understand your terminology, and I'm

 2      comfortable using it.

 3         Q      So -- so how -- so, in your words, if -- if

 4      you want -- you wanted to, you know, describe, you

 5      know, a -- a transgender woman and to distinguish             09:16:27

 6      between a transgender woman and a cisgender man, how

 7      would you -- how would you explain the difference

 8      between a transgender woman and a cisgender man,

 9      using your preferred terminology?

10         A      I would probably use the --                         09:16:42

11                MR. FRAMPTON:    Object to the form.

12                Go ahead and answer.

13                THE WITNESS:    I would probably use the

14      descriptor and just say a biological male

15      identifying as female.                                        09:16:50

16                And, I'm sorry, you said cisgender what?

17      BY MR. BLOCK:

18         Q      Man.

19         A      Again, I would use the descriptor and say a

20      biological male identifying as male.                          09:16:59

21         Q      Do you -- do you think that -- do you think

22      that being transgender is a real thing?

23                MR. FRAMPTON:    Object to the form.

24                THE WITNESS:    Define what you mean by "real

25      thing."                                                       09:17:38

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 1      BY MR. BLOCK:

 2         Q    Well, do you think that -- do -- do you -- I

 3      think, you know -- well, what do you understand

 4      gender identity to be?

 5              MR. FRAMPTON:     Object to the form.                     09:18:02

 6              Go ahead.

 7              THE WITNESS:     Well, I was retained in this

 8      case as a witness for sports safety, so I don't know

 9      that I was really retained to provide an opinion

10      here, but to the extent that I understand it, I                   09:18:16

11      understand gender identity to mean the extent to

12      which a person perceives themselves as being a

13      certain sex.

14      BY MR. BLOCK:

15         Q    Did you receive any -- as part of your --                 09:18:45

16      well, actually, I'll come back to that.             I'm sorry

17      for jumping ahead a little bit.

18              What -- you've been using the phrase

19      "biological sex."      What -- what's your understanding

20      of what that term means?                                          09:18:58

21         A    I would look to the -- the common parlance of

22      that, which is the biological characteristics that a

23      person is born with that -- that identify them as

24      male or female.     And if you want to extend it to

25      chromosomal analysis, the great majority of people                09:19:22

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 1      that subcategorize into XY or XX.

 2         Q    And how would you refer to the biological sex

 3      for the minority of people that don't subcategorize

 4      into XY or XX?

 5         A    Well, I --                                            09:19:40

 6              MR. FRAMPTON:    Object to the form.

 7              Go ahead.

 8              THE WITNESS:    I'm a board-certified sports

 9      medicine physician.     I'm not an endocrinologist.

10      And even though I've studied endocrinology to some            09:19:49

11      extent in my training, I -- I wasn't really retained

12      to offer an opinion on that.

13      BY MR. BLOCK:

14         Q    Okay.    So you're not offering an opinion

15      today on -- on -- an expert opinion today on -- on            09:19:59

16      the definition of biological sex?

17              MR. FRAMPTON:    Object to the form.

18              Go ahead.

19              THE WITNESS:    I was -- I was retained today

20      to offer an opinion on the issue of sports safety as          09:20:14

21      pertains to biological males crossing over into

22      female sports.

23      BY MR. BLOCK:

24         Q    So do you -- are you offering an expert

25      opinion on the safety of people with DSDs,                    09:20:29

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 1      differences of sexual development, participating in

 2      women's sports?

 3              MR. FRAMPTON:     Same objection.

 4              Go ahead.

 5              THE WITNESS:     My report does not speak to          09:20:46

 6      that specifically, no.

 7      BY MR. BLOCK:

 8         Q    Okay.   So do you know what complete androgen

 9      insensitivity syndrome is?

10         A    I'm familiar with it, yes.                            09:20:53

11         Q    Okay.   So you're not offering an expert

12      opinion on the safety implications of allowing

13      someone with complete androgen insensitivity

14      syndrome to participate in women's sports; right?

15              MR. FRAMPTON:     Object to the form.                 09:21:09

16              Go ahead.

17              THE WITNESS:     Well, first of all, my report

18      speaks to safety issues and whether there are risks

19      for (technical difficulty) faster individuals to

20      participate in pools of athletes who don't share              09:21:30

21      those same traits.      It's not my job to create policy

22      or decide which groups are more appropriate.

23      BY MR. BLOCK:

24         Q    I understand that.      I'm just trying to

25      determine whether you're offering an expert opinion           09:21:44

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 1      on whether someone with complete androgen

 2      insensitivity syndrome, who has XY chromosomes, can

 3      safely participate in women's sports; right?        You're

 4      not offering that opinion today?

 5         A    I am not.                                              09:22:02

 6              MR. FRAMPTON:     Object to the form.

 7              Go ahead.

 8              THE WITNESS:     I -- I'm not offering that

 9      opinion, no.

10      BY MR. BLOCK:                                                  09:22:07

11         Q    Okay.     Do you know what the term "sex

12      assigned at birth" is?

13         A    Do I know what the term -- can you --

14         Q    Do you understand --

15         A    I believe I do, yes.                                   09:22:26

16         Q    Sure, sure.

17              What -- what do you understand the -- the

18      term "sex assigned at birth" to refer to?

19         A    I would bring that back to common parlance

20      and just say that it's -- it's the determination               09:22:39

21      that's made based on visual evidence at the time

22      that the baby is born.

23         Q    Okay.     Thank you.

24              All right.     Now we get to look at some

25      documents.      So if you can get your Exhibit Share           09:22:57

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 1      ready, I'm going to mark the first document for you,

 2      and it will, hopefully, appear in your -- your

 3      folder as Exhibit 80.            Let's see if that actually

 4      works.

 5                 (Exhibit 80 was marked for identification              09:23:20

 6                by the court reporter and is attached hereto.)

 7                 THE WITNESS:     Do I need to hit refresh on

 8      this computer?

 9      BY MR. BLOCK:

10            Q    You -- you might.        Actually --                   09:23:27

11                 MR. FRAMPTON:     I'll jump in.        Yeah, as he

12      adds exhibits, we're going to have to refresh for

13      the exhibit to pop up in your folder.

14                 Right?

15                 MR. BLOCK:     Yes.                                    09:23:38

16                 And could we go off the record for a second?

17      I have a question for the concierge, just about

18      the -- the --

19                 MR. FRAMPTON:     Sure.     That's fine with me.

20                 THE VIDEOGRAPHER:        We're off the record at       09:23:48

21      9:24 a.m.

22                 (Recess.)

23                 THE VIDEOGRAPHER:        We are on the record at

24      9:24 a.m.

25      ///

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 1      BY MR. BLOCK:

 2         Q    All right.     So if you can let me know when

 3      Exhibit 80 appears in your folder.

 4         A    Okay.     I see it.   I'm pulling it up.

 5         Q    Great.     Do you recognize this document?            09:24:32

 6         A    Yes.     I believe that this is the declaration

 7      I signed with the State of West Virginia.

 8         Q    Great.     And what's the date on the document?

 9         A    February 23rd, 2022.

10         Q    And that's your signature along with it?              09:24:51

11         A    That is my signature, yes.

12         Q    Okay.     And have you filed any other reports

13      or declarations in this case?

14         A    I filed a copy of a white paper that speaks

15      to sports safety.                                             09:25:12

16              MR. BLOCK:     So I'm going to introduce

17      Exhibit 81, which should appear in your -- in your

18      folder in one second.

19              (Exhibit 81 was marked for identification

20             by the court reporter and is attached hereto.)         09:25:28

21              THE WITNESS:     Let me figure out how to close

22      out of this.

23              So is it Exhibit G?

24      BY MR. BLOCK:

25         Q    Yeah.     So if you --                                09:25:46

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 1         A    Yeah.

 2         Q    So if you look at the second page --

 3         A    Yes.

 4         Q    -- is that your -- your signature again,

 5      Dr. Chad T. Carlson, M.D.?                                    09:25:54

 6         A    It is, yes.

 7         Q    Okay.   And is this the -- the declaration and

 8      copy of the white paper that you're referring to?

 9         A    This was executed June 22nd, 2021, so I

10      believe that this was prior to a preliminary                  09:26:13

11      injunction.

12         Q    So it's submitted in connection with opposing

13      the motion for preliminary injunction in this case?

14         A    Correct, yes.

15         Q    Okay.   And if you go to the next page, it --         09:26:23

16      it says, "White Paper by Dr. Chad Thomas Carlson,

17      MD."

18              Do you see that?

19         A    I do, yes.

20         Q    And the date of that white paper is                   09:26:35

21      June 22nd, 2021; correct?

22         A    Correct.

23         Q    So that's the same day as your declaration is

24      dated; correct?

25         A    I'd have to -- I can look, but I -- yes, it           09:26:45

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 1      is.

 2            Q   Have -- are there any earlier versions of

 3      this white paper that you've authored?

 4            A   Earlier than the June 22nd version that you

 5      have here?                                                    09:27:02

 6            Q   Yes.

 7            A   No.

 8            Q   Okay.     So you -- did you author this white

 9      paper specifically for purposes of this litigation?

10            A   When you say "this litigation," do you mean         09:27:14

11      West Virginia's suit?

12            Q   Yes.

13            A   No.     It just -- the -- the timing of

14      completion of it coincided with the -- the deadline

15      for the case.                                                 09:27:32

16            Q   Who retained you to write this white paper?

17                MR. FRAMPTON:     Objection to form.

18                Go ahead.

19                THE WITNESS:     Alliance Defending Freedom.

20      BY MR. BLOCK:                                                 09:27:42

21            Q   And when did they retain you to write the

22      white paper?

23            A   I was contacted by ADF in, I believe,

24      February of 2020, at a time that I was president of

25      our national academy.                                         09:28:01

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 1         Q    What national academy?

 2         A    The American Medical Society for Sports

 3      Medicine.

 4              It was, I believe, Christiana Holcomb, and

 5      she said that they had interest in retaining an               09:28:15

 6      expert to speak on sports safety with transgender

 7      sports for a pending litigation.

 8         Q    And you said this was in February 2020?

 9         A    Yes.

10         Q    So about a year and a half before this white          09:28:31

11      paper was finalized?

12         A    Correct.

13         Q    Okay.   And did you -- so were you actually

14      retained in February 2020?

15         A    No.                                                   09:28:47

16         Q    Okay.   When were you actually retained?

17         A    It would have been towards the end of 2020.

18         Q    And without --

19         A    I had -- sorry.

20         Q    No, you go ahead.                                     09:28:59

21         A    I had made initial contact with Roger Brooks,

22      following their -- their initial contact, and we had

23      been scheduled to meet sometime the second week of

24      March, and that was right when COVID exploded.        I

25      own a private practice, and our -- our volume went            09:29:36

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 1      to about 15 percent of year before, and so we had

 2      other concerns, so...     It deferred conversation of

 3      this for a while.

 4         Q    Are things looking better now?

 5         A    Yes.                                                   09:29:57

 6         Q    Good.   I'm glad to hear that.

 7              So you -- so when -- you -- you say the

 8      initial contact was from ADF to you, not you to ADF;

 9      correct?

10         A    Correct.                                               09:30:11

11         Q    Okay.   And without revealing any contents of

12      your communications with ADF, do you have any

13      independent understanding of why you might have been

14      seen as a potential expert as opposed to some other

15      person who does sports medicine?                               09:30:34

16              MR. FRAMPTON:    And just quickly, as -- as --

17      as Mr. Block instructed you, don't reveal the

18      substance of your conversations with folks at ADF,

19      but to the extent you can answer the question

20      without doing that, please do so.                              09:30:49

21              THE WITNESS:    Well, I can't speak to what

22      people at ADF were thinking.        I should say that I --

23      I believe that the introduction was made through a

24      third party, and I -- I believe that they probably

25      got my name from Christian Medical/Dental                      09:31:13

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 1      Association and their policy person, and I can't

 2      recall his name.      And I think that the fact that I

 3      was head of our national organization at the time

 4      probably played into it.

 5      BY MR. BLOCK:                                                 09:31:40

 6         Q    What -- what is the Christian Medical/Dental

 7      Association?

 8         A    It's just an organization of Christian

 9      physicians and dentists.      I have very little

10      involvement with them.      I pay dues periodically.          09:31:55

11         Q    So you are a member of the Christian/Medical

12      Dental Association?

13         A    I might be.     I honestly don't recall whether

14      I'm current on my dues or not.

15         Q    Okay.   Have you read -- are you aware of the         09:32:10

16      Christian Medical/Dental Association's policies with

17      respect to transgender people?

18         A    No, I'm not.

19              MR. BLOCK:     Hold on.   I'm going to -- if you

20      give me half a second, I will show something to you.          09:32:41

21              This is going to pop up in your -- your

22      folder as Exhibit 82, I believe.         Let me know when

23      you see it.

24              (Exhibit 82 was marked for identification

25             by the court reporter and is attached hereto.)         09:33:16

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 1                THE WITNESS:   It's refreshing.       Hold on.

 2                Okay.   I see it.

 3      BY MR. BLOCK:

 4         Q      Okay.   Have you ever seen this document

 5      before?                                                       09:33:23

 6         A      I don't believe so, no.

 7         Q      Okay.   If you look at the -- the document --

 8      here, I -- I want to give you, you know, the time,

 9      whatever time you need, to look at it, but I would

10      like to just direct your -- your attention to -- let          09:33:41

11      me scroll down myself.

12                So if you go to page 2 of that document, near

13      the end, it says "Accordingly" -- do you see the --

14      the line that begins "Accordingly"?

15         A      I do, yes.                                          09:34:12

16         Q      Okay.   And it says (as read):

17                "Accordingly, CMDA opposes medical

18                assistance with gender

19                transitions (sic) on the following

20                grounds."                                           09:34:21

21                Do you see that?

22         A      Yes.

23         Q      Okay.   And do you -- do you also oppose

24      medical assistance with gender transition on

25      biblical grounds?                                             09:34:36

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 1               MR. FRAMPTON:    Object to the form and scope.

 2               THE WITNESS:    Can you clarify that question?

 3      BY MR. BLOCK:

 4           Q   Sure.   It says (as read):

 5               "CMDA opposes medical assistance                       09:34:44

 6               with gender transition on the

 7               following grounds."

 8               And then it's -- there's a capital letter A,

 9      and it says "Biblical."      And there's about seven

10      different entries under -- biblical reasons for                 09:35:00

11      opposing medical assistance with gender transition.

12               And -- and my question is, do you agree with

13      this part of this CMDA statement?

14           A   Are you asking me to read --

15               MR. FRAMPTON:    Objection --                          09:35:16

16               THE WITNESS:    -- all of this?

17               MR. FRAMPTON:    -- to form and scope.

18               THE WITNESS:    Because I can right now.

19      BY MR. BLOCK:

20           Q   Yeah, sure.                                            09:35:22

21           A   Okay.   Give me some time.

22               I just want to clarify.       Are you asking me if

23      I agree with A, B, C, D, E -- and E?

24           Q   I asked -- I'm asking you if you agree with

25      A.                                                              09:38:00

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 1         A    Okay.   So I've -- I've read through that.

 2         Q    Okay.   And do you agree with it?

 3              MR. FRAMPTON:     Objection; form and scope.

 4              THE WITNESS:    There's a lot in there to

 5      unpack, so I -- I can't say I agree with all of               09:38:10

 6      that.   And I was retained as a witness in this case

 7      to speak to sports safety.       I wasn't retained to

 8      provide an opinion in this regard.

 9              And again, I had no interaction, really, with

10      CMDA as an organization.                                      09:38:34

11      BY MR. BLOCK:

12         Q    Do you have any religious views about

13      transgender people that will have informed your

14      expert opinion in this case?

15              MR. FRAMPTON:     Objection; form and scope.          09:38:57

16              You can answer.

17              THE WITNESS:    I would say that my opinions in

18      this case are informed, just like UK Sport, entirely

19      on the science.    I don't believe my religious

20      opinions really play into this.         I would view my       09:39:19

21      role as providing a scientific opinion.

22      BY MR. BLOCK:

23         Q    Okay.   Does -- if you recall earlier, we --

24      we just had a discussion about, like, using the --

25      the word "transgender."                                       09:39:40

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 1              Do you have any religious beliefs that would

 2      preclude you from using the word "transgender"?

 3              MR. FRAMPTON:    Objection; form and scope.

 4              THE WITNESS:    No.   I just -- I believe that

 5      it's best to speak with clarity, and I believe that           09:39:56

 6      in many circles of discussion with people who aren't

 7      familiar with these types of terms, it gets very

 8      confusing to people to keep track of what a

 9      transgender woman is or what a transgender man is.

10      I have found that it's easier to refer to biological          09:40:15

11      males and females and then refer to their gender

12      identity.

13              THE REPORTER:    I'm so sorry to interrupt.

14      Mr. Frampton, I hear some background noise in your

15      room.   I don't know if there's a door you can shut.

16              MR. FRAMPTON:    I'm sorry.      This is

17      Hal Frampton.    It's -- it's -- I'm with the witness,

18      and it's not in our room.

19              THE REPORTER:    Okay.    Kimberlee, do you know

20      where it's coming from?

21              THE VIDEOGRAPHER:     It looked like it was his

22      mic.

23              But could we go off the record real quick?

24      Off the record, is that all right?

25              MR. FRAMPTON:    Sure.                                09:40:50

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 1                MR. BLOCK:   Yes.

 2                THE VIDEOGRAPHER:      Off the record at

 3      9:41 a.m.

 4                (Recess.)

 5                THE VIDEOGRAPHER:      We are on the record at      09:41:37

 6      9:42 a.m.

 7                MR. BLOCK:   Thanks.

 8      BY MR. BLOCK:

 9         Q      If you go to the -- the last page of this

10      document --                                                   09:41:51

11         A      Sorry, I got to go back.

12         Q      Actually, page 14 of the document.

13         A      They aren't numbered, so --

14         Q      Which --

15         A      The last page -- the last page of text.             09:42:06

16         Q      This -- no, this should be the -- it's --

17      it's page 14 of the PDF.         If you click on the

18      PDF with the --

19         A      Oh, I see.   Yeah.     I -- I'm there.

20         Q      Okay.   So at the bottom, it says "A final          09:42:27

21      comment on language."

22                Do you see that?

23         A      Yes.

24         Q      Okay.   I'm just going to read this into the

25      record.     It says (as read):                                09:42:36

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 1              "Terms should be as descriptively

 2              accurate as possible while avoiding

 3              ideological programming.         For

 4              instance, because an individual's

 5              intrinsic sex cannot be changed, and                  09:42:44

 6              gender is essentially a biologically

 7              meaningless term or concept aside

 8              from biological sex, terms such as

 9              'transgender identity,' as if it

10              were an objective reality, should be                  09:42:56

11              replaced by 'transgender-identified,

12              -identifying, or -identification,'

13              which are descriptively accurate.

14              Similarly, because 'gender

15              transition' is not ontologically or                   09:43:05

16              biologically possible, more

17              descriptively accurate terms, such

18              as, 'attempted transition efforts,'

19              or 'attempted transition-affirming

20              treatments or procedures,' are more                   09:43:16

21              accurate and preferred."

22              Did I read that correctly?

23         A    You read it correctory -- correctly, yes.

24         Q    Okay.   Thanks.

25              Do you think that using the term                      09:43:24

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 1      "transgender" amounts to ideological programming?

 2              MR. TRYON:     Objection.

 3              MR. FRAMPTON:       Objection; form and scope.

 4              THE WITNESS:       You cut out.      I didn't hear the

 5      question.   I'm sorry.                                             09:43:36

 6      BY MR. BLOCK:

 7         Q    Sorry.    Sorry.

 8              Do you think that the term "transgender" is a

 9      form -- is ideological -- I'll rephrase it.

10              Do you think that using the term                           09:43:45

11      "transgender" is ideological programming?

12              MR. FRAMPTON:       Objection; form and scope.

13              THE WITNESS:       Again, I was consulted into

14      this case as a board-certified physician to provide

15      an opinion on sports safety.          To the extent that I         09:43:59

16      have an opinion on gender terminology, you know,

17      I've never thought of it in that way, no.

18      BY MR. BLOCK:

19         Q    Okay.    And do you --

20         A    I've never even heard that description.                    09:44:13

21         Q    Okay.    And do you think that -- that

22      transgender identity is not an objective reality?

23              MR. FRAMPTON:       Objection; form and scope.

24              THE WITNESS:       I don't believe I'm rendering

25      an opinion on that.                                                09:44:42

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 1      BY MR. BLOCK:

 2         Q    And you're not qualified to render an opinion

 3      on that; correct?

 4         A    On whether transgender -- what was the --

 5      restate it.                                                   09:44:53

 6         Q    Transgender identity is an objective reality.

 7              MR. FRAMPTON:    Objection; form and scope.

 8              THE WITNESS:    I don't believe I am -- I've

 9      been retained to provide an opinion on that

10      statement, no.                                                09:45:12

11      BY MR. BLOCK:

12         Q    Do you have a personal opinion on that

13      statement?

14              MR. FRAMPTON:    Objection; form and scope.

15              THE WITNESS:    Define what -- what's -- define       09:45:26

16      an objective reality when it comes to gender

17      identification.     Can you tell me that?

18      BY MR. BLOCK:

19         Q    Well, I'm just referring to the phrasing in

20      this document.     So do you not -- do you have an --         09:45:37

21         A    Restate your question one more time.

22         Q    Sure.    Do you have any personal opinions on

23      whether transgender identity is an objective

24      reality?

25              MR. FRAMPTON:    Objection; form and scope.           09:45:47

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 1                THE WITNESS:    I don't know what it means to

 2      say that -- I don't know what objective reality with

 3      respect to transgender identification even is, so I

 4      don't think I can answer that question.

 5      BY MR. BLOCK:                                                 09:46:07

 6         Q      You're not offering any expert opinions in

 7      this case on whether gender identity has any

 8      biological underpinnings, are you?

 9         A      No, I'm not.    Again, I've been retained in

10      this case as a physician to provide on safety issues          09:46:37

11      with respect to individuals who have transgender

12      identification that are crossing over into other

13      sports.

14         Q      So -- so in that sentence, you use the term

15      "individuals who have transgender identification"             09:46:56

16      instead of "transgender individuals," which is

17      similar to what this document says people should use

18      in terms of language.       So I'm just trying to explore

19      why you're using the word "transgender

20      identification" instead of "transgender                       09:47:10

21      individuals."

22                So why are you using the term "transgender

23      identification" instead of "transgender

24      individuals"?

25                MR. FRAMPTON:    Objection; form and scope.         09:47:21

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 1               THE WITNESS:     I -- I don't know that I can

 2      speak to that.       I mean, it -- it relates, in a

 3      sense, to the term "gender identity," does it not?

 4      BY MR. BLOCK:

 5         Q     How so?                                              09:47:36

 6         A     Well, transgender identification speaks to

 7      identification.       Identification is analogous to

 8      gender identity.       I'm just trying to avoid confusing

 9      terms.

10         Q     And you think saying "transgender                    09:48:03

11      individuals" is a confusing term?

12         A     I didn't --

13               MR. FRAMPTON:     Objection --

14               THE WITNESS:     -- say that.

15               MR. FRAMPTON:     -- form and scope.                 09:48:07

16               THE WITNESS:     You did.

17      BY MR. BLOCK:

18         Q     I'm sorry, you and your counsel were talking

19      over each other.

20               Do you think "transgender individuals" is a          09:48:15

21      confusing term?

22               MR. FRAMPTON:     Objection; form and scope.

23               Go ahead.

24               THE WITNESS:     I -- I didn't say that it's a

25      confusing term.       I don't think it's confusing.     I     09:48:23

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 1      don't have a problem using it.           I'm just -- I don't

 2      know.

 3      BY MR. BLOCK:

 4            Q   So -- so I'll ask, again, an earlier

 5      question.        Why do you use the phrase "transgender          09:48:40

 6      identification" instead of "transgender

 7      individuals"?

 8                MR. FRAMPTON:     Objection; form and scope.

 9                THE WITNESS:     I can't speak to that.     I -- I

10      can't tell you why I chose that term.                            09:48:57

11      BY MR. BLOCK:

12            Q   Okay.     You don't know why?

13            A   No.

14            Q   Okay.     Have you -- have you written anything

15      else on the topic of transgender people?                         09:49:13

16            A   Written?

17            Q   Yes.     Besides this white paper and this

18      expert report.

19            A   Are you talking about -- define "written" for

20      me.                                                              09:49:34

21            Q   Well, I guess I'll go through different types

22      of writing.

23                Have you -- have you written any articles in

24      professional journals about transgender people or

25      the -- touching on the topic of transgender people?              09:49:46

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 1         A    No.

 2         Q    Have you written anything in popular media

 3      touching on the topic of transgender people?

 4         A    No.

 5         Q    Have you given any conference presentations           09:49:57

 6      or talks on the topic of -- touching on the topic of

 7      transgender people?

 8         A    No.

 9         Q    Have you disseminated any written document,

10      in any way, authored by you on the -- touching on             09:50:15

11      the topic of transgender people.

12              MR. FRAMPTON:    Object to the form.

13              Go ahead.

14              THE WITNESS:    Are you speaking to e-mail?

15      BY MR. BLOCK:                                                 09:50:33

16         Q    Sure.   Have -- have you written -- have you

17      written e-mails on the -- touching on the topic of

18      transgender people?

19         A    Yes.

20         Q    Are these e-mails to -- to Listservs?                 09:50:42

21         A    No.

22         Q    Who are these e-mails to?

23         A    So in my role as president of AMSSM and on my

24      time on the executive committee, occasionally this

25      issue would -- would crop up, and there were                  09:51:07

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 1      discussions about it.

 2         Q    So I'd like, to the best of your ability, for

 3      you to recall the specific occasions on which this

 4      issue cropped up.

 5              Can you remember any of them?                         09:51:24

 6         A    Yep.    The first time that I can recall it --

 7      let me back up and just say that we have --

 8              MR. BLOCK:    The witness's video froze for me.

 9              THE VIDEOGRAPHER:     Yeah, he looks frozen.

10      Let's go off the record.                                      09:51:54

11      BY MR. BLOCK:

12         Q    Sorry, you're -- you froze for -- for that

13      answer, so I think you were just telling me the --

14      the first occasion of the list in which this issue

15      cropped up.                                                   09:52:06

16         A    So I said that I was going to back up for a

17      second and just say that our academy hosts several

18      meetings each year, one of which is the annual

19      meeting, and it's usually about five days long, and

20      it's -- it's structured with different symposia that          09:52:20

21      are themed.     And periodically, particularly since, I

22      don't know, 2016, maybe, when I was -- I don't --

23      I'd have to think what year I went on to exec, maybe

24      it was 2017, but there had been, once in a while,

25      inquiries by members about whether there would be a           09:52:43

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 1      transgender medicine symposium at the annual

 2      meeting, because there had never been one before.

 3      And so in 2018, as we were -- as my program chair

 4      and I were putting together content for the meeting,

 5      this issue briefly came up around that.                       09:53:03

 6         Q    Was there a transgender medicine component to

 7      that symposium?

 8         A    That was -- that was for the annual meeting

 9      we had in Houston in 2019, and, no, we did not

10      include that.                                                 09:53:29

11         Q    Why not?

12         A    Well, there were lots of reasons, but we had

13      a budget that we had to work from, and we already

14      had a pretty strong sense of what we were wanting to

15      pay for to bring in other speakers to that meeting,           09:53:49

16      and I felt like if we were going to have a symposium

17      on transgender -- on the transgender athlete, that

18      it ought to be something that was structured with a

19      point/counterpoint format and that we would probably

20      want to bring in outside academicians to help create          09:54:12

21      that dialogue.

22         Q    Do most of -- do other components of the

23      symposia have point/counterpoint formats to them?

24         A    Often, yes.

25         Q    What are some examples of -- of other                 09:54:40

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 1      portions of the symposia that have had point and

 2      counterpoint formats?

 3            A   There's many examples, but one would be youth

 4      sport specialization versus having your child play

 5      in multiple different sports, point or counterpoint.          09:54:57

 6            Q   So you said there were several reasons why

 7      you didn't include a transgender medicine component

 8      of the symposium.     What are some others?

 9            A   As I said, we were -- we already had a sense

10      of what we wanted included in that meeting, and               09:55:22

11      there's always topics that need to be left for

12      future meetings, and that was --

13            Q   Was -- sorry.   Did you have a transgender

14      medicine component of a future meeting?

15            A   We haven't had an insight future meeting            09:55:38

16      since that Houston meeting because of COVID, so --

17      the 2020 meeting and the 2021 meeting were canceled.

18                Well, actually, I want to clarify.

19                The 2021 meeting was done virtually, and

20      there was a transgender component to that meeting,            09:55:55

21      yes.

22            Q   What was the transgender component?

23            A   I can't speak to it.     I -- I wasn't part of

24      it.

25            Q   What do you mean you weren't part of it?            09:56:10

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 1         A     I mean I didn't have anything to do with

 2      organizing it.

 3         Q     Did you attend it?

 4         A     No.

 5         Q     Why not?                                                09:56:23

 6         A     Because the meeting was virtual, and I was

 7      down in Florida with my family at the time, and we

 8      were, I believe, at a park that day.

 9         Q     Which one?

10         A     Which park?                                             09:56:38

11         Q     Yeah.

12         A     I don't remember which park we were at that

13      day, but it was -- it was either Hollywood Studios

14      or EPCOT or Magic Kingdom.       I don't know.

15         Q     Is there a way to watch the transgender                 09:56:52

16      component of the virtual symposium after the fact?

17         A     I believe for a time there is.         I don't know

18      if I -- I don't know if it's still accessible,

19      but...

20         Q     Do you know who the speakers were at that               09:57:11

21      symposium -- at that transgender component of the

22      symposium?

23         A     No, I don't recall.

24         Q     Do you recall the topic?

25         A     You mean the specific topics within sports              09:57:21

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 1      and transgenderism?

 2         Q     Yeah.   At that symposium.

 3         A     No.

 4         Q     Now, by the time this symposium -- this

 5      portion of the symposium occurred -- well, actually,          09:57:45

 6      let me step back.

 7               Around when did this 2021 virtual symposium

 8      occur?

 9         A     In April of 2021.

10         Q     In that -- by the time it occurred, had you          09:58:03

11      already been retained by ADF?

12         A     Yes.

13         Q     So did you think that the content of the

14      symposium might relate to any of the topics on which

15      you would be opining for ADF?                                 09:58:21

16               MR. FRAMPTON:    Object to the form.

17               Go ahead.

18               THE WITNESS:    I can't speak to that.     I was

19      already well into my work on the paper.

20      BY MR. BLOCK:                                                 09:58:40

21         Q     Did you think that the contents of the

22      symposium might be helpful in providing you

23      additional relevant information for you paper?

24               MR. FRAMPTON:    Same objection.

25               THE WITNESS:    I -- I feel like the process         09:58:54

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 1      that we went through to create that paper, that I

 2      went through to create that paper, was thorough, and

 3      I'm confident that we canvassed most of the

 4      available literature on the subject prior to the

 5      date of the paper being submitted.                            09:59:19

 6      BY MR. BLOCK:

 7         Q    You said "we canvassed."

 8              Who do you -- who do you mean by "we"?

 9              MR. FRAMPTON:    Object to the form.

10              THE WITNESS:    I mean Alliance Defending             09:59:37

11      Freedom and myself.

12      BY MR. BLOCK:

13         Q    Did Alliance Defending Freedom help provide

14      you with papers to review?

15              MR. FRAMPTON:    Objection to the form.               09:59:44

16              THE WITNESS:    When we first sat down to flesh

17      through what this paper might look like, I met with

18      one of the attorneys from Alliance Defending

19      Freedom, I outlined with him what we thought might

20      be an appropriate take on this paper, and then both           10:00:06

21      of us did literature searches.         I compiled what I

22      thought was relevant for the paper.

23              The paper is entirely mine.

24      BY MR. BLOCK:

25         Q    What do you mean by that?                             10:00:38

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 1         A    That every line in that paper is my own words

 2      and thought.

 3         Q    Is every line of the February 23rd, 2022,

 4      paper also your own words and thought?

 5         A    I've reviewed every line in -- in both                10:00:53

 6      papers, made extensive edits through it, and it

 7      represents my own thought completely, yes.

 8         Q    All right.     Well, first you said every line

 9      was your own words and thought, and then you said it

10      represents your thoughts completely, and so I just            10:01:15

11      want to get clarity.

12              Is every line of the February 23rd paper your

13      own words and thought?

14              MR. TRYON:     I'm just going to object and make

15      sure the witness understands that any communications          10:01:26

16      between him and either this office or ADF is covered

17      by the attorney-client privilege.

18              MR. FRAMPTON:     Yes, same -- same objection.

19              So we're not to discuss the substance of

20      those communications.                                         10:01:42

21              Go ahead.

22              THE WITNESS:     Can you repeat the question?

23      BY MR. BLOCK:

24         Q    Yeah.   Is every line of the February 23rd,

25      2022, paper your own words and thought?                       10:01:52

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 1                MR. FRAMPTON:    Same objection.

 2                Go ahead.

 3                THE WITNESS:    The additions that were made to

 4      that paper are my additions, yes.

 5      BY MR. BLOCK:                                                 10:02:18

 6         Q      When did you first become interested on the

 7      topic of transgender women competing in women's

 8      sports?

 9         A      I -- I would say that I first became aware of

10      it around the time that Joanna Harper had released            10:02:36

11      her paper.

12         Q      Which paper by Joanna Harper are you

13      referring to?

14         A      The -- the one where she published race times

15      of transgender athletes that transitioned and -- and          10:03:03

16      was comparing them to both their biological

17      competitors and then -- and then their

18      transgender -- was comparing race times and how they

19      stratified both and after transition.

20         Q      So this is her first paper?                         10:03:30

21         A      I -- yes.   It was the first paper she

22      published, yes.

23         Q      And when did you read that paper first?

24         A      I couldn't tell you.     Years ago.

25         Q      So you read it close to the time that it            10:03:42

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 1      first came out?

 2            A   I don't know if I -- I don't recall if I read

 3      it or if I was reading reference to it, but it would

 4      have been around that time.

 5            Q   What other reading on the topic of                  10:03:54

 6      transgender women competing in women's sports had

 7      you done before you were first contacted by Alliance

 8      Defending Freedom?

 9            A   I don't know if it's -- it's not specific to

10      transgenderism and sport, but McHugh's paper in the           10:04:24

11      New Atlantis had come up around the issue, again,

12      when I was at AMSSM, so that -- that had led to

13      discussions about transgenderism.

14            Q   It led to discussions at ASSM (sic)?

15            A   Yeah, just with other -- other people there.        10:04:46

16            Q   And what were those discussions?

17            A   It -- well, the -- the paper had to do with

18      the biological underpinnings of -- of gender

19      identity.

20            Q   How --                                              10:05:01

21            A   But --

22            Q   How did -- I didn't mean to cut you off.     Go

23      on.

24            A   So to your point, it's not directly related

25      to transgenderism and sport.                                  10:05:10

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 1         Q    So in what context did it arise for

 2      discussion at AMSSM, then?

 3         A    There was discussion about a paper in a

 4      non-published newsletter on transgenderism in

 5      sports, and there was discussion about the way that           10:06:00

 6      that paper was being presented and whether it was

 7      contextually sound.

 8         Q    So the paper was sent in a newsletter?

 9         A    The paper was submitted for publication in a

10      newsletter.                                                   10:06:27

11         Q    In what newsletter?

12         A    It's called The Sideline Report.

13         Q    And who publishes The Sideline Report?

14         A    The American Medical Society for Sports

15      Medicine.                                                     10:06:37

16         Q    And -- and who presented the paper for -- for

17      submission?

18         A    I don't recall his name.

19         Q    Do you remember what the paper said,

20      generally?                                                    10:06:48

21         A    It was -- it was a -- again, I -- it's been

22      years since I've read that paper, but my

23      recollection of it is that it was somewhat skewed in

24      terms of its ideology.

25         Q    Skewed --                                             10:07:13

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 1         A    That it was -- it -- that it was not a

 2      balanced discussion of the pros and cons of

 3      transgender participation in sport.

 4         Q    So in which direction was it skewed?

 5         A    It was skewed towards more affirmative                10:07:32

 6      participation.

 7         Q    And so who -- who reviews the submissions to

 8      The Sideline Report?

 9         A    At the time, people on the executive

10      committee.     It was shared with them.                       10:07:50

11         Q    And were you on the executive committee at

12      that time?

13         A    Yes.

14         Q    And who raised concerns that it was not a

15      balanced discussion?                                          10:08:08

16              MR. FRAMPTON:    Objection to the form.

17              Go ahead.

18              THE WITNESS:    As I recall, I and some others

19      on the committee raised concerns.

20      BY MR. BLOCK:                                                 10:08:24

21         Q    Did you say you and some others on the

22      committee?

23         A    Correct.

24         Q    And who is the person that brought the McHugh

25      article to folks' attention?                                  10:08:37

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 1         A    I did.

 2              MR. FRAMPTON:     Same objection.

 3      BY MR. BLOCK:

 4         Q    Go ahead.

 5         A    I did.                                                10:08:41

 6         Q    So had you already read the McHugh article

 7      before -- before this incident arose?

 8         A    Well, I hadn't read the entire article,

 9      because it's extremely long, but going back to what

10      we were talking about earlier, trying to decide what          10:09:01

11      a transgender symposium what point and counterpoint

12      might look like, one of the considerations at the

13      time was whether to bring one of those authors to,

14      you know, what would be the 2019 meeting to provide

15      input against -- to provide input in -- in context            10:09:27

16      of that issue.

17         Q    So around when was this discussion about

18      The Sideline Report article?        What time?

19              MR. FRAMPTON:     Objection to the form.

20              Go ahead.                                             10:09:46

21              THE WITNESS:     I believe it would have been

22      sometime in early 2020.

23      BY MR. BLOCK:

24         Q    All right.     So -- so I have --

25         A    I don't recall that -- I -- I don't want to           10:10:01

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 1      say that.     I don't recall that offhand.           I'd have to

 2      go back and look.

 3         Q     Okay.   So I want to make sure I just have a

 4      complete list of incidents in which this came --

 5      this topic related to transgender people came up for                 10:10:06

 6      discussion.

 7               So I have, from you, this discussion about

 8      the submission to The Sideline Report.              I have, from

 9      you, this discussion in 2018 about whether or not to

10      have a transgender medicine component to the                         10:10:27

11      upcoming symposium.

12               Are there any other times in which topics

13      related to transgender people came up at ASSM -- or

14      AMSSM?

15               MR. FRAMPTON:    Objection to the form.                     10:10:41

16               Go ahead.

17               THE WITNESS:    I can't recall that issue

18      coming up in others, no.

19      BY MR. BLOCK:

20         Q     And so how did you become aware of McHugh's                 10:10:57

21      paper?

22         A     It was all over the news at the time that it

23      came out.

24         Q     Where in the news?

25               MR. FRAMPTON:    Objection to the form.                     10:11:20

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 1              Go ahead.

 2              THE WITNESS:    I can't tell you that.      I get

 3      my news from lots of sources, so I can't tell you

 4      where I first heard of it.

 5      BY MR. BLOCK:                                                 10:11:27

 6         Q    Do you get your news from Ben Shapiro at all?

 7         A    No.

 8         Q    Do you view Ben Shapiro to be a reliable

 9      source of information?

10              MR. FRAMPTON:    Objection to the form.               10:11:37

11              Go ahead.

12              THE WITNESS:    I was not retained to provide

13      an opinion there, but -- again, I was retained to

14      provide an opinion as to the sports safety

15      implications for transgender athletes crossing over           10:11:51

16      into cisgender sporting events.

17              But to your point -- what -- what was your

18      question?

19      BY MR. BLOCK:

20         Q    Would -- would you view Ben Shapiro to be a           10:12:08

21      reliable source of information on these matters?

22         A    I have no --

23              MR. FRAMPTON:    Objection --

24              THE WITNESS:    -- opinion on that.

25              MR. FRAMPTON:    -- to the form.                      10:12:16

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 1      BY MR. BLOCK:

 2         Q     I'm -- I'm sorry, can you -- can you say it

 3      again?    Counsel and you were cross talking.

 4               So I'll ask it again and wait for your

 5      counsel to object, and then you can answer, okay?             10:12:24

 6               Do you view Ben Shapiro to be a reliable

 7      source of information on medical topics concerning

 8      transgender people?

 9               MR. FRAMPTON:    Objection to the form and

10      scope.                                                        10:12:35

11               Go ahead.

12               THE WITNESS:    I have no opinion on that.

13      BY MR. BLOCK:

14         Q     Well, you don't have any -- I -- I need an

15      answer to the -- to the question.          So if you can      10:12:44

16      answer to the best of your ability --

17         A     I don't know enough about Ben Shapiro's

18      opinions to be able to state one way or the other

19      what I think of them.

20         Q     Okay.   Do you know who Ben Shapiro is?              10:12:58

21         A     Yes, I've heard of him.

22         Q     Okay.   Do you -- do you listen to him or --

23      or watch his shows?

24         A     No.

25         Q     Would you ever rely on Ben Shapiro in                10:13:13

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 1      providing an expert opinion?

 2               MR. FRAMPTON:     Objection to the form and

 3      scope.

 4               THE WITNESS:     Are you asking if I would rely

 5      on Ben Shapiro to provide an expert medical opinion?          10:13:20

 6      BY MR. BLOCK:

 7         Q     Yes.

 8         A     Of course not.

 9         Q     So at the time that you first talked with ADF

10      about, you know, what a white paper would look like,          10:13:40

11      had you already formed an opinion on the issue?

12               MR. FRAMPTON:     Objection; form and scope.

13               Go ahead.

14               THE WITNESS:     So, you know, I -- I've been

15      practicing sports medicine for 20-plus years now,             10:13:53

16      and I have lots of experience taking care of injured

17      athletes.       And so understanding that there was

18      perhaps the possibility of larger individuals

19      crossing over into sports where there were smaller

20      individuals and, you know, participating in contact           10:14:19

21      sports, I had concerns, but I hadn't really fully

22      fleshed out an opinion, no.        I believed that I went

23      into the process of data review with open eyes.

24         Q     What does that mean, you went into the

25      process of data review with open eyes?                        10:14:41

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 1         A    That I went to the data that was culled,

 2      looking to see what the data spoke to in terms of

 3      sports safety.     I didn't have a predetermined bias

 4      or view.   Well, I didn't have a predetermined answer

 5      to that question, that's what I would say.                    10:15:09

 6         Q    Now, did -- were you -- when you discussed

 7      being retained to provide this white paper to ADF,

 8      were -- were you -- did you discuss compensation at

 9      the same time?

10         A    I don't -- I don't recall -- I don't believe          10:15:32

11      compensation came up until later.

12         Q    Do you know if you had arrived at the

13      conclusion that it was safe for transgender women to

14      participate, would you have received compensation

15      from ADF for -- for work done in reaching that                10:15:51

16      opinion?

17              MR. FRAMPTON:    Objection; form and scope.

18              THE WITNESS:    There's a lot in that question.

19      Can you restate it, please?

20      BY MR. BLOCK:                                                 10:16:01

21         Q    Sure.    You said that when you began your

22      writing process, after being retained from ADF, you

23      didn't have a predetermined view of what the

24      question would be, and so my question is whether

25      your compensation was in any way related to whether           10:16:15

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 1      your ultimate answer was that it would be safe or

 2      unsafe for transgender women to participate.

 3         A    No, the --

 4              MR. FRAMPTON:    Objection.

 5              I'm sorry, let me do my objection.                    10:16:31

 6              Objection.

 7              Answer his question.

 8              THE WITNESS:    No, to the best of my

 9      knowledge, my compensation was not tied to the

10      determination of literature review around this                10:16:39

11      subject.

12      BY MR. BLOCK:

13         Q    So when you did a literature review, are you

14      confident that you searched for everything that

15      would support or oppose the position you're                   10:17:00

16      advocating for in your report?

17              MR. FRAMPTON:    Objection; form and scope.

18              THE WITNESS:    I'm confident that available

19      literature, pro and con, was accessed and reviewed.

20      BY MR. BLOCK:                                                 10:17:18

21         Q    And are you confident that your report

22      adequately discusses the available literature, pro

23      and con?

24         A    Again --

25              MR. FRAMPTON:    Objection; form and scope.           10:17:29

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 1              Go ahead.

 2              THE WITNESS:    -- the -- the white paper is

 3      not a comprehensive literature review on the

 4      subject.   It is an assessment of how the literature

 5      speaks to the issue of sports safety, particularly.           10:17:38

 6      I included what I thought was relevant to that

 7      discussion.

 8      BY MR. BLOCK:

 9         Q    So -- but in -- in your -- in deciding what

10      to include in your white paper, understanding that            10:17:55

11      you can find it specifically to the topic of safety,

12      did you include in the white paper everything

13      that -- you know, pro and con to your argument, or

14      did you just quote things that -- that you thought

15      supported your contention that it would be unsafe             10:18:17

16      for transgender women to participate?

17              MR. FRAMPTON:    Objection; form, scope.

18              THE WITNESS:    Well, obviously I can't speak

19      to how successful I was at -- while the final

20      reflects that, but I believe that it was fair                 10:18:40

21      consideration given to what ought to go into that

22      paper and that the appropriate relevant things that

23      needed to be in there were in there.

24      BY MR. BLOCK:

25         Q    Did you view the purpose of the white paper           10:18:58

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 1      to provide an overview of -- overview of both sides

 2      of the argument, or did you view the purpose of the

 3      white paper to be, you know, making a specific

 4      argument that it was unsafe and -- and just

 5      providing, you know, citations to materials that              10:19:17

 6      supported that argument?

 7               MR. FRAMPTON:    Objection; form and scope.

 8               Go ahead.

 9               THE WITNESS:    I wouldn't say that the point

10      of the argument was to argue -- or the paper was to           10:19:27

11      argue that it was unsafe.       It was to -- it was to

12      lay out the evidence that says whether it was safe

13      or not and what -- and lay out the thought process

14      that would go into making that determination.

15      BY MR. BLOCK:                                                 10:19:56

16         Q     If you could go to --

17         A     I think the underpinning of the whole thing

18      is my background as a physician and just the thought

19      processes that go into the practice of medicine on a

20      daily basis when you're looking at injury risk and            10:20:19

21      what -- what sorts of things factor into that.         So

22      that -- that underpins the paper before we even

23      start.

24         Q     And before starting on the paper, did you

25      have any experience in working with sports injuries           10:20:31

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 1      related to the participation of transgender people?

 2               MR. FRAMPTON:     Objection; form and scope.

 3               Go ahead.

 4               THE WITNESS:     Possibly.     I -- I see men and

 5      women, boys and girls, every day in the office.              I     10:20:53

 6      don't make a habit of asking them what their gender

 7      identity is.    I take care of them all as well as I

 8      possibly can.

 9      BY MR. BLOCK:

10         Q     To the best of your knowledge, did you ever               10:21:03

11      treat a sports injury for a transgender patient?

12         A     Again, I don't make a habit of asking that

13      question of my patients.       So whether I've seen a

14      transgender individual or not, I couldn't speak to

15      that.                                                              10:21:22

16         Q     So you -- you have no idea one way or another

17      whether you've treated a transgender patient?

18               MR. TRYON:     Objection.

19               MR. FRAMPTON:     Same objection; form and

20      scope.                                                             10:21:30

21               Go ahead.

22               THE WITNESS:     I -- I may have seen and

23      treated one or I -- I may not have.            I don't ask

24      that question of people.       And I see men and women,

25      boys and girls, in the office every day.                           10:21:38

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 1      BY MR. BLOCK:

 2         Q    Well, so, I guess, if a -- if a

 3      transgender -- if you saw a transgender patient, you

 4      wouldn't be able to tell from their physiology what

 5      their -- what their, as you say, biological sex is?           10:22:00

 6              MR. TRYON:     Objection.

 7              MR. FRAMPTON:     Objection; form.

 8              Go ahead.

 9              THE WITNESS:     What do you mean by

10      physiological form?                                           10:22:13

11      BY MR. BLOCK:

12         Q    Let's say your -- a transgender -- let's say

13      a woman comes into your office with a -- you know, a

14      knee injury.    Would -- by inspecting their knee,

15      would you be able to tell whether or not this was a           10:22:36

16      cisgender woman or a transgender woman?

17              MR. FRAMPTON:     Objection; form and scope.

18              Go ahead.

19              THE WITNESS:     Not necessarily, no.

20      BY MR. BLOCK:                                                 10:22:44

21         Q    Why not?

22         A    A knee doesn't have sex-identifying

23      characteristics to it.

24         Q    You wouldn't be able to tell from muscle mass

25      on the -- the patient's, you know, legs whether or            10:23:00

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 1      not that patient was a transgender woman or a

 2      cisgender woman?

 3              MR. FRAMPTON:     Objection; form.

 4              THE WITNESS:     I'm not sure where you're going

 5      with this.   I'm not sure I understand the question.              10:23:17

 6      BY MR. BLOCK:

 7         Q    Well -- well -- well, these -- so you've

 8      talked, in your paper, about physiological

 9      differences between people with male sex assigned at

10      birth and female sex assigned at birth and about,                 10:23:35

11      you know, how -- you know, how stark those

12      differences are and that they're not affected by

13      hormone therapy, and so I guess my question is, in

14      light of that, I find it a little surprising that --

15      that you would then say that you could examine or                 10:23:49

16      treat a sports injury and not know whether the

17      person you're treating had a female sex assigned at

18      birth or a male sex assigned at birth.              So that's

19      the context for my question.

20         A    Well, I think the -- the initial --                       10:24:05

21              MR. FRAMPTON:     Hold on.

22              Objection to the form.

23              MR. TRYON:     Objection.

24              MR. FRAMPTON:     Go ahead.

25              THE WITNESS:     The initial question was                 10:24:10

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 1      whether I had ever treated transgender individuals,

 2      and what I told you was that I try to view my

 3      patients as the individual in front of me.          I don't

 4      routinely ask them what their gender identity is.

 5              If you're asking me if anecdotally I could              10:24:26

 6      identify a, to use your language, trans woman if I

 7      was doing a knee exam, I suppose I could, but I

 8      can't speak to that, and it's far afield of why I

 9      was retained in this case.

10      BY MR. BLOCK:                                                   10:24:47

11         Q    So -- but to the best of your knowledge, you

12      don't know one way or another whether or not you've

13      ever treated a transgender patient?

14              MR. FRAMPTON:    Objection; form.

15              Go ahead.                                               10:24:56

16              THE WITNESS:    To the best of my knowledge, I

17      don't know whether I've treated a transgender

18      patient, no.

19      BY MR. BLOCK:

20         Q    Did you have any interactions with ADF before           10:25:03

21      you were first contacted as potentially being

22      retained as an expert?

23         A    No.

24         Q    Have you provided any testimony in support of

25      any legislation related to transgender people?                  10:25:16

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 1         A    No.

 2         Q    Have you provided any testimony in support of

 3      legislation similar to the legislation challenged in

 4      this case?

 5         A    What are you asking?                                  10:25:39

 6         Q    Well, yeah, I -- I -- I'm just trying to make

 7      sure I cover all the bases of my question.

 8              And so I've -- I've -- it has been argued in

 9      this case that the statute at issue here, H.B. 3293,

10      is not about transgender people, and so I -- I                10:26:10

11      didn't want you to answer my question based on a

12      similar type of distinction.

13              So -- so my question is, did you ever testify

14      in support of any legislation that would have the

15      affect of precluding transgender people from                  10:26:25

16      participating on sports teams consistent with their

17      sex assigned -- with their gender identity?

18              MR. FRAMPTON:    Objection to the form.

19              Go ahead.

20              THE WITNESS:    I don't believe that I have           10:26:38

21      ever provided testimony to any legislative

22      committee, pending -- or pending legislation around

23      issues similar to what we're talking about today.

24      BY MR. BLOCK:

25         Q    Thank you.                                            10:26:59

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 1              MR. BLOCK:     I -- I'm okay continuing, but do

 2      you need a break?

 3              MR. FRAMPTON:     We're at about an hour and a

 4      half.   It's -- it's up to you, if you want five

 5      minutes or if you want to go for another half hour              10:27:13

 6      or whatever.

 7              THE WITNESS:     Is this a good break point for

 8      you, or do you --

 9              MR. BLOCK:     Either way.      I can break in half

10      an hour or I can keep going.                                    10:27:24

11              THE WITNESS:     I can use the restroom.

12              MR. BLOCK:     Okay.    So --

13              MR. FRAMPTON:     Then let's do five minutes.

14              MR. BLOCK:     Great.    See you in five.

15              MR. FRAMPTON:     All right.      Thank --              10:27:33

16              THE VIDEOGRAPHER:       We're off -- off the

17      record at 10:27 a.m.

18              (Recess.)

19              THE VIDEOGRAPHER:       We are on the record at

20      10:34 a.m.                                                      10:34:34

21      BY MR. BLOCK:

22         Q    Good morning again.       I just have some

23      questions about your -- your training as related to

24      transgender people.

25              To the best of your recollection, as part of            10:34:49

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 1      your formal education for your undergraduate degree,

 2      did you ever take any courses regarding transgender

 3      people?

 4                MR. FRAMPTON:    Objection; form.

 5                Go ahead.                                           10:35:03

 6                THE WITNESS:    To the best of my recollection,

 7      I never took a course in trans- -- affecting -- or

 8      reflecting transgender people in undergraduate, no.

 9      BY MR. BLOCK:

10         Q      And did you ever conduct any research               10:35:12

11      concerning transgender people as an undergrad?

12                MR. FRAMPTON:    Object to the form.

13                Go ahead.

14                THE WITNESS:    No, I never conducted research

15      as an undergraduate on transgender people.                    10:35:25

16      BY MR. BLOCK:

17         Q      And then as part of your formal education for

18      your M.D., did you ever take any courses regarding

19      transgender people?

20                MR. FRAMPTON:    Object to the form.                10:35:37

21                THE WITNESS:    No.   There were no courses on

22      transgender people offered during my training in

23      medical school.

24      BY MR. BLOCK:

25         Q      And did you -- did you ever conduct any             10:35:45

                                                                    Page 72

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 1      research concerning transgender people in medical

 2      school?

 3                MR. FRAMPTON:    Object to the form.

 4                THE WITNESS:    No, I never conducted research

 5      on transgender people in medical school.                      10:35:51

 6      BY MR. BLOCK:

 7         Q      Okay.   And in -- in your residency, did you

 8      receive any training related to transgender people?

 9                MR. FRAMPTON:    Object to the form.

10                Go ahead.                                           10:36:04

11                THE WITNESS:    I can't recall offhand if there

12      were lectures on that subject during the time that I

13      was there.

14                To the best of my recollection, the answer to

15      that is no.                                                   10:36:18

16      BY MR. BLOCK:

17         Q      And in your fellowship, did you receive any

18      training related to transgender people?

19                MR. FRAMPTON:    Same objection.

20                THE WITNESS:    Again, to the best of my            10:36:30

21      recollection, I do not recall specific training on

22      the transgender athlete during my fellowship.

23      BY MR. BLOCK:

24         Q      So you're not -- you're not an expert in the

25      treatment of transgender people; correct?                     10:36:47

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 1              MR. FRAMPTON:     Object to the form, scope.

 2              Go ahead.

 3              THE WITNESS:     As I said, I'm a

 4      board-certified sports medicine physician.          I've

 5      been retained in this case to offer an opinion on             10:36:58

 6      sports safety.      I'm not a board-certified

 7      endocrinologist.

 8      BY MR. BLOCK:

 9         Q    Okay.    So I -- I just asked -- I need to

10      define the scope of the opinions you're offering.             10:37:08

11              So you're not -- you -- you are not an expert

12      in the treatment of transgender people; correct?

13              MR. FRAMPTON:     Object to the form.

14              THE WITNESS:     I do not treat transgender --

15      I -- I do not have training in the treatment of               10:37:22

16      transgender people.      I am not a board-certified

17      endocrinologist.

18      BY MR. BLOCK:

19         Q    And -- and you are not an expert in the

20      treatment of transgender people; correct?                     10:37:31

21         A    Define --

22              MR. FRAMPTON:     Sam objection.

23              THE WITNESS:     Define "treatment" for me.

24      BY MR. BLOCK:

25         Q    Medical care for transgender people.                  10:37:47

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 1              MR. FRAMPTON:      Same objection to the form.

 2              Go ahead.

 3              THE WITNESS:      I would be considered an expert

 4      for the sports medicine care of an injured athlete

 5      who happens to be transgender.                                10:38:03

 6      BY MR. BLOCK:

 7         Q    Okay.     So --

 8         A    I'm not an -- I am not a board-certified

 9      endocrinologist.      So if your speaking to hormonal

10      manipulation, then no.                                        10:38:12

11         Q    And you're not -- you're not an expert in

12      mental healthcare for transgender people; correct?

13              MR. FRAMPTON:      Object to the form.

14              Go ahead.

15              THE WITNESS:      Well, in the context of the         10:38:24

16      work that we do with patients every day, we have to

17      take into consideration mental health, so it touches

18      on what I do every day.

19      BY MR. BLOCK:

20         Q    How so?                                               10:38:46

21         A    The -- I treat the person in front of me and

22      whatever they're bringing into the room.

23         Q    So you're -- you're not an expert in the

24      treatment of gender dysphoria, in particular, are

25      you?                                                          10:39:07

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 1         A     Define "gender dysphoria."

 2         Q     It's the medical condition recognized in the

 3      DSM-V.

 4               Do you -- do you know what the DSM-V is?

 5         A     I'm familiar with it, yes.                           10:39:21

 6         Q     Okay.   So are -- are -- are you a -- an

 7      expert in mental healthcare for treating the

 8      condition of gender dysphoria as defined in the

 9      DSM-V?

10         A     I am a board-certified sports physician who          10:39:34

11      has been retained to provide information on safety

12      in athletes, some of whom may be transgender.

13         Q     Okay.   But you are not -- you have not been

14      retained to provide an expert opinion on the

15      treatment of gender dysphoria; correct?                       10:39:53

16         A     Correct.

17         Q     Okay.   If we go down to -- if you would look

18      at Exhibit 80, please.     That's your expert report.

19         A     Exhibit 80, you said?

20         Q     Yeah.                                                10:40:36

21         A     Okay.

22         Q     And if you go to your abbreviated CV, which

23      is, you know, the last three pages.

24         A     Okay.

25         Q     And if you go to -- it's the paginated page          10:40:55

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 1      73 at the bottom.      There's a section of your CV that

 2      says "Special Qualifications."

 3               Do you see that?

 4         A     I do.

 5         Q     Okay.   I just have a couple of questions            10:41:06

 6      about -- about this.

 7               The -- the first entry under "Special

 8      Qualifications" is "Prior legal consulting work in

 9      cases with both local and national reach."

10               Do you see that?                                     10:41:21

11         A     Yes.

12         Q     Okay.   What are the cases with national reach

13      that you're referring to?

14         A     This one.

15         Q     Any others?                                          10:41:48

16         A     The -- as I said, I've been retained in the

17      Florida case.

18         Q     Okay.   So further down, it says -- this is

19      about, like, the seventh bullet point -- it says (as

20      read):                                                        10:41:56

21               "Extensive experience speaking to

22               large national groups on issues

23               pertaining to sports medicine,

24               including but not limited to:"

25               And then there's a list of things.                   10:42:06

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 1              Do you -- do any of the topics you've spoken

 2      on include anything about transgender people?

 3         A    No, I have never --

 4              MR. FRAMPTON:     Objection to form.

 5              Go ahead.                                             10:42:21

 6              THE WITNESS:     In my role as a sports

 7      physician, I have not spoken on the topic of

 8      transgenderism in sports.

 9      BY MR. BLOCK:

10         Q    In -- in any other role, have you spoken on           10:42:28

11      the topic of transgendered people in sports?

12         A    No.

13         Q    Now, the -- the second to last sub-bullet

14      point of the things you've spoken of says "Advocacy

15      in Sports Medicine."                                          10:42:44

16              Do you see that?

17         A    Yes, I do.

18         Q    When you give speeches on the topic of

19      advocacy in sports medicine, what do you talk about?

20         A    So prior to being on executive, I was -- I            10:42:55

21      served two terms on the AMSSM's board of directors,

22      and I became noted as somebody who was involved in

23      public policy.      And I guess I'd define that by

24      advocating for sports medicine issues in the -- in

25      the public sphere.                                            10:43:22

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 1                So during the time that I was on executive,

 2      we interviewed and hired our first lobbyist.          We

 3      developed a state by state network of physician

 4      members who would inform us of legislative issues

 5      going on around the United States.          We were involved     10:43:43

 6      in some creation of legislation.         That's -- that's

 7      the sort of advocacy that I'm talking about.

 8                So -- so the advocacy would be teaching other

 9      physicians how to advocate for sports medicine

10      issues in the legislative arena.                                 10:44:08

11         Q      So what's an example of advocating for sports

12      medicine issues?

13         A      I helped Tom Latham write a bill that

14      would -- that clarified legal questions about

15      physicians who took care of teams across state lines             10:44:37

16      and didn't have licensure in the state that they

17      were traveling into, and that bill passed the

18      U.S. Congress and was signed by President Trump.

19         Q      Does AMSSM have any official position on the

20      participation of transgender athletes in sports?                 10:45:04

21         A      I don't believe they do.

22         Q      Does AMSSM issue official positions on -- on

23      topics?

24         A      Occasionally, yes.

25         Q      Do you know whether AMSSM ever had any                 10:45:25

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 1      discussions or debates about whether to form an

 2      official position on the topic of transgender

 3      athletes participating in sports?

 4         A    To the best of my recollection, not that

 5      specifically, no.                                             10:45:40

 6         Q    Anything -- to the best of your knowledge,

 7      has AMSSM taken -- had any discussions about taking

 8      an official position in any other topic related to

 9      transgender people?

10              MR. FRAMPTON:    Objection to the form.               10:45:57

11              Go ahead.

12              THE WITNESS:    There was a position statement

13      several years ago on mental health issues in

14      athletes, and I can't recall offhand whether the

15      transgender athlete was referenced to in that paper,          10:46:14

16      but I think it was, possibly.        I'm not sure.

17      BY MR. BLOCK:

18         Q    And were you involved in those discussions at

19      all?

20         A    No.   I was on executive at the time, so              10:46:27

21      drafts of those always came across for us to review,

22      but I don't recall the specifics of that paper.

23         Q    Going back to the -- the 2021 AMSSM

24      conference, why is it that you didn't have any

25      involvement in planning for the sessions related to           10:46:56

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 1      transgender medicine?

 2                MR. FRAMPTON:    Objection to the form.

 3                Go ahead.

 4                THE WITNESS:    Because the -- the format on

 5      executive is that you're elected to a four-year               10:47:12

 6      term.     And your first year, you're the second vice

 7      president.     Your second year, you're the first vice

 8      president.     Your third year, you're the president.

 9      The fourth year, you're the immediate past

10      president.     All four years, you're a voting member         10:47:25

11      of executive.     The second vice president is

12      responsible for planning an upcoming annual meeting.

13                So those conversations that I was telling you

14      about occurred at the time that I was second vice

15      president and working on formulating what would be            10:47:46

16      the Houston meeting.

17      BY MR. BLOCK:

18            Q   And so other -- so you didn't have

19      discussions about the meetings other than that year

20      when you were the second vice president, is that              10:48:05

21      what you said?

22                MR. FRAMPTON:    Objection to form.

23                THE WITNESS:    My responsibility was for the

24      2019 annual meeting.

25      ///

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 1      BY MR. BLOCK:

 2         Q     Okay.    And so you weren't involved in

 3      discussions for planning for the 2021 meeting?

 4               MR. FRAMPTON:     Same objection.

 5               Go ahead.                                            10:48:23

 6               THE WITNESS:    No, I was not.

 7      BY MR. BLOCK:

 8         Q     Okay.    So the 2021 -- actually, let me just

 9      introduce another exhibit.       Actually, I'll do it

10      later.                                                        10:49:00

11               Let's go to your -- Exhibit 81, which is your

12      June 22nd, 2021, report and white paper.

13         A     Did you say 81?

14         Q     Yes.    It's the document that says "Exhibit G"

15      at the top, and then it is your declaration from              10:49:23

16      June 22nd, 2021.

17         A     Okay.

18         Q     Do you have that in front of you?

19         A     I do.

20         Q     Okay.    So in this June 2021 white paper, do        10:49:33

21      you express any opinions about whether prepubertal

22      boys have an athletic advantage over prepubertal

23      girls?

24         A     I don't want to overstate.        I can't recall

25      offhand, but I -- I don't think the focus of that             10:49:49

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 1      paper included prepubertal girls or boys.

 2         Q    Were they discussed at all?

 3         A    I can't recall.

 4         Q    If you can turn to, you know, page 7, just

 5      referring to the -- the document's pagination, not            10:50:11

 6      the -- not the PDF pagination, in -- in -- at the

 7      very top of page 7.     Let me know when you get there.

 8         A    Okay.   I'm there.

 9         Q    Okay.   So there's sub -- subparagraph D.

10              Do you see that?                                      10:50:32

11         A    Yes.

12         Q    Okay.   Subparagraph D says (as read):

13              "Current research supports the

14              conclusion that suppression of

15              testosterone levels by males who                      10:50:40

16              have already begun puberty will not

17              fully reverse the effects of

18              testosterone on skeletal size,

19              strength, or muscle hypertrophy,

20              leading to persistence of sex-based                   10:50:53

21              differences in power, speed, and

22              force generating capacity."

23              Did I read that right?

24         A    It's "hypertrophy," but yes.

25         Q    All right.    Good.   My second question would        10:51:02

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 1      be did I pronounce that word right.

 2         A      Close.

 3         Q      "Hypertrophy"?

 4         A      "Hypertrophy."

 5         Q      Okay.     Does that -- in this paragraph, do you       10:51:11

 6      say anything about athletes before puberty?

 7         A      That paragraph references males who have

 8      already begun puberty.

 9         Q      And there's no reference there to males

10      before puberty, is there?                                        10:51:32

11         A      No.

12         Q      Okay.

13         A      There is not.

14         Q      And now if we go to paragraph -- if we go to

15      page 18 -- I'm sorry -- paragraph 18, page 11, of                10:51:48

16      the same document.

17         A      Same pagination?

18         Q      Yeah.     So -- yeah.   So paragraph 18.    That's

19      the paragraph that begins with "External risk

20      factors."                                                        10:52:08

21         A      Yes, I see.

22         Q      And if you go five lines from the bottom,

23      there's a sentence that begins with "To the latter

24      point."

25         A      Uh-huh.                                                10:52:16

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 1         Q    Okay.   It says (as read):

 2              "To the latter point, children don't

 3              play contact sports with adults and,

 4              as has already been discussed, after

 5              the onset of puberty, men and women                   10:52:24

 6              compete in categories specific to

 7              their own biological sex."

 8              Do you see that?

 9         A    Yes, I do.

10         Q    And I've read that correctly?                         10:52:32

11         A    You did.

12         Q    Okay.   And so this sentence also refers to

13      men and women competing in -- I'll say this again.

14              You don't discuss anything about people

15      before puberty in this sentence, do you?                      10:52:49

16              MR. FRAMPTON:    Objection to the form.

17              Go ahead.

18              THE WITNESS:    No, I don't.

19      BY MR. BLOCK:

20         Q    Okay.   Why did you say "after the onset of           10:52:57

21      puberty, men and women compete in categories

22      specific to their own biological sex"?

23         A    Well, that was probably overstated.         It --

24      those categories clearly exist prior to puberty as

25      well.                                                         10:53:23

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 1         Q    Why -- why did you include the words "after

 2      the onset of puberty"?

 3              MR. FRAMPTON:    Objection to the form.

 4              Go ahead.

 5              THE WITNESS:    I believe because the divisions       10:53:30

 6      are consistent -- are most consistent after puberty.

 7      BY MR. BLOCK:

 8         Q    And every line of this paper is your own

 9      words and thought, right?

10         A    Correct.                                              10:53:57

11         Q    Okay.   And so you thought it was relevant to

12      include the words "after the onset of puberty" in

13      this sentence; correct?

14              MR. FRAMPTON:    Objection; form.

15              Go ahead.                                             10:54:07

16              THE WITNESS:    Yes.    For example,

17      six-year-olds will often play soccer together, boys

18      and girls.

19      BY MR. BLOCK:

20         Q    And do you think that that is a threat to the         10:54:21

21      safety of the girls?

22              MR. FRAMPTON:    Objection to the form.

23              THE WITNESS:    I didn't say that.

24      BY MR. BLOCK:

25         Q    Well, I'm -- I'm asking you.                          10:54:31

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 1              Is -- are six -- when six-year-old boys and

 2      six-year-old girls play soccer together, is that a

 3      threat to the safety of those six-year-old girls?

 4              MR. FRAMPTON:    Same objection.

 5              Go ahead.                                               10:54:45

 6              THE WITNESS:    Generally, when six-year-olds

 7      play soccer together, there is not high risk to --

 8      BY MR. BLOCK:

 9         Q    I'm sorry, I -- I didn't hear the end of your

10      sentence.                                                       10:55:06

11         A    I said --

12              MR. FRAMPTON:    Well, let me -- objection to

13      the form.

14              Go ahead and answer the question.

15              THE WITNESS:    Six-year-olds play soccer               10:55:15

16      together.   Their risks are -- the risk of injury, as

17      a group, is less.

18      BY MR. BLOCK:

19         Q    Do you think the -- the risk is increased

20      when boys play?                                                 10:55:33

21         A    To the extent that boys are faster than

22      girls, there could be increased risk.           The overall

23      speed and mass of six-year-olds is such that the

24      absolute risks are minuscule.

25         Q    Okay.   Are you providing an expert opinion             10:56:04

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 1      today on the safety implications of allowing

 2      prepubertal boys and prepubertal girls to play

 3      sports together on the same team?

 4              MR. FRAMPTON:    Objection to the form.

 5              Go ahead.                                             10:56:25

 6              THE WITNESS:    I'm providing an opinion on the

 7      safety issues of boys and girls playing together on

 8      the same team, including prepube- -- the prepube- --

 9      the prepubertal population.

10      BY MR. BLOCK:                                                 10:56:44

11         Q    So -- so you are -- you are also offering

12      testimony today on the safety of prepubertal boys

13      and prepubertal girls playing on the same team?

14         A    I'm offering an opinion on safety as it --

15      when -- particularly when boys cross over into                10:57:02

16      girls' sports, play on teams that are designated as

17      girls' teams, and those -- and the issues there have

18      to do with retained differences.

19         Q    Okay.   So just focusing on prepubertal

20      population -- okay, so nothing about after puberty,           10:57:38

21      just focusing on prepubertal population -- are --

22      you are offering testimony that it -- there are

23      safety risks of -- well, I'll take that back.

24              Just focusing on the prepubertal population,

25      are you offering testimony that it is not safe for            10:57:51

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 1      prepubertal boys to play on -- on teams designated

 2      for prepubertal girls?

 3              MR. FRAMPTON:    Objection to the form.

 4              THE WITNESS:    I believe that there is a

 5      safety risk when -- that there can be a safety risk              10:58:06

 6      when prepubertal boys cross over and play onto

 7      girls' teams, yes.

 8      BY MR. BLOCK:

 9         Q    Is there a safety risk when prepubertal boys

10      and prepubertal girls play on coed teams?                        10:58:20

11         A    Define a -- well, what coed team are you

12      talking about?

13         Q    Well, a team that --

14         A    Talking about -- are you talking about

15      recreational teams or competitive leagues?          What are     10:58:33

16      you talking about?

17         Q    Do you -- do you see a distinction between

18      the two?

19         A    Yes, I do.

20         Q    Okay.    So do you think -- are you testifying           10:58:47

21      that there's a safety risk when prepubertal boys and

22      prepubertal girls play on coed recreational teams?

23              MR. FRAMPTON:    Objection to the form.

24              THE WITNESS:    So recreational teams are

25      unique in that they're primarily designed for                    10:59:02

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 1      enjoyment.   They're not primarily stratified for

 2      purpose of competition.      So oftentimes the rules in

 3      these leagues are altered to promote safety.

 4              MR. BLOCK:     So can you --

 5              Can the court reporter read back my question?         10:59:23

 6              THE REPORTER:     Yes.

 7              (Record read.)

 8              MR. FRAMPTON:     Objection to the form.

 9              Go ahead.

10              THE WITNESS:     There -- there could be safety       10:59:53

11      risks with coed participation, yes.

12      BY MR. BLOCK:

13         Q    On recreational teams?

14         A    It depends on how the sport is structured,

15      but yes.                                                      11:00:03

16         Q    So you're comfortable saying when

17      six-year-olds play soccer together, the safety risks

18      are minuscule.      Is that true when seven-year-olds

19      play -- prepubertal boys and girls play soccer

20      together?                                                     11:00:19

21              MR. FRAMPTON:     Object to the form.

22              Go ahead.

23              THE WITNESS:     I couldn't speak to that.

24      BY MR. BLOCK:

25         Q    But you can speak to six-year-olds?                   11:00:26

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 1              MR. FRAMPTON:    Same objection.

 2              THE WITNESS:    I have.

 3              I thought I answered that question.

 4      BY MR. BLOCK:

 5         Q    Why -- why can you speak to the safety                11:00:35

 6      implications of six-year-olds, but not

 7      seven-year-olds?

 8              MR. FRAMPTON:    Object to the form.

 9              Go ahead.

10              THE WITNESS:    As boys age, they develop skill       11:00:52

11      sets, and those evolve year to year.

12      BY MR. BLOCK:

13         Q    So --

14         A    I -- I cannot speak to a peer-reviewed study

15      that designates age six from age seven, no.                   11:01:05

16         Q    So the difference between, you know, six and

17      seven or, you know, six and eight is that the boys

18      are developing skill sets that they didn't have when

19      they were younger?

20         A    In part.                                              11:01:23

21              MR. FRAMPTON:    Objection to the form.

22      BY MR. BLOCK:

23         Q    Can you repeat your answer?

24              MR. FRAMPTON:    Yeah, my objection is noted.

25              Go ahead and repeat your answer.                      11:01:32

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 1              THE WITNESS:     In part.

 2      BY MR. BLOCK:

 3         Q    Why -- what's the other part?

 4         A    Well, there are retained -- there are

 5      biological differences from the beginning, and then           11:01:43

 6      those biological differences start to combine with

 7      additional distincters that begin to lead to

 8      additive risk.

 9         Q    All right.     But -- but those additional

10      distincters are a result of them acquiring                    11:02:09

11      additional skills?

12              MR. FRAMPTON:     Same objection.

13              Go ahead.

14              THE WITNESS:     Well, define "skills."     If by

15      "skills" you mean they're becoming faster, they're            11:02:23

16      starting to become stronger, then yes.

17      BY MR. BLOCK:

18         Q    Well, you know, I'm trying to -- what did you

19      mean when you said develop additional skills a

20      couple of questions ago?                                      11:02:42

21         A    Well, if you look at data on youth, in

22      elementary-aged youth, there's several studies out

23      there looking at population data, and they -- they

24      come to pretty consistent findings, which is that

25      boys outperform girls in measures of strength and             11:03:04

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 1      speed and girls are generally more flexible.        And

 2      the findings --

 3         Q    Why --

 4         A    -- are pretty consistent from region to

 5      region and from investigator to investigator.                 11:03:13

 6         Q    And why didn't you include a discussion of

 7      that in -- in this June 2021 paper?

 8         A    I referenced Dr. Brown's paper, and he goes

 9      through that fairly extensively.

10         Q    Well, do you reference Dr. Brown in this              11:03:29

11      June 2021 paper?

12         A    No.

13         Q    Okay.     So why didn't you discuss prepubertal

14      boys and girls in this June 2021 paper?

15              MR. FRAMPTON:     Object to the form.                 11:03:46

16              Go ahead.

17              THE WITNESS:     That wasn't the focus of -- of

18      the paper.      The focus of that paper was primarily

19      the effect of testosterone on athletic development.

20      BY MR. BLOCK:                                                 11:04:07

21         Q    Why did you make that the focus of your

22      June 2021 paper?

23              MR. FRAMPTON:     Object to the form.

24              THE WITNESS:     I don't recall offhand what

25      specifically went into that decision.                         11:04:26

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 1      BY MR. BLOCK:

 2         Q    Can you recall what generally went into that

 3      decision?

 4              MR. FRAMPTON:     Same objection.

 5              THE WITNESS:     I would say the same thing.               11:04:37

 6      BY MR. BLOCK:

 7         Q    So you -- you don't know why you decided to

 8      focus on testosterone, you know, beginning with the

 9      onset of puberty for your June 2021 paper?

10              MR. TRYON:     Objection.                                  11:04:53

11              MR. FRAMPTON:     Same objection.

12              THE WITNESS:     I -- I -- I can't recall

13      specifically why I excluded the prepubertal

14      population from that -- that paper.

15      BY MR. BLOCK:                                                      11:05:03

16         Q    If we go to page -- to paragraph 40, on

17      page 21 of the same document.

18              THE WITNESS:     Let me know when you're there.

19              MR. FRAMPTON:     Sorry, Josh, you said page 40?

20              MR. BLOCK:     Paragraph 40, page --                       11:05:28

21              MR. FRAMPTON:     Paragraph 40.       Thank you.   I'm

22      so sorry.

23              THE WITNESS:     I think he did say page 40.

24              Hold on.

25              Okay.                                                      11:05:44

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 1      BY MR. BLOCK:

 2         Q    If you go -- one, two, three, four, five --

 3      seven -- seven or eight lines down, there's a

 4      sentence that begins with "All of us."

 5         A    Okay.                                                 11:05:59

 6         Q    That sentence says (as read):

 7              "All of us are familiar with basic

 8              objective physiological differences

 9              between the sexes which become

10              apparent after the onset of puberty,                  11:06:06

11              and persist throughout adulthood."

12              Did I read that right?

13         A    You did.

14         Q    And this sentence, again, is talking about

15      things that happen after the onset of puberty;                11:06:18

16      correct?

17         A    Correct.

18         Q    And there's nothing in this sentence

19      referring to prepubertal kids; correct?

20         A    That wasn't the focus of this paper, so yes.          11:06:29

21         Q    Okay.   Now let's actually go to page 40,

22      paragraph 79.      Let me know when you're there.

23         A    I'm there.

24         Q    So after -- in the middle of the paragraph,

25      after the parenthetical, that cites to Hilton,                11:06:59

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 1      DeVarona, and Harper, there's a sentence that begins

 2      with "As a medical doctor."

 3              Do you see that?

 4         A    I do.

 5         Q    Okay.   So the -- it says (as read):                  11:07:08

 6              "As a medical doctor, I will focus

 7              on those" --

 8              I'll read this again, sorry.          (As read):

 9              "As a medical doctor, I will focus

10              on those specific sex-based                           11:07:15

11              characteristics of males who have

12              undergone normal sex-determined

13              pubertal skeletal growth and

14              maturation that are relevant to the

15              safety of female athletes."                           11:07:27

16              Did I read that right?

17         A    Yes.

18         Q    Okay.   And so -- so this June 2021 paper is

19      focusing on sex-based characteristics of males who

20      have undergone normal sex-determined prepubertal              11:07:50

21      skeletal growth and maturation?

22         A    Correct.

23         Q    Why did you focus on people who have

24      undergone normal sex-determined prepubertal skeletal

25      growth and maturation?                                        11:08:03

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 1         A    Well, I --

 2              MR. FRAMPTON:     Objection to form.

 3              Go ahead.

 4              THE WITNESS:     I thought you asked me that

 5      already, and I thought I answered that I -- I can't           11:08:14

 6      recall what the reason was for specifically focusing

 7      on adolescent, postadolescent, over prepubertal.

 8      BY MR. BLOCK:

 9         Q    You don't -- do you have -- you didn't have

10      any background, medical training, that would, you             11:08:24

11      know, provide you information on why focusing on

12      changes that occur during puberty would be

13      important?

14              MR. TRYON:     Objection.

15              MR. FRAMPTON:     Objection to the form.              11:08:40

16              THE WITNESS:     I already answered that

17      question.     I think my last answer was best -- or my

18      first answer was best, but if you want me to answer

19      again, I will tell you again that I don't remember

20      why postadolescent or prepubertal -- or the pubertal          11:09:00

21      phase was focused on exclusively.

22      BY MR. BLOCK:

23         Q    All right.     Now let's turn to your expert

24      report dated February 23rd, 2022.          So that's

25      Exhibit 80.                                                   11:09:42

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 1         A     Okay.     I've got it.

 2         Q     So if you go to paragraph -- so page 9,

 3      paragraph 11 C.

 4         A     Okay.

 5         Q     And in the middle of paragraph 11 C, the --          11:10:07

 6      there's a sentence that begins with "Even before."

 7         A     Correct.

 8         Q     So there you say (as read):

 9               "Even before puberty, males have a

10               performance advantage over females                   11:10:24

11               in most athletic events."

12               Correct?

13         A     That is correct.

14         Q     And that sentence wasn't contained in your

15      first version of your white paper from June 2021;             11:10:32

16      right?

17         A     As I said, that was not the focus of that

18      paper, so that's correct.

19         Q     Okay.     Why did you decide to include it in

20      this paper?                                                   11:10:48

21         A     When --

22               MR. FRAMPTON:     Objection to the form.

23               Go ahead.

24               THE WITNESS:     When I was retained by

25      West Virginia in this case, discussions between               11:11:04

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  1     attorneys at ADF and attorneys at West Virginia --

  2             MR. TRYON:     I just want to insert here,

  3     please don't -- again, this is attorney-client --

  4     don't get into attorney-client protected

  5     information.    So discussions with counsel are                11:11:26

  6     protected.

  7             MR. FRAMPTON:     Right.

  8             MR. TRYON:     But to the extent that you can

  9     answer that without disclosing that -- those

 10     communications, you may do so.                                 11:11:32

 11             MR. FRAMPTON:     Yeah, same -- same

 12     instruction.

 13             THE WITNESS:     Okay.     So I -- I -- I guess

 14     what I would say is that the initial report was

 15     filed -- was created prior to being retained by the            11:11:42

 16     State of West Virginia and the updated paper that

 17     you have was updated to include the prepubertal

 18     population because my understanding is that the

 19     defendant in this case is -- is young.

 20     BY MR. BLOCK:                                                  11:12:14

 21         Q   Before you were asked to update the white

 22     paper, did you have an expert opinion regarding the

 23     safety implications of prepubertal boys and girls

 24     playing together?

 25             MR. FRAMPTON:     Objection to the form.               11:12:26

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  1             THE WITNESS:     Many of the considerations that

  2     exist in that first paper are relevant to the

  3     prepubertal group.      I suspected that they would

  4     probably hold, and I do believe that they hold.

  5     BY MR. BLOCK:                                                  11:12:58

  6         Q   So -- so before you were asked to update your

  7     paper, you had an expert opinion that it would be

  8     unsafe for prepubertal girls and play -- and boys to

  9     play together?

 10             MR. FRAMPTON:     Objection to the form.               11:13:10

 11             THE WITNESS:     As I said, I suspected that

 12     there was probably risk in that population as well.

 13     BY MR. BLOCK:

 14         Q   Now, you talked about the literature review

 15     you conducted for creating your white paper.        What       11:13:31

 16     sort of literature review did you conduct for the

 17     process of updating the right -- the white paper to

 18     discuss prepubertal kids?

 19         A   I went more into the picture on population

 20     testing, looking at what differences in performance            11:14:01

 21     were between boys and girls.        I looked at

 22     international and national performance records,

 23     databases.    I looked at ratified standards for --

 24     that had been determined through, for instance, the

 25     presidential physical fitness test.                            11:14:35

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  1         Q    How did you identify what sources to look at?

  2         A    PubMed.     I own -- well, PubMed.

  3         Q    Did you review any sources that were not

  4     included in Dr. Brown's 2022 expert report?

  5              MR. FRAMPTON:     Objection to the form.              11:15:06

  6              THE WITNESS:     I couldn't speak to that

  7     because I haven't cross-referenced his bibliography

  8     to mine.

  9     BY MR. BLOCK:

 10         Q    In paragraph 16, page 12 of your report,              11:15:26

 11     could you turn to that?

 12         A    Yes, I'm there.

 13         Q    So -- so right before paragraph 17, the --

 14     the final sentence in paragraph 16, it says (as

 15     read):                                                         11:15:53

 16              "Although most easily documented in

 17              athletes who have gone through

 18              puberty, these differences are not

 19              exclusively limited to

 20              post-pubescent athletes either."                      11:16:04

 21              Did I read that right?

 22         A    You did.

 23         Q    Okay.     And how -- can you explain to me how

 24     these differences are most easily documented in

 25     athletes who have gone through puberty?                        11:16:17

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  1         A   Of course.

  2             The differences between men and women with

  3     regards to strength and -- both upper and lower

  4     body -- and muscle mass and power increase,

  5     there's -- there's greater separation between the              11:16:48

  6     sexes after puberty has occurred.          That doesn't mean

  7     that there's no difference prior.

  8         Q   But you -- you say it's most easily

  9     documented.     What did you mean by "most easily

 10     documented"?                                                   11:17:07

 11             MR. FRAMPTON:    Object to the form.

 12             MR. BLOCK:    I'm sorry, what's the -- what's

 13     the form objection to that?

 14             MR. FRAMPTON:    The objection is I -- I

 15     don't -- I don't think you've properly stated what             11:17:30

 16     he said.

 17     BY MR. BLOCK:

 18         Q   What -- what did you mean when you said "most

 19     easily documented"?

 20         A   Meaning that the -- that wider differences             11:17:39

 21     are more apparent than narrow differences.

 22         Q   So paragraph 17 says (as read):

 23             "I have reviewed the expert

 24             declaration of Gregory A. Brown,

 25             Ph.D., FACM of February 23, 2022,                      11:17:58

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  1             provided in this case..."

  2             Correct?

  3         A   Correct.

  4         Q   Okay.   And the date of this document that

  5     we're reading from is also February 23rd, 2022;                11:18:09

  6     correct?

  7         A   Correct.

  8         Q   Okay.   So how did you read Dr. Brown's expert

  9     declaration dated the same day as your declaration?

 10         A   That was provided to me by attorneys at ADF.           11:18:31

 11         Q   Did you read Dr. Brown's declaration after it

 12     had already been signed?

 13         A   I can't speak to when he signed that, so I

 14     don't know the answer to that question.

 15         Q   Did you review Dr. Brown's declaration on              11:18:52

 16     February 23rd, 2022?

 17         A   I don't recall when I reviewed it.

 18         Q   Now, the sentence continues -- I'll just read

 19     it from the beginning again.

 20             (As read):                                             11:19:15

 21             "I have reviewed the expert

 22             declaration of Gregory A. Brown,

 23             Ph.D., FACM of February 23, 2022,

 24             provided in this case, which

 25             includes evidence from a wide                          11:19:23

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  1             variety of sources, including

  2             population-based mass testing data,

  3             as well as age-stratified

  4             competition results, all of which

  5             support the idea that prepubertal                      11:19:35

  6             males run faster, jump higher and

  7             farther, exhibit higher aerobic

  8             power output, and have greater upper

  9             body strength (evidenced by stronger

 10             hand grip and better performance                       11:19:45

 11             with chin-ups or bent arm hang) than

 12             comparably aged females."

 13             Did I read that right?

 14         A   You did.

 15         Q   Okay.   And then you go on to say that this is         11:19:55

 16     documented in Presidential Fitness Test, Euro

 17     Fitness Test and additional mass testing data from

 18     the UK and Australia; correct?

 19         A   Correct.

 20         Q   Now, are those fitness tests what you were             11:20:05

 21     referring to earlier when you were discussing

 22     additional research you had done to update your

 23     white paper?

 24         A   Yes.

 25         Q   Okay.   Do you actually cite to those fitness          11:20:18

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  1     test results in the bibliography of this white

  2     paper?

  3         A    I don't believe that that's in there.

  4         Q    Okay.     So does this refresh your recollection

  5     about whether you -- about how -- I'll take this --            11:20:36

  6     I'll -- strike that.       I'll ask again.

  7              Do you -- did you become aware of these

  8     differences in test results from reading Dr. Brown's

  9     declaration?

 10         A    No.     I had been familiar with some of those        11:20:55

 11     papers prior.

 12         Q    When did you become familiar with them?

 13         A    In the course of -- likely in the course of

 14     initial review, on -- on PubMed searches.

 15         Q    Can you turn to page 61 of the document?              11:21:24

 16     That's your bibliography.

 17         A    Okay.

 18         Q    Can you point out to me the sources in the

 19     bibliography addressing performance differences

 20     between -- or -- or differences in body composition            11:22:03

 21     between prepubertal girls and prepubertal boys?

 22         A    We're speaking to performance differences;

 23     correct?

 24         Q    Or physiological differences.

 25         A    Papers that I referenced are not in there.            11:23:25

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  1         Q     Okay.   Why not?

  2         A     I reviewed -- papers that I had reviewed

  3     beforehand were referenced within Dr. Brown's

  4     report.

  5         Q     On the -- if -- going back to paragraph 17,          11:24:26

  6     which is -- well, if you could go back to

  7     paragraph 17.      So that's pages 12 and 13.

  8               12 and 13.   Hopefully, I said that correctly.

  9               If you could go to the end of paragraph 17,

 10     which is on page 13.                                           11:24:51

 11         A     Okay.

 12         Q     Let me know when you're there.

 13         A     I'm there.

 14         Q     Okay.   It says (as read):

 15               In sum, a large and unbridgeable                     11:25:01

 16               performance gap exists between

 17               the" -- "exists" --

 18               Let me try that again.     I need another cup of

 19     coffee.

 20               It says (as read):                                   11:25:11

 21               "In sum, a large and unbridgeable

 22               performance gap between the sexes is

 23               well-studied and equally

 24               well-documented, beginning in many

 25               cases before puberty."                               11:25:20

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  1             Do you see that sentence?

  2         A   I do.

  3         Q   Okay.   Is -- do you believe that the

  4     performance gap before puberty is unbridgeable?

  5         A   No, that's not what I said.                            11:25:37

  6         Q   That's why I'm asking the question.

  7         A   No.

  8         Q   Do -- do you --

  9         A   What -- what it says is large and

 10     unbridgeable performance gap between the sexes is              11:25:46

 11     well-studied beginning in many cases before puberty.

 12         Q   Okay.   In -- in many cases, is there an

 13     unbridgeable performance gap before puberty?

 14         A   I believe, based on the -- I believe if you

 15     look at the -- of how sex-based records break down,            11:26:14

 16     that we're talking about upper-end performance that

 17     it reflects, in -- as I said, in many cases, an

 18     unbridgeable gap.

 19         Q   How about average differences between boys

 20     and girls before puberty, is the gap so large to be            11:26:44

 21     unbridgeable?

 22         A   Not in all cases, no.

 23         Q   In which case is -- is it large enough to be

 24     unbreakable?

 25         A   Well, for example, boys can outperform girls           11:27:02

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  1     as early as age seven and ups at between 100 and

  2     1200 percent improved.

  3         Q   And do you have an expert opinion on whether

  4     or not those differences are attributable to innate

  5     physiological characteristics?                                 11:27:41

  6         A   As -- as a physician who works with athletes

  7     of all ages, every day, I do have an opinion that

  8     biology plays a role in the measured performance

  9     differences that exist in the literature with

 10     respect to prepubertal children, yes.                          11:28:11

 11         Q   So you said biology plays a role.

 12             Is biology the exclusive thing that plays a

 13     role?

 14         A   I'm not aware of any peer-reviewed study that

 15     looks at the exact contribution of biology versus              11:28:36

 16     other causes when it comes to performance in

 17     prepubertal children.

 18         Q   Are you -- are you aware of any data

 19     measuring the performance of transgender girls

 20     before puberty in -- in athletic contests or                   11:28:51

 21     physical fitness studies?

 22         A   I'm not aware of any literature looking

 23     specifically at prepubertal transgender girls in --

 24     in their performance of sport, no.

 25         Q   Just to clarify the scope of your expert               11:29:14

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  1     opinions in this case, are you providing an expert

  2     opinion in this case regarding athletic advantages

  3     between males and females?

  4             MR. FRAMPTON:     Objection; form.

  5             Go ahead.                                              11:29:46

  6             THE WITNESS:     I am providing an opinion in

  7     this case on the safety issues that exist when those

  8     of one sex cross over and participate in sports.

  9     BY MR. BLOCK:

 10         Q   So -- so your expert opinion in this case is           11:30:01

 11     exclusively about the safety issues; correct?

 12             THE VIDEOGRAPHER:      I believe Dr. Carlson's

 13     Internet might have been having a problem.          You

 14     might need to repeat your question.

 15             MR. BLOCK:     Sure.                                   11:30:37

 16     BY MR. BLOCK:

 17         Q   So your expert testimony in this case is

 18     exclusively about the safety issues involved when

 19     males and females play together; right?

 20             MR. FRAMPTON:     Objection; form.                     11:30:53

 21             Go ahead.

 22             THE WITNESS:     It is about the safety issues

 23     that are involved when males and -- when males cross

 24     over into women's sports particularly, and some of

 25     that opinion relates to differences in certain                 11:31:08

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  1     variables, such as speed.

  2     BY MR. BLOCK:

  3         Q   You're not providing an expert opinion on the

  4     fairness of allowing transgender girls to

  5     participate on girls' teams; right?                            11:31:29

  6         A   I'm not providing an opinion on fairness as

  7     relates to transgender participation, no.

  8         Q   If you could go to paragraph 21 of your

  9     report -- it's on page 15.       So about four lines from

 10     the top -- there's a sentence that begins with "To             11:32:12

 11     the latter point."

 12         A   "To the latter point, children don't play

 13     contact sports..."?

 14         Q   Yeah.   So it says (as read):

 15             "To the latter point, children don't                   11:32:28

 16             play contact sports with adults and,

 17             in a great majority of cases, men

 18             and women compete in categories

 19             specific to their own biological

 20             sex."                                                  11:32:37

 21             Do you see that?

 22         A   I do.

 23         Q   Okay.   And so that sentence has been changed

 24     from the version of that sentence that appeared in

 25     your June 2021 report; correct?                                11:32:49

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  1         A   I can't recall.     I'd have to go back and look

  2     at that report.

  3         Q   Okay.   Let's go back and look at it.       It's on

  4     page 11 of your earlier report.

  5         A   Okay.                                                  11:33:37

  6         Q   All right.    So on page 11 of your report,

  7     paragraph 18, a couple lines from the bottom, it

  8     says (as read):

  9             "To the latter point, children don't

 10             play contact sports with adults and,                   11:33:45

 11             as has already been discussed, after

 12             the onset of puberty, men and women

 13             compete in categories specific to

 14             their own biological sex."

 15             Do you see that?                                       11:33:54

 16         A   I do.

 17         Q   Okay.   And so then in your February report,

 18     the -- the words after "the onset of puberty" are

 19     taken out, and the words "in the great majority of

 20     cases" are -- are put in; is that right?                       11:34:10

 21         A   Correct.

 22         Q   Okay.   And so why did you make that change?

 23         A   Well, I believe, as we had discussed, the

 24     focus on the first draft was primarily in the

 25     adolescent age and later, and the second draft was             11:34:23

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  1     expanded slightly to include consideration of the

  2     prepubertal athlete.     And since sport -- gender --

  3     or sex stratification in youth teams is still widely

  4     prevalent, they altered those words.

  5         Q   Are you providing an expert opinion in this            11:34:50

  6     case about transgender girls and women who never go

  7     through endogenous puberty as a result of puberty

  8     blockers followed by gender-affirming hormones?

  9             MR. FRAMPTON:    Objection; form.

 10             THE WITNESS:    Can you -- you ask that one            11:35:07

 11     more time?

 12     BY MR. BLOCK:

 13         Q   Yeah.   So are you providing an expert

 14     report -- excuse me, I'll say it again.

 15             Are you providing an expert opinion in this            11:35:14

 16     case about transgender girls and women who never go

 17     through endogenous puberty as a result of taking

 18     puberty blockers followed by gender-affirming

 19     hormones?

 20             MR. FRAMPTON:    Same objection.                       11:35:29

 21             Go ahead.

 22             THE WITNESS:    So to the extent that they are

 23     prepubertal biological males, yes.

 24     BY MR. BLOCK:

 25         Q   How about to the extent that they have                 11:35:36

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  1     received puberty blockers followed by

  2     gender-affirming hormones to stimulate the

  3     equivalent of a typically female puberty?

  4             MR. FRAMPTON:     Objection; form.

  5             THE WITNESS:     My opinion in this case extends       11:35:51

  6     to sports safety issues in both the prepubertal and

  7     the pubertal population.

  8     BY MR. BLOCK:

  9         Q   Okay.   Does it address safety issues of the

 10     participation of transgender girls and women who               11:36:11

 11     receive puberty blockers and then receive

 12     gender-affirming hormone therapy that has effects on

 13     bone and muscle structure and causes them to

 14     develop, you know, typically female hips and -- and

 15     things like that?                                              11:36:26

 16             MR. FRAMPTON:     Objection to form.

 17             MR. TRYON:     Objection; form.

 18             THE WITNESS:     That's -- that's a complex

 19     question.    Can you unpack that a little bit?

 20     BY MR. BLOCK:                                                  11:36:39

 21         Q   Sure.   So you, so far -- in response to my

 22     questions about people who have blockers, you've

 23     equated transgender girls who have blockers to

 24     prepubertal boys and someone who has -- a

 25     transgender girl who has puberty blockers and then             11:36:52

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  1     receives gender-affirming hormones, you know,

  2     stimulates a lot of other changes that prepubertal

  3     boys don't have; correct?

  4             MR. FRAMPTON:     Objection to form.

  5             THE WITNESS:     I don't --                            11:37:05

  6             MR. FRAMPTON:     Go ahead.

  7             THE WITNESS:     I don't think that that's been

  8     widely looked at.      I know that there's -- I -- I

  9     don't think that that's been widely looked at or

 10     extensively looked at, as to what the effects of               11:37:16

 11     that treatment would be on athletic performance.

 12     BY MR. BLOCK:

 13         Q   Are you providing an expert opinion on what

 14     the effects of that treatment would be on safety?

 15             MR. FRAMPTON:     Object to the form.                  11:37:36

 16             Go ahead.

 17             THE WITNESS:     I'm providing an opinion on the

 18     potential effects on safety of a biological male,

 19     even at age 10 or 11, pick your age, of crossing

 20     over into a woman's sport and participating in                 11:37:53

 21     contact and collision sports.

 22     BY MR. BLOCK:

 23         Q   All right.     That's not the answer to my

 24     question.    I -- I asked are you providing an expert

 25     opinion on the safety of -- of some -- a transgender           11:38:03

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  1     girl who has received blockers and then

  2     gender-affirming hormones participating on girls'

  3     sports teams.

  4           A   Am I -- I -- I am providing an opinion on the

  5     potential safety issues of a hypothetical individual           11:38:39

  6     like this participating on girls' sport team --

  7     girls' sports teams, yes.

  8           Q   What -- what's your basis for providing an

  9     expert opinion regarding a transgender girl who has

 10     received blockers and then gone on to receive                  11:38:57

 11     gender-affirming hormones?

 12           A   That would have to do with whether or not

 13     there are differences between the sexes at the time

 14     of puberty.

 15           Q   Well, I'm talking about someone who has              11:39:21

 16     received blockers but then received gender-affirming

 17     hormones to stimulate the equivalent of a typically

 18     female puberty.

 19               Are you -- what's your basis for providing an

 20     expert opinion on the safety risks of that person              11:39:39

 21     participating on girls' sports?

 22               MR. TRYON:     Objection.

 23               THE WITNESS:     To my --

 24               MR. FRAMPTON:     Objection to form.

 25     ///

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  1     BY MR. BLOCK:

  2           Q   You can answer.

  3           A   There's not extensive research looking at the

  4     situation that you're talking about.

  5           Q   So --                                                11:39:59

  6           A   The effect of sports -- of gender-affirming

  7     hormones on sports participation.

  8           Q   So if there's not a lot of research, do you

  9     have a basis for offering an expert opinion about

 10     it?                                                            11:40:16

 11               MR. FRAMPTON:     Same objection.

 12               Go ahead.

 13               THE WITNESS:     My opinion is grounded in an

 14     understanding of what plays into injury risk and

 15     differences that exist between the sexes.                      11:40:30

 16     BY MR. BLOCK:

 17           Q   Do you know what differences exist for --

 18     between a cisgender woman and a transgender woman

 19     who received puberty blockers followed by

 20     gender-affirming hormones?                                     11:40:49

 21               MR. TRYON:     Objection to form.

 22               THE WITNESS:     My -- my understanding is there

 23     is retained differences in lean body mass between

 24     them.

 25     ///

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  1     BY MR. BLOCK:

  2         Q   What's that understanding based on?

  3         A   The one study I'm familiar with that looked

  4     at that, which was authored by Klaver.

  5         Q   And that's a study that you didn't cite in              11:41:10

  6     your report; correct?

  7         A   Correct.

  8         Q   You only looked at that study for the first

  9     time in preparing for this deposition; correct?

 10             MR. FRAMPTON:     Objection to the form.                11:41:22

 11     BY MR. BLOCK:

 12         Q   You can answer.

 13         A   I looked at it in preparation for this

 14     deposition, yes.

 15         Q   So you looked at it for the first time after            11:41:37

 16     you had already submitted your report; correct?

 17         A   Correct.

 18         Q   And is it your understanding that the people

 19     in that study received puberty blockers at the

 20     beginning of Tanner II?                                         11:41:49

 21         A   Around -- I believe around age 13, 14.

 22         Q   And as a medical doctor, what's your

 23     understanding of when Tanner II typically begins for

 24     boys?

 25         A   Again, I'm a sports medicine physician.        I'm      11:42:05

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  1     not an endocrinologist.

  2         Q   Well --

  3             MR. FRAMPTON:     Did it not pick up his answer?

  4     I thought he answered the -- there was no reaction

  5     when he said an age, so I just wanted to make sure             11:42:27

  6     it was picked up.

  7             MR. BLOCK:     It was not.

  8             MR. FRAMPTON:     Okay.

  9             THE WITNESS:     I said age 12.

 10     BY MR. BLOCK:                                                  11:42:34

 11         Q   Age 12.

 12             Have you done any modeling of the safety

 13     risks associated with prepubertal boys playing on

 14     sports teams with prepubertal girls?

 15             MR. FRAMPTON:     Objection to the form.               11:42:57

 16             Go ahead.

 17             THE WITNESS:     Define what you mean by

 18     "modeling."

 19     BY MR. BLOCK:

 20         Q   You discuss modeling of safety risks in your           11:43:08

 21     report, don't you?

 22         A   Correct.

 23         Q   So that's what I mean by "modeling."

 24             Have you conducted any modeling of the safety

 25     risks of prepubertal boys playing on teams with                11:43:22

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  1     prepubertal girls?

  2         A    I'm not sure what you mean by modeling these

  3     risks.     The -- the extent to which prepubertal kids

  4     do or don't fit into that model depends on whether

  5     there are measurable differences between the sexes                 11:43:50

  6     in terms of things like speed or strength.

  7         Q    And so --

  8         A    To the extent that there are measurable

  9     differences noted between them, then, yes, the model

 10     applies.                                                           11:44:13

 11         Q    But you haven't actually done that modeling,

 12     have you?

 13              MR. FRAMPTON:    Objection to the form.

 14              THE WITNESS:    I thought I answered that

 15     question.     I'm not sure -- do you mean have I                   11:44:22

 16     published data on that?

 17     BY MR. BLOCK:

 18         Q    Not have you published it.        Have you done it

 19     yourself?     Have you plugged the values into

 20     equations and -- and come up with a model similar                  11:44:35

 21     to, you know, rugby's model?

 22              MR. FRAMPTON:    Objection to the form.

 23              Go ahead.

 24              THE WITNESS:    Have I taken a calculator and

 25     calculated this out with prepubertals?              I'm not sure   11:44:56

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  1     I understand why that's necessary.

  2             If -- if -- there either are or there aren't

  3     differences between the sexes in terms of variables

  4     that equate to athletic performance or -- or lead to

  5     athletic performance, and if there are, then                   11:45:19

  6     absolute injury risk can be increased.

  7     BY MR. BLOCK:

  8         Q   So you don't -- no -- no matter how small a

  9     difference is, you don't think that's relevant to

 10     assessing, you know, safety risks?                             11:45:33

 11             MR. FRAMPTON:    Object to the form.

 12             THE WITNESS:    I'm not sure what you're asking

 13     there, but -- but measurable differences can lead to

 14     increased safety risk, yes.

 15     BY MR. BLOCK:                                                  11:45:55

 16         Q   World Rugby actually calculated a -- a model

 17     of the safety risks of an average man playing rugby

 18     with an average woman; correct?

 19         A   Correct.    That was part of their process.

 20         Q   Okay.   And so they went through the steps of          11:46:12

 21     actually calculating it; correct?

 22         A   They did.

 23         Q   Okay.   And -- but you did not go through

 24     those steps for purposes of calculating a safety

 25     risk of an -- prepubertal boys playing on teams with           11:46:26

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  1     prepubertal girls; right?

  2             MR. FRAMPTON:    Same objection.

  3             THE WITNESS:    Well, I think I speak to the --

  4     in the paper as to how that risk might be

  5     calculated.                                                    11:46:39

  6     BY MR. BLOCK:

  7         Q   Yeah, you -- you spoke to how it might be

  8     calculated, but you didn't actually calculate it;

  9     correct?

 10         A   I'm not -- I'm not sure where you're going             11:46:46

 11     with that, but --

 12         Q   I just need a "yes" or "no" answer whether

 13     you did it or not.

 14             MR. FRAMPTON:    Object to the form.

 15             Go ahead.                                              11:46:55

 16     BY MR. BLOCK:

 17         Q   You did not actually go through the steps of

 18     calculating the model of the safety risk for

 19     prepubertal boys playing with prepubertal girls?

 20         A   I did not take, for example, an                        11:47:02

 21     eight-year-old male and -- his mass and speed into a

 22     force equation and then compare it to another

 23     eight-year-old female.      I'm not sure what that

 24     was -- would accomplish.

 25         Q   Okay.   So how -- so you don't have the -- the         11:47:19

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  1     modeling data to compare the relative risk for

  2     prepubertal kids to the relative risk for men and

  3     women after puberty, do you?

  4           A   I do not have a database to present to you,

  5     no.                                                            11:47:41

  6           Q   Is it your understanding that the risk is

  7     smaller for prepubertal kids than for people after

  8     puberty?

  9               MR. TRYON:     Objection; form of the question.

 10               MR. FRAMPTON:     Same objection.                    11:47:57

 11               THE WITNESS:     Do you want to rephrase?

 12     BY MR. BLOCK:

 13           Q   Is -- is it your understanding that the

 14     increased risk is smaller with respect to

 15     prepubertal boys and girls than adult men and women?           11:48:10

 16               MR. TRYON:     Objection to form.

 17               THE WITNESS:     I'm asked -- I'm retained to

 18     look to -- to weigh in on whether or not a risk

 19     exists, and based on differences between the sexes,

 20     even at a prepubertal age, a heightened risk exists.           11:48:28

 21     BY MR. BLOCK:

 22           Q   So -- wait, so -- so your expert opinion is

 23     only whether or not there is exists -- a risk

 24     exists, not on how great the risk is?

 25               MR. FRAMPTON:     Object to the form.                11:48:42

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  1               THE WITNESS:     I can -- I can speak to the

  2     fact that the risk is going to be greater with a

  3     larger, faster, more powerful individual than it

  4     would be with somebody who is less so, but as long

  5     as there are retained differences, there's still               11:49:01

  6     risk.

  7     BY MR. BLOCK:

  8         Q     Have you calculated the difference in risk

  9     from a woman with PCOS participating in women's

 10     sports?                                                        11:49:19

 11         A     I'm not -- I haven't been retained to weigh

 12     in on individuals with disorders of sexual

 13     development.

 14         Q     Okay.   So do you -- you don't know one way or

 15     another whether or not there's an increased risk               11:49:32

 16     when a woman with PCOS plays with other women in --

 17     in female sports?

 18               MR. TRYON:     Objection to form.

 19               MR. FRAMPTON:     Object to the form.

 20               THE WITNESS:     I have not looked at that           11:49:49

 21     specifically.

 22     BY MR. BLOCK:

 23         Q     So --

 24         A     To my knowledge, there is not a peer-reviewed

 25     study looking at individuals who have PCOS and their           11:49:56

                                                                   Page 123

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  1     imparted risk on an athletic field.

  2         Q    And there's no peer-reviewed study looking at

  3     prepubertal kids and their -- boys and their

  4     imparted risk on an athletic field, is there?

  5         A    That's why I was retained.                            11:50:18

  6         Q    Okay.    And there's no peer-reviewed study

  7     looking at transgender women and their risk to other

  8     women from participating in an athletic field;

  9     right?

 10              MR. FRAMPTON:       Object to the form.               11:50:30

 11              Go ahead.

 12              THE WITNESS:       There are multiple studies that

 13     show retention of significant differences in the

 14     types of things that would lead to disparities in

 15     strength, power, speed, etcetera, all of which can             11:50:47

 16     contribute to heightened injury risk, which was the

 17     underpinning of World Rugby's finding.

 18     BY MR. BLOCK:

 19         Q    Right.    But --

 20              MR. BLOCK:     Can you read back my question,         11:50:58

 21     Court Reporter.

 22              (Record read.)

 23              MR. FRAMPTON:       Same objection.

 24              MR. TRYON:     Objection; form.

 25              THE WITNESS:       To my knowledge, there has been    11:51:21

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  1     no peer-reviewed study looking at the injury risk

  2     that exists to cisgender women when transgender

  3     women cross over and play.         That issue is, to my

  4     knowledge, not often tracked.

  5     BY MR. BLOCK:                                                   11:51:45

  6         Q   Can we look at page 2 of your report.

  7         A   Which report are you talking about?

  8         Q   Your -- your February report.

  9             MR. FRAMPTON:        I'm sorry, Josh, what -- what

 10     page did you tell him to go to?                                 11:52:05

 11             MR. BLOCK:     Page 2.     Exhibit --

 12             MR. TRYON:     Which exhibit is this, please?

 13             MR. BLOCK:     80.     Exhibit 80.

 14             THE WITNESS:     Okay.

 15     BY MR. BLOCK:                                                   11:52:26

 16         Q   If you look at the -- the final sentence, at

 17     the bottom, that begins with "As a medical doctor."

 18         A   Okay.

 19         Q   It says (as read):

 20             "As a medical doctor who has spent                      11:52:32

 21             my career in sports medicine, it is

 22             my opinion that World Rugby's

 23             assessment of the evidence is

 24             scientifically sound, and that

 25             injury modeling meaningfully                            11:52:41

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  1               predicts that biologically male

  2               transgender athletes do constitute a

  3               safety risk for the biologically

  4               female athlete in women's sports."

  5               Did I read that right?                               11:52:53

  6           A   Yes.

  7           Q   And so you think that World Rugby did a

  8     thorough job; correct?

  9           A   I think that their approach, as they've

 10     described it, was sound.       I wouldn't say that they        11:53:10

 11     did a thorough job, no.

 12           Q   Why wouldn't you?

 13           A   Because the research database that they

 14     published relates completely to adult athletes or

 15     postpubescent athletes.                                        11:53:33

 16           Q   How do you know that?

 17           A   Because I've looked at it.

 18           Q   When did you look at it to determine whether

 19     it relates solely to adult athletes?

 20               MR. FRAMPTON:    Object to the form.                 11:53:46

 21               Go ahead.

 22               THE WITNESS:    I -- I can't tell you that

 23     exactly.     It would have been around the time that I

 24     was reformatting this report.

 25     ///

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  1     BY MR. BLOCK:

  2         Q     So you looked more closely at that issue, you

  3     know, after the first version of your report was

  4     filed; right?

  5         A     Yes.                                                 11:54:00

  6         Q     What is World Rugby's policy with respect to

  7     the participation of transgender women who have had

  8     puberty blockers followed by gender-affirming

  9     hormones?

 10         A     By understanding is that they, in their              11:54:13

 11     policy statement, have stated that those individuals

 12     are not subject to the same exclusions.

 13         Q     When did you become aware that World Rugby

 14     allows those individuals to participate?

 15               MR. FRAMPTON:    Object to the form.                 11:54:36

 16               THE WITNESS:    Well, it's -- it's in their

 17     report.     So I don't recall.     I mean, at -- again, at

 18     the point in time that I was reviewing their data.

 19     I can't tell you when that was.

 20     BY MR. BLOCK:                                                  11:54:47

 21         Q     When -- when you submitted your June 2021

 22     report, were you aware that World Rugby allowed

 23     transgender women to participate if they had

 24     received blockers and never gone through endogenous

 25     puberty?                                                       11:55:02

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  1             MR. FRAMPTON:     Objection; form.

  2             Go ahead.

  3             THE WITNESS:     I can't -- I can't recall.     I

  4     can't speak to that.      Again, it wasn't really the

  5     focus of that report.                                          11:55:17

  6     BY MR. BLOCK:

  7         Q   So do -- do you think that you know better

  8     than World Rugby about the safety risks of allowing

  9     a transgender woman to play if she's received

 10     blockers followed by gender-affirming care?                    11:55:31

 11             MR. FRAMPTON:     Objection to form.

 12             MR. TRYON:     Objection to form.

 13             MR. FRAMPTON:     Go ahead.

 14             THE WITNESS:     I think with any set of

 15     guidelines, clinicians particularity, since these              11:55:41

 16     types of things bear relevance on what we do, we

 17     have to kind of look at everything and make

 18     determinations based on what we know and what's

 19     being said.

 20             And so I -- I can agree with the bulk of the           11:55:54

 21     findings of World Rugby, particularly with regards

 22     to the type of athlete that's reflected in the

 23     literature review that they've provided, and still

 24     take exception with the idea that there isn't

 25     risk -- that there isn't a risk consideration with             11:56:21

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  1     prepubertal athletes.

  2     BY MR. BLOCK:

  3         Q   Do -- you don't -- do you think that the

  4     degree of -- of risk is relevant in determining

  5     whether it justifies an exclusion?                              11:56:30

  6         A   That's a policy --

  7             MR. FRAMPTON:     Objection to form and scope.

  8             Go ahead.

  9             THE WITNESS:     That's a policy issue.     That's

 10     not my job.     My job is just to say is there a risk.          11:56:40

 11     BY MR. BLOCK:

 12         Q   All right.     Well, there's increased risk from

 13     the participation of a taller cisgender woman;

 14     correct?

 15         A   That's a vague question.        Can you restate it?     11:56:52

 16         Q   Yeah.    So the taller -- so when -- the taller

 17     a female athlete is, the more she increases the risk

 18     of injury for other female athletes; correct?

 19         A   Again, I don't feel like I can answer that

 20     question.     You're not providing me with enough               11:57:19

 21     context.

 22         Q   Well, you said as long as there's a

 23     difference, that that can create risk.

 24             So doesn't height affect the safety risks for

 25     other athletes?                                                 11:57:33

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  1           A   Height in the context of what?          Give me

  2     context.

  3           Q   How about volleyball.

  4           A   Okay.     So ask it in -- in the context of

  5     volleyball.                                                    11:57:49

  6           Q   So the taller a female athlete is, the

  7     greater risk she poses to other female athletes in

  8     volleyball; correct?

  9           A   So we're talking about biological females

 10     playing with each other?        Is that what we're talking     11:57:59

 11     about?

 12           Q   Yes.

 13           A   I -- I think with -- when it comes to

 14     biological females playing together, they tend to --

 15     there are outliers, of course, but they're outliers            11:58:16

 16     within a relatively defined biological pool.

 17               To your question, if you have a really tall

 18     athlete in volleyball, at the net, they're going to

 19     be able to spike the ball vertically, theoretically,

 20     or forcefully, but it's not just height that plays             11:58:42

 21     into that.        It's leg strength.     It's jumping

 22     ability.     It's arm extension.       So you've got a

 23     convergence of factors that are going to play into

 24     it.

 25               But -- but within the sexes, yeah, you can           11:58:55

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  1     have some individuals that provide -- who -- who are

  2     larger and taller, stronger than others.

  3              But that's not the same thing as blending

  4     sexes.

  5         Q    So -- but you're not -- you're not providing          11:59:17

  6     an expert opinion on the degree of risks; correct?

  7     You're just providing an expert opinion on whether a

  8     risk of any amount exists?

  9              MR. FRAMPTON:    Objection to the form.

 10              THE WITNESS:    I was retained in this case to        11:59:33

 11     provide an opinion on whether there -- there's a

 12     safety risk associated with gender crossover in

 13     interscholastic sports.

 14     BY MR. BLOCK:

 15         Q    So --                                                 11:59:47

 16         A    And it's not my role to determine the

 17     relevance of absolute risk; it's just to say whether

 18     a risk exists.

 19         Q    Okay.   So you're not providing an expert

 20     opinion comparing the degree of risk from allowing a           12:00:03

 21     transgender woman to compete to the degree of risk

 22     from allowing any particular cisgender woman to

 23     compete?

 24         A    Well, I didn't say that.

 25              MR. FRAMPTON:    Objection to the form.               12:00:18

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  1     BY MR. BLOCK:

  2         Q   That's my question.

  3             So -- so you're -- are you -- are you -- are

  4     you providing an opinion that allowing a transgender

  5     woman who's received blockers to compete with other            12:00:27

  6     women provides a greater safety risk than allowing

  7     certain cisgender women to compete on the team?

  8             MR. FRAMPTON:    Objection to the form.

  9             THE WITNESS:    I am arguing that allowing a

 10     transgender -- a biologically born male who                    12:00:47

 11     transitions to a female and plays on a female sports

 12     team, I am arguing that there are safety risks

 13     associated with that, yes.

 14     BY MR. BLOCK:

 15         Q   So -- so I'm focusing now --                           12:01:09

 16         A   That have the potential to exceed that of

 17     overall risks when cisgender athletes are playing

 18     together.

 19         Q   So I'm -- I'm focusing specifically on a

 20     transgender woman who has received blockers followed           12:01:23

 21     by gender-affirming care.       So I want to focus your

 22     attention on that specific fact pattern.

 23             The only physiological difference that has

 24     been identified in your report, you know, for that

 25     population of people, is potentially 10 percent                12:01:36

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  1     greater lean body mass.

  2              And my question is, are you providing an

  3     expert opinion on whether there's a greater risk for

  4     allowing that person to participate on a woman's

  5     team than allowing a cisgender woman with 10 percent           12:01:56

  6     greater body mass than the average woman participate

  7     on a woman's team?

  8              MR. FRAMPTON:    Objection to the form.

  9              Go ahead.

 10              THE WITNESS:    You're comparing apples and           12:02:06

 11     oranges because you're talking about a biological

 12     male that brings a certain -- that can bring certain

 13     characteristics to puberty with him.

 14     BY MR. BLOCK:

 15         Q    Well, the only characteristic identified is           12:02:21

 16     10 percent difference in body mass.

 17         A    That's the only characteristic you

 18     identified.

 19         Q    What -- what other physiological

 20     characteristic, you know, exists?                              12:02:31

 21         A    Again, going back to published data on

 22     performance in the elementary school population,

 23     there are consistent findings of greater strength

 24     and speed in preadolescent boys than preadolescent

 25     girls.                                                         12:02:56

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  1         Q   But those -- those aren't -- those aren't

  2     discussions of physiological -- innate physiological

  3     characteristics, are they?

  4         A   We don't know that.

  5             MR. FRAMPTON:     Object to the form.                  12:03:04

  6             THE WITNESS:     We -- we -- I -- in fact, I

  7     suspect that there's a significant biological

  8     contribution to that.

  9     BY MR. BLOCK:

 10         Q   So what -- what -- what study have you done            12:03:13

 11     on physiological differences between prepubertal

 12     boys and girls?

 13         A   What study have I done?

 14             MR. FRAMPTON:     Objection to the form.

 15             THE WITNESS:     Is that what you said?                12:03:23

 16     BY MR. BLOCK:

 17         Q   Yeah.

 18             MR. FRAMPTON:     Objection to the form.

 19             Answer the question.

 20             THE WITNESS:     I have not conducted a study on       12:03:27

 21     physiological differences between preadolescent boys

 22     and girls.

 23     BY MR. BLOCK:

 24         Q   All right.     Are there -- are there

 25     differences in bone structure between preadolescent            12:03:35

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  1     boys and girls, you know, relevant to athletic

  2     performance?

  3           A   I believe that the differences that exist

  4     between boys and girls are performance based.         There

  5     is a biological difference in lean body mass between           12:04:04

  6     boys and girls that manifest at a very early age.

  7     There are other performance-based measures that

  8     contribute to risk that are well defined.

  9           Q   So focusing on 10 percent difference in lean

 10     body mass that -- on average, are you providing an             12:04:20

 11     opinion on whether -- if the only physiological

 12     difference is 10 percent lean body mass -- let me

 13     phra that -- phrase that again.

 14               Are you providing an expert opinion comparing

 15     the risk associated with allowing a transgender                12:04:41

 16     woman who has been on blockers and hormones and has

 17     10 percent greater lean body mass than a cisgender

 18     woman to the risk of allowing a cisgender woman with

 19     10 percent greater lean body mass than an average

 20     cisgender woman to participate in women's sports?              12:05:01

 21               MR. TRYON:     Objection to form.

 22               MR. FRAMPTON:     Objection to form and scope.

 23               THE WITNESS:     That question has assumptions

 24     in it that I think keep me from answering it.

 25     ///

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  1     BY MR. BLOCK:

  2         Q   The --

  3         A   You're -- you're -- you're equating the two

  4     without acknowledging that there are sex-based

  5     differences in performance that play into injury               12:05:28

  6     risk that are brought to that point.

  7             So I don't know how to answer your question.

  8         Q   You -- you know, are -- you've said

  9     repeatedly you're not providing an opinion

 10     quantifying the amount of risk; you're just                    12:05:48

 11     providing an opinion that some quantum of increased

 12     risk exists; correct?

 13         A   Correct.

 14             MR. FRAMPTON:     Object to the form.

 15     BY MR. BLOCK:                                                  12:06:05

 16         Q   I didn't hear the answer.

 17         A   I'm providing an opinion as to the fact that

 18     there is risk.

 19         Q   And there is also increased risk when a

 20     cisgender woman with 10 percent greater lean body              12:06:12

 21     mass than an average cisgender woman participates in

 22     women's sports; correct?

 23             MR. TRYON:     Objection to form.

 24             MR. FRAMPTON:     Same objection.

 25             THE WITNESS:     Repeat that question.                 12:06:27

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  1             MR. BLOCK:

  2         Q   There is an increased risk to safety when a

  3     cisgender woman with 10 percent greater lean body

  4     mass than an average cisgender woman participates in

  5     women's sports; correct?                                       12:06:39

  6             MR. TRYON:     Objection.

  7             MR. FRAMPTON:     Objection.

  8             THE WITNESS:     I didn't say that.

  9     BY MR. BLOCK:

 10         Q   Is there or is there not?                              12:06:43

 11         A   There's more than just that variable that

 12     play into injury risk with --

 13         Q   There might be -- there might -- I'm sorry, I

 14     said I wouldn't cut you off.        Go ahead and answer.

 15         A   If the question was is a cisgender woman with          12:07:02

 16     10 percent increased lean body mass, in part, higher

 17     injury risk to other female cisgender athletes, the

 18     answer is you can't answer that question because

 19     there are other things that play in.

 20         Q   I don't --                                             12:07:22

 21         A   I'm saying is the -- you're phrasing this

 22     question as if the only difference between an

 23     individual who comes to the point of going onto

 24     puberty blockers is a 10 percent difference in lean

 25     body mass, and I'm telling you that there are                  12:07:42

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  1     population-based performance differences between the

  2     sexes that exist prior to that.

  3         Q   All right.    So --

  4         A   I'm not sure how to answer that question.

  5         Q   Are there any differences in the Klaver study           12:07:59

  6     identified between cisgender women and the

  7     transgender women in the study other than the

  8     10 percent greater lean body mass?

  9         A   Some differences in fat distribution.

 10         Q   There are differences in -- in fat                      12:08:17

 11     distribution at the end of the period?

 12         A   There are.

 13         Q   You know what?    I'll come back to that.        I

 14     don't want to waste my time.

 15             I'm still struggling with your -- your answer           12:08:47

 16     to whether or not you're capable of providing an

 17     expert opinion comparing the risks of allowing a

 18     transgender woman to participate to the risks of

 19     allowing an unusually tall or an unusually strong

 20     cisgender woman to participate.         So I --                 12:09:03

 21             MR. FRAMPTON:    Object --

 22             MR. BLOCK:    I -- I haven't finished my

 23     question yet.    You can object --

 24             MR. FRAMPTON:    I'm sorry.      My apologies.

 25             MR. BLOCK:    Yeah.   Okay.                             12:09:12

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  1     BY MR. BLOCK:

  2         Q   So I'm -- I'm still struggling with that.

  3             So are you -- are you or are you not

  4     providing an expert opinion comparing the relative

  5     risks between transgender women participating and              12:09:26

  6     between unusually strong or tall cisgender women

  7     participating in women's sports?

  8         A   Yes.

  9             MR. FRAMPTON:    Object to form.

 10     BY MR. BLOCK:                                                  12:09:37

 11         Q   Yes, you are?

 12         A   Yes.

 13         Q   How -- okay.    How are you able to provide

 14     that opinion if you are unable to quantify the

 15     amount of increased risk for -- when transgender               12:09:44

 16     women participate?

 17             MR. FRAMPTON:    Same objection.

 18             Go ahead.

 19             THE WITNESS:    You don't need to quantify risk

 20     in a -- in a modeling scenario to know that risk is            12:10:05

 21     increased.     The model -- going back to World Rugby,

 22     to just consideration of issues like speed, power,

 23     mass.

 24     BY MR. BLOCK:

 25         Q   How are you able to compare two things                 12:10:34

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  1     without quantifying them?

  2         A   Well, I don't think either side has been

  3     quantified, has it?

  4         Q   Well, no.

  5             So how do you know that the risks of allowing          12:10:47

  6     a transgender woman who's been on blockers and

  7     gender-affirming hormones to participate is greater

  8     or less than the risk of allowing an unusually

  9     strong or tall cisgender woman to participate on

 10     women's sports?                                                12:11:06

 11             MR. TRYON:     Objection --

 12             THE WITNESS:     I think that goes --

 13             MR. TRYON:     -- to the form of the question.

 14             THE WITNESS:     -- to the whole -- the whole

 15     heart of this case, which is that when you bring               12:11:11

 16     biological males into a pool of biological females,

 17     that you're bringing not just in body mass, but --

 18     but a other list of -- of retained differences that

 19     have the potential to be greater than -- than

 20     anything that you're going to see in that second               12:11:37

 21     pool of -- of athletes.

 22             And -- and so normal variation between the

 23     sexes and what that means for injury doesn't look

 24     the same as what it -- what that risk would look

 25     like if you're bringing somebody who isn't in that             12:11:56

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  1     category and placing them in that second group.

  2     That was the whole point of World Rugby's

  3     assertions.

  4     BY MR. BLOCK:

  5         Q     The differences between cisgender men and            12:12:06

  6     cisgender women are far greater than a 10 percent

  7     difference in lean body mass; correct?

  8         A     10 percent -- say that one more time.

  9         Q     The differences between cisgender men and

 10     cisgender women that were analyzed by World Rugby              12:12:23

 11     were far greater than a difference in 10 percent

 12     lean body mass; correct?

 13               MR. FRAMPTON:    Objection to the form.

 14               Go ahead.

 15               THE WITNESS:    I believe that's accurate.           12:12:36

 16     I'm -- I would have to go back and look at the

 17     report.

 18     BY MR. BLOCK:

 19         Q     So, in fact, the differences between adult

 20     cisgender mean and adult cisgender women are far               12:12:45

 21     greater than the differences between prepubertal

 22     boys and prepubertal girls; correct?

 23               MR. FRAMPTON:    Objection to the form.

 24               THE WITNESS:    There is a -- are you talking

 25     about lean body mass?                                          12:13:03

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  1     BY MR. BLOCK:

  2         Q   I'm talking about across the board.

  3             MR. FRAMPTON:     Same objection.

  4             THE WITNESS:     The -- the differences are

  5     greater between adult men and women than prepubertal           12:13:14

  6     boys and girls, yes.

  7     BY MR. BLOCK:

  8         Q   They're -- they're far greater; correct?

  9         A   That's a subjective term, but I'll -- I'll

 10     say they're greater.                                           12:13:27

 11         Q   In fact, the differences is, between

 12     cisgender men and cisgender women -- actually --

 13     actually, let me -- let me quote the language from

 14     your report.

 15             Let's go to page 9, paragraph 11 C.                    12:13:41

 16             Are you there?

 17         A   I'm there.

 18         Q   You are?

 19         A   I -- I am there.

 20         Q   Yeah.   So it says (as read):                          12:14:07

 21             "Males exhibit large average

 22             advantages in size, weight, and

 23             physical capacity over

 24             females——often falling far outside

 25             female ranges."                                        12:14:15

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  1             Do you see that?

  2         A   I do see that.

  3         Q   Okay.   So the differences in things before

  4     puberty, do the -- do the size, weight and physical

  5     capacity of prepubertal boys fall far outside the --           12:14:34

  6     the range of prepubertal girls?

  7         A   Well, I would say that the physical capacity

  8     of boys consistently is shown to exceed that of

  9     girls in many different ways of looking at it, yes.

 10         Q   It falls far outside the female range?                 12:14:52

 11         A   Male -- males consistently exceed female

 12     performance in the preadolescent population in

 13     measurements such as upper body strength, speed,

 14     etcetera.

 15         Q   Does it fall outside the female range?                 12:15:32

 16             MR. FRAMPTON:     Objection to form.

 17             THE WITNESS:     To some degree, when you look

 18     at individual records in age-based categories, you

 19     would have to say that they do.

 20     BY MR. BLOCK:                                                  12:16:10

 21         Q   Are you thinking of anything in particular?

 22         A   I'm thinking of categories in, for instance,

 23     track and field and weight lifting records.

 24         Q   There's weight lifting records for

 25     prepubertal boys and girls?                                    12:16:40

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  1           A   There are.

  2           Q   Like -- like, taking weights and -- and --

  3     and doing competition in weight lifting?

  4           A   There are.

  5           Q   Where?     Where -- where are those records?             12:16:51

  6     Are they published anywhere?

  7           A   I believe they are.      I'd have to -- I'd have

  8     to find them.

  9               MR. FRAMPTON:     Josh, we're -- we're over

 10     90 minutes.        I don't want to cut you off, if you             12:17:17

 11     want to finish something, but I think it is an

 12     appropriate time for a break sometime in the near

 13     future.

 14               MR. BLOCK:     Yeah, sure, we can take a break.

 15               Do you want to come back at -- how much time             12:17:31

 16     do you need?        Half an hour or 45 minutes?

 17               THE VIDEOGRAPHER:     Can we go off the record?

 18               MR. FRAMPTON:     Yeah, let's go off the record.

 19               Let's not do lunch at --

 20               THE VIDEOGRAPHER:     Hold on.      Hold on.   Hold      12:17:44

 21     on.

 22               MR. FRAMPTON:     Oh, I'm sorry.

 23               THE VIDEOGRAPHER:     Off the record at

 24     12:18 p.m.

 25               (Recess.)                                                12:27:58

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  1             THE VIDEOGRAPHER:     We are on the record at

  2     12:28, Central Time.

  3     BY MR. BLOCK:

  4         Q   Dr. Carlson, we've previously discussed that

  5     you're not an endocrinologist; right?                          12:28:28

  6         A   Correct.     I'm a board-certified sports

  7     medicine physician.

  8         Q   And you're not an expert in transgender

  9     medicine; right?

 10         A   I do not care for -- I do not run a clinic             12:28:40

 11     for transgender people, no.

 12         Q   Do you -- do you have any expertise in -- in

 13     the physiological changes that occur to a

 14     transgender person's body if they have puberty

 15     blockers followed by gender-affirming hormones?                12:29:07

 16             MR. FRAMPTON:     Object to the form.

 17             Go ahead.

 18             THE WITNESS:     I'm not a board-certified

 19     endocrinologist.      I know what I know based on review

 20     of the literature.                                             12:29:19

 21     BY MR. BLOCK:

 22         Q   All right.     So do you have any expertise to

 23     be an expert witness and offer an expert opinion on

 24     the physiological changes that occur when a

 25     transgender person has puberty blockers followed by            12:29:30

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  1     gender-affirming hormones?

  2             MR. FRAMPTON:    Object to the form.

  3             THE WITNESS:    As that touches on

  4     participation in sports, I am offering an opinion on

  5     the safety profile of transgender athletes crossing            12:29:52

  6     over into other -- to -- to a cisgender sport that

  7     they're -- into cisgender sports.

  8     BY MR. BLOCK:

  9         Q   That wasn't my question.

 10             Do you have any expert -- do you have any              12:30:10

 11     reasons for offering an expert opinion on what

 12     physiological changes occur to a person's body if

 13     they have puberty blockers followed by

 14     gender-affirming hormones?

 15             MR. FRAMPTON:    Object to the form.                   12:30:25

 16             THE WITNESS:    If you're asking if I can speak

 17     to the one study that I'm aware of that looks at

 18     that, then, yes, I -- I suppose I can speak to it.

 19     BY MR. BLOCK:

 20         Q   No.   So you're only aware of one study                12:30:43

 21     that -- that speaks to the physiological changes

 22     that occur when you have puberty blockers followed

 23     by gender-affirming hormones?

 24         A   In -- I've -- I've told you the study that

 25     I'm familiar with.                                             12:31:11

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  1           Q    All right.    So -- so you -- you've read a

  2     study by Klaver to prepare for this deposition.          And

  3     other than that, do you have any knowledge of the

  4     physiological changes that occur when someone has

  5     puberty blockers followed by gender-affirming                  12:31:22

  6     hormones?

  7           A    I'm not aware of other studies looking at

  8     what you're referencing.

  9           Q    Do you have any other form of knowledge about

 10     it?                                                            12:31:37

 11           A    About it being the physiologic changes

 12     associated with the use of puberty blockers?

 13           Q    Followed by gender-affirming hormones.

 14           A    I'm going to be careful what I say here

 15     because much of what I've written in that white                12:32:13

 16     paper speaks to the effect of gender-affirming

 17     hormone therapy.        So I want to parse that out from

 18     the issue of puberty blocker administration.

 19           Q    Are you still thinking about it?

 20           A    I thought I answered the question.                  12:33:39

 21           Q    No, I'm sorry, if you did, it didn't come

 22     out.      So I -- are you still thinking about it?

 23                What -- what was the answer to your

 24     question -- to my question?

 25           A    I said that I want to be careful how I parse        12:33:48

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  1     that because a lot of my -- the information in my

  2     white paper speaks to the impact on athletic

  3     performance of gender-affirming hormones, and I want

  4     to make sure that you're only speaking to puberty

  5     blockers specifically.                                         12:34:11

  6         Q   I'm speaking to puberty blockers followed by

  7     gender-affirming hormones, which is different from

  8     taking gender-affirming hormones after having

  9     already undergone puberty.

 10             And so my question, do you have any basis of           12:34:24

 11     knowledge, other than this paper that you recently

 12     read, about the physiological changes that occur

 13     when someone has puberty blockers followed by

 14     gender-affirming hormones?

 15             MR. TRYON:     Objection to form.                      12:34:42

 16             THE WITNESS:     That presupposes that, you

 17     know, the individuals that have transitioned, you

 18     know, in mid adolescence or what have you, weren't

 19     on pubertal blockers either.

 20             So I don't -- I -- I -- I'm not -- I'm not             12:35:00

 21     trying to be evasive.      I'm just trying to understand

 22     your question.     Because what I'm telling you is

 23     that -- that I believe that there's basis on -- in

 24     the literature that's available to say that

 25     individuals that get to the cusp of puberty have --            12:35:24

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  1     that there are measurable differences in performance

  2     that they bring with them and -- and that those

  3     differences are going to, in some way, equate to

  4     heightened risk.

  5     BY MR. BLOCK:                                                  12:35:42

  6         Q     And I'm asking you to --

  7         A     So -- and I get that you're -- you're trying

  8     to limit this conversation to the effect of pubertal

  9     blockers, and what I'm telling you is that if -- if

 10     you're going to -- you can't talk about that in a              12:35:56

 11     vacuum.     There's other differences once that

 12     individual jumps over into sports play with the

 13     opposite sex will come into view.

 14         Q     Do you have any expert basis -- do you have

 15     any basis for offering an expert opinion on what               12:36:15

 16     physiological differences are carried forward from

 17     having puberty blockers followed by gender-affirming

 18     hormones other than this article that you read

 19     recently?

 20         A     I don't believe that --                              12:36:31

 21               MR. FRAMPTON:    Objection --

 22               THE WITNESS:    -- that there are --

 23               MR. FRAMPTON:    -- to the form.

 24               Go ahead.   Go ahead.

 25               THE WITNESS:    To my knowledge, there are not       12:36:37

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  1     peer-reviewed studies looking at the effect of

  2     puberty blockers on performance.          So I don't -- I

  3     don't believe that that question can be answered.

  4     BY MR. BLOCK:

  5         Q    So you -- you've made an assertion about                12:36:48

  6     physiological differences being carried forward.            My

  7     question is whether you have any expert basis, of

  8     any kind, other than this article that you recently

  9     read, to testify about the effects of gen- -- of

 10     having puberty blockers followed by gender-affirming             12:37:09

 11     hormones on someone's physiology.

 12         A    You said --

 13              MR. TRYON:     Objection as to form.

 14              THE WITNESS:     -- performance.

 15              MR. TRYON:     Dr. Carlson --                           12:37:22

 16              THE WITNESS:     You said performance.

 17              MR. TRYON:     -- please -- Dr. Carlson, can you

 18     please just let me object first?          Thanks.

 19              Objection as to form.

 20              Go ahead.                                               12:37:29

 21              THE WITNESS:     You're using two different

 22     terms.    You -- you said performance earlier.

 23     BY MR. BLOCK:

 24         Q    Physiology.

 25              Do you have any expert basis of any kind to             12:37:34

                                                                     Page 150

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  1     offer an opinion on what physiological

  2     characteristics exist for someone who has had

  3     puberty blockers followed by gender-affirming

  4     hormones?

  5             MR. TRYON:     Same objection.                         12:37:50

  6             MR. FRAMPTON:     Same objection.

  7             THE WITNESS:     My opinion on physiology for

  8     puberty-blocking hormones would be limited to that

  9     paper, but my opinion with respect to performance, I

 10     believe, carries more weight because, to my                    12:38:06

 11     knowledge, there aren't studies looking at that

 12     question.

 13     BY MR. BLOCK:

 14         Q   But you don't have any basis for offering an

 15     expert opinion on performance of people who have had           12:38:24

 16     puberty blockers followed by gender-affirming

 17     hormones either because there's no studies of that;

 18     correct?

 19             MR. FRAMPTON:     Objection --

 20             THE WITNESS:     It cuts both ways.                    12:38:35

 21             MR. FRAMPTON:     -- to form.

 22     BY MR. BLOCK:

 23         Q   So -- but you don't have a -- fine.

 24             But answer my question.

 25             You don't have an expert basis for offering            12:38:43

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  1     an opinion on it one way or another; correct?

  2             MR. FRAMPTON:    Objection to the form.

  3             THE WITNESS:    The opinion on safety in

  4     athletes who are crossing over into other gender

  5     sports takes into account considerations that go               12:38:57

  6     well beyond what you're talking about, so I don't --

  7     I don't accept the assumptions of the question.

  8     BY MR. BLOCK:

  9         Q   My -- my question was do you have any basis

 10     for offering an expert opinion on performance                  12:39:19

 11     advantages for people who have had puberty blockers

 12     followed by gender-affirming hormones since there's

 13     no studies of that one way or the other.

 14             MR. FRAMPTON:    Objection to the form.

 15             THE WITNESS:    And what I have told you --            12:39:37

 16             Sorry.

 17             And what I have told you, I -- I thought,

 18     several times, is that those individuals come into

 19     puberty carrying categorical distinctions that are

 20     sex based that contribute to risk, regardless of               12:39:57

 21     whether or not they transition.

 22     BY MR. BLOCK:

 23         Q   But you have no expert basis for saying that

 24     they carry it through puberty and transition.

 25     You -- you're are offering an opinion about what               12:40:08

                                                                   Page 152

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  1     happens before puberty and transition, but there's

  2     no studies at all about, you know, what happens

  3     after transition.      That's just something that you're

  4     saying, but there's no studies about it; correct?

  5         A   Well, again --                                         12:40:21

  6             MR. FRAMPTON:     Objection to the form.

  7             Go ahead and answer.

  8             THE WITNESS:     Again, I've said many times

  9     that there are not published studies looking at

 10     performance in the individuals that you're                     12:40:33

 11     describing once they've transitioned through

 12     puberty.

 13     BY MR. BLOCK:

 14         Q   Does sex-determined pubertal skeletal growth

 15     and maturation have an effect on -- on the safety of           12:41:34

 16     allowing an athlete to compete?

 17         A   In the assumptions I'm making, it's not key.

 18         Q   It's not.

 19             Well, let's go to -- to page -- I'll come

 20     back to it.                                                    12:41:53

 21             Do -- does bone length have a -- does bone

 22     size have an effect on muscle size?

 23         A   Does bone size have an effect on muscle size?

 24         Q   Yes.    Does the -- does the size of someone's

 25     bones affect how, like, much muscle mass they can              12:42:42

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  1     put on those bones?

  2         A   There is an association there.

  3         Q   It's just an association?

  4         A   They play against each other.          Large muscle

  5     mass creates greater bone mineralization too, just               12:43:05

  6     from the tug of the muscles on bones.           So there's an

  7     association, yes.

  8         Q   Let's go to page?     Page 1 of your report.

  9         A   Which report are we talking about?

 10         Q   Your -- your February report.                            12:43:34

 11         A   Okay.

 12         Q   The final sentence of this first paragraph,

 13     you say (as read):

 14             "And in fact, biologically male

 15             transgender athletes have competed                       12:43:53

 16             in a wide range of high school,

 17             collegiate, and professional girls'

 18             or women's sports, including, at

 19             least, basketball, soccer,

 20             volleyball, softball, lacrosse, and                      12:44:01

 21             even women's tackle football."

 22             Correct?

 23         A   That's what that says.

 24         Q   Okay.   Are you aware of any injuries

 25     resulting from their participation in those sports?              12:44:11

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  1         A   I'm not -- I'm not --

  2             MR. BLOCK:     I think Mr. Carlson froze.

  3             THE VIDEOGRAPHER:     Yeah, just -- we should

  4     pause a sec.

  5             (Technical issues.)                                     12:44:32

  6             THE WITNESS:     Because it's not adequately --

  7             Sorry, I don't know if it's when I go to look

  8     at the document or what, but -- can you see me now?

  9     BY MR. BLOCK:

 10         Q   You'll have to answer that again.                       12:44:39

 11             So are you aware of any injuries that have

 12     resulted from the participation of those transgender

 13     athletes?

 14         A   This issue is inadequately tracked, so no,

 15     I'm not aware.                                                  12:44:57

 16         Q   Okay.

 17         A   Well, actually, that's not true.

 18             Rephrase your question.        I want to make sure

 19     I'm understanding it.

 20         Q   You wrote that (as read):                               12:45:08

 21             "In fact, biologically male

 22             transgender athletes have competed

 23             in a wide range of high school,

 24             collegiate, and professional girls'

 25             or women's sports, including, at                        12:45:15

                                                                     Page 155

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  1             least, basketball, soccer,

  2             volleyball, softball, lacrosse, and

  3             even women's tackle football."

  4             And my question is, are you aware of any

  5     injuries that resulted from the participation of               12:45:25

  6     transgender girls and women in those sports?

  7         A   And so my answer would be that's not

  8     adequately tracked, and so no, I'm not familiar.

  9         Q   Are you aware of any evidence that the

 10     participation of transgender women in these events             12:45:40

 11     actually has increased the frequency and severity of

 12     injury suffered by such gender female athletes?

 13         A   You're speaking to those sports listed?

 14         Q   Yes.

 15         A   Again, it's inadequately tracked, so I'm not           12:46:01

 16     familiar.

 17         Q   And let's go to paragraph 47 of that

 18     document, the same document.        Page 27, paragraph 47.

 19         A   Page 27, you said?

 20         Q   Yeah.   In paragraph 47, at the bottom.                12:46:29

 21         A   Okay.

 22         Q   It says (as read):

 23             "In 2014, a male mixed-martial art

 24             fighter identifying as female and

 25             fighting under the name Fallon Fox                     12:46:40

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  1             fought a woman named Tamikka Brents,

  2             and caused significant facial

  3             injuries in the course of their

  4             bout."

  5             And then if you continue going -- this --              12:46:51

  6     this quote that you have in, you know, indentation

  7     has a footnote 15.

  8             Do you see that?

  9         A   I do.

 10         Q   Okay.    And the -- the website that that              12:47:04

 11     quotes to -- that that footnote goes to is

 12     bjj-world.com/transgender.mma-fighter-fallon-fox-

 13     breaks-skull-of-her-female-opponent; is that right?

 14         A   That's what I see, yes.

 15         Q   Okay.    Did Fallon Fox actually break the             12:47:28

 16     skull of her opponent?

 17         A   Well, I don't believe that -- I don't believe

 18     that he did, no.

 19         Q   What -- what -- what --

 20         A   I didn't make that claim.        That's a link to a    12:47:40

 21     website page that just references to the event,

 22     so...

 23         Q   Right.    So what -- actually, the -- the

 24     injury that actually was sustained was an orbital

 25     fracture; correct?                                             12:47:52

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  1         A    Yeah, it was a facial fracture.

  2         Q    Okay.     And do you know how common orbital

  3     fractures are in MMA events?

  4         A    I -- I couldn't give you a specific --

  5     incidents, no.                                                  12:48:08

  6         Q    No.

  7              So -- so you don't know the rates of -- of

  8     orbital fractures, you know, among cisgender MMA

  9     competitors fighting each other; correct?

 10         A    No, I could give not give you that statistic.          12:48:18

 11     I -- I -- I don't recall it.

 12         Q    Do you know who the plaintiff is in this

 13     case?

 14         A    I -- I do not know who the plaintiff is.        I

 15     know of -- the initials of the plaintiff.                       12:48:44

 16         Q    Okay.     Do you know how old the plaintiff is?

 17         A    I -- I actually couldn't tell you that.

 18         Q    Okay.     Do you know what sports the plaintiff

 19     plays?

 20         A    I believe the plaintiff is a runner, but I'm           12:48:53

 21     not sure.

 22         Q    Do you know how the plain- -- do you know how

 23     the plaintiff has scored in physical fitness tests?

 24         A    No.     I have no idea about the specifics of

 25     this case.                                                      12:49:11

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  1         Q   Okay.    Do you know if, you know, whatever

  2     things you were referring to before, about, you

  3     know, skills, you know, acquired of preper --

  4     prepubertal boys, do you -- do you know anything

  5     about whether the plaintiff, you know, has any of              12:49:26

  6     those skills?

  7         A   I don't.    And I believe that -- I told you

  8     that I -- I don't -- I'm not familiar with the

  9     particulars of your plaintiff.         And to the extent

 10     that -- you know, this -- this is a -- I'm familiar            12:49:45

 11     with the -- I -- I'm under the impression that the

 12     law that's being challenged -- I'm -- I'm not

 13     familiar with the particulars of this case.

 14         Q   Do you know how much lean body mass the

 15     plaintiff has?                                                 12:50:10

 16         A   I do not know how much lean body mass the

 17     plaintiff has.

 18         Q   Do you know if the plaintiff in this case has

 19     any physiological characteristics that would impact

 20     safety that are different than the physiological               12:50:25

 21     characteristics of a cisgender girl?

 22         A   I do not.

 23             MR. FRAMPTON:    Object to the form.

 24     BY MR. BLOCK:

 25         Q   Sorry, could -- could I hear the answer --             12:50:36

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  1             MR. FRAMPTON:     That was probably garbled, but

  2     I object to the form.

  3             Go ahead and answer the question.

  4             THE WITNESS:    I do not.

  5     BY MR. BLOCK:                                                  12:50:44

  6         Q   Do you know whether the participation of this

  7     plaintiff in sports would pose any more of a safety

  8     risk than the participation of any other cisgender

  9     girl in sports?

 10             MR. FRAMPTON:     Object to the form.                  12:51:02

 11             THE WITNESS:    Because I don't know the

 12     particulars of this person, I certainly could not

 13     speak to that.

 14     BY MR. BLOCK:

 15         Q   Are you providing an -- expert testimony at            12:51:15

 16     all regarding safety risks from cross-country?

 17         A   I was asked to provide a report on safety

 18     risks as relates to participation in -- of athletes

 19     in contact in collision sports, but that's

 20     defined -- the -- the nature of that is defined                12:51:42

 21     within my paper.

 22         Q   Okay.    So it does not -- so contact and

 23     collision sports does not include cross-country;

 24     correct?

 25         A   That's correct.                                        12:51:52

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  1         Q   And contact and collision sports doesn't

  2     include track and field; correct?

  3         A   Correct.

  4         Q   Okay.   Do you -- would it be fair to say that

  5     the effects of male-to-female hormones on important            12:52:27

  6     determinants of athletic performance still remain

  7     largely unknown?

  8         A   I -- I -- I didn't hear -- the effects of

  9     male and female hormones on what?

 10         Q   On determinants of athletic performance                12:52:42

 11     remain largely unknown.

 12             MR. FRAMPTON:    Object to the form.

 13             Go ahead.

 14             THE WITNESS:    What do you mean by "largely

 15     unknown"?                                                      12:52:52

 16     BY MR. BLOCK:

 17         Q   I don't know.    Do you think it's a fair

 18     statement, that they remain largely unknown?

 19             MR. FRAMPTON:    Object to the form.

 20             THE WITNESS:    I think that there's good              12:53:04

 21     evidence that testosterone has a significant impact

 22     on performance.

 23     BY MR. BLOCK:

 24         Q   But do you think the effects of lowering

 25     circulating testosterone on athletic performance               12:53:17

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  1     remains largely unknown?

  2             MR. FRAMPTON:     Same objection.

  3             THE WITNESS:     I wouldn't say largely unknown.

  4     I'd say it's evolving and we've learned a lot over

  5     the last few years.                                            12:53:33

  6     BY MR. BLOCK:

  7         Q   Has there been any controlled research

  8     evaluating how lowering circulating testosterone

  9     influences aerobic or resistance training?

 10         A   There is -- there is a study on Air Force              12:53:45

 11     cadets answering that question.

 12         Q   Has there been any study of the effects of

 13     lowering circulating testosterone on bench presses

 14     or leg presses or squats or dead lifts?

 15             MR. FRAMPTON:     Object to form.                      12:54:20

 16             THE WITNESS:     I believe that those studies --

 17     there are studies looking at the effect of

 18     testosterone on things like punching power and...

 19     BY MR. BLOCK:

 20         Q   Anything else?                                         12:54:56

 21         A   There -- there are -- there are studies

 22     looking at -- I'm sorry, say the question one more

 23     time.

 24         Q   Sure.   Are there studies looking at the

 25     effects of lowering circulating testosterone on                12:55:12

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  1     muscle strength in standard lifts, like bench press,

  2     leg press, squats, dead lifts?

  3             MR. FRAMPTON:    Objection to the form.

  4             Go ahead.

  5             THE WITNESS:    I believe that there are               12:55:29

  6     studies looking at the effect of testosterone

  7     reduction on...

  8     BY MR. BLOCK:

  9         Q   I'm sorry, did you finish answering the

 10     question?                                                      12:56:09

 11         A   Are you talking about in transgender

 12     athletes, or are you talking about transgender

 13     individuals as a whole?

 14         Q   Either one.

 15         A   There -- there are -- there are studies                12:56:28

 16     looking at the effect of transition on loss of

 17     muscle mass, and there are studies looking at

 18     proxies for upper body strength, like grip strength,

 19     and there are studies looking at proxies for

 20     punching power.                                                12:56:57

 21         Q   But their -- their studies are looking at

 22     proxies for those things as opposed to measuring

 23     muscle -- muscle strength, you know, through bench

 24     presses, leg presses, squats or other traditional

 25     measurements of strength; correct?                             12:57:14

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  1               MR. FRAMPTON:     Objection to the form.

  2               THE WITNESS:     Well, you -- I mean, you -- you

  3     began this by speaking of -- well, I told you that

  4     there was a study on Air Force cadets and part of

  5     that was push-up.        So that's a -- and -- and these       12:57:26

  6     are -- these proxies are accepted proxies for what

  7     we're talking about, so...

  8     BY MR. BLOCK:

  9         Q     So I -- just the answer to my question --

 10         A     The answer to your question is -- is that            12:57:41

 11     there have been studies looking at the effect of

 12     testosterone suppression in transgender individuals

 13     on measures of strength and power, lean mass.

 14         Q     On -- on proxies for those things; correct?

 15         A     Yes.    Accepted proxies.      Noncontroversial      12:58:03

 16     proxies.

 17         Q     So in -- let's look at paragraph 90 of your

 18     report.

 19         A     Okay.

 20         Q     Paragraph 90 says (as read):                         12:58:43

 21               "In addition, multiple studies have

 22               found that testosterone suppression

 23               may modestly reduce, but not does

 24               not come close to eliminating the

 25               male advantage in muscle mass and                    12:58:56

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  1             lean body mass, which together

  2             contribute to the greater average

  3             male weight.    Researches looking at

  4             transitioning adolescents found that

  5             the weight of biological male                           12:59:05

  6             subjects increased rather than

  7             decreased after treatment with an

  8             antiandrogen testosterone

  9             suppressor."

 10             Did I read that right?                                  12:59:15

 11         A   Yes.

 12         Q   Okay.   So -- and then you cite to a study by

 13     Tack in 2018; correct?

 14         A   Correct.

 15         Q   Okay.   So did the Tack study find that after           12:59:30

 16     taking antiandrogen testosterone suppressor, the

 17     transgender subjects's muscle mass and lean body

 18     mass increased?

 19         A   I believe that the Tack study looked at

 20     several things, one of which was grip strength, and             12:59:58

 21     found that grip strength did not decrease.

 22         Q   So that's not my question.         My question is,

 23     did the Tack study find that muscle mass and lean

 24     body mass increased?

 25         A   I believe that muscle mass helps stabl- --              01:00:18

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  1     I'd have to go back and look at that.

  2             Can I see my report?

  3         Q   Your report is there --

  4         A   I'm sorry, I -- I'd have to go back and --

  5     and -- and reference that, but --                              01:00:42

  6         Q   Okay.   Well --

  7         A   I can't recall.

  8         Q   Okay.   So this first sentence in paragraph 90

  9     talks about how testosterone suppression doesn't

 10     come close to eliminating the male advantage in                01:00:52

 11     muscle mass and lean body mass; correct?

 12             That's what the first sentence talks about?

 13         A   Correct.

 14         Q   All right.     And the second sentence says that

 15     the Tack study found that the weight of biological             01:01:06

 16     male subjects increased rather than decreased;

 17     correct?

 18         A   Correct.

 19         Q   So is it a fair inference from the first

 20     sentence, followed by the second sentence, that                01:01:21

 21     you're implying here that what increases was muscle

 22     mass and lean body mass?

 23             MR. FRAMPTON:      Objection --

 24             THE WITNESS:      No --

 25             MR. FRAMPTON:      -- to the form.                     01:01:32

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  1             Go ahead.

  2             THE WITNESS:    No, I'm not trying to imply

  3     that.

  4     BY MR. BLOCK:

  5         Q   You're not trying to imply that.                          01:01:38

  6             So then why is it relevant that the weight

  7     increased?

  8         A   Well, lean body mass -- where lean body mass

  9     settles is relevant.     That's one thing.          But overall

 10     weight of the individual, again, within an injury                 01:01:58

 11     model, matters, too.

 12         Q   Sure.   But in this paragraph -- so the first

 13     sentence discusses muscle mass and lean body mass;

 14     correct?

 15         A   Correct.                                                  01:02:11

 16         Q   And then the second sentence mentions the

 17     Tack study; correct?

 18         A   Well, I -- I would say that the first

 19     sentence speaks to the advantage in muscle mass and

 20     lean body mass, and then it references to average                 01:02:24

 21     male weight.    So all three are referenced there.

 22         Q   Okay.   And the second sentence talks about

 23     the Tack study; correct?

 24         A   Correct.

 25         Q   And then the third sentence talks about a                 01:02:35

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  1     Harper study and talks about their lean body mass

  2     and muscle area; correct?

  3         A   That -- that is a -- the Harper references to

  4     a -- a review paper.

  5         Q   Okay.   But the --                                      01:03:03

  6         A   So -- yeah, so I'd have to go back and look

  7     at that review paper to see what the original

  8     citation is that that's referencing.

  9         Q   Sure.   But in your paragraph 90, the first

 10     sentence, the third sentence and the fourth sentence            01:03:23

 11     refer to muscle mass or muscle area or lean body

 12     mass; right?

 13             MR. FRAMPTON:    Objection to the form.

 14             Go ahead.

 15             THE WITNESS:    Which sentences again?                  01:03:41

 16     BY MR. BLOCK:

 17         Q   The first, the third and the fourth.

 18         A   The first sentence refers to muscle mass,

 19     lean body mass and -- and average weight.           The third

 20     references lean body mass and muscle area.                      01:04:01

 21             And you said the fourth?

 22         Q   Yep.

 23         A   References muscle area.

 24         Q   Do any of those sentences reference fat?

 25         A   Well, they do indirectly, when you're                   01:04:27

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  1     referring to lean body mass and shifts in lean body

  2     mass.

  3         Q     Do they do -- do they do directly, reference

  4     fat?

  5               MR. FRAMPTON:     Object to the form.                    01:04:47

  6               Go ahead.

  7               THE WITNESS:     They do not directly.      They do

  8     indirectly.

  9               MR. BLOCK:     So if you look in your exhibit

 10     folder, I'm going to mark this Exhibit 83.            It           01:04:56

 11     should soon appear.

 12               (Exhibit 83 was marked for identification

 13              by the court reporter and is attached hereto.)

 14     BY MR. BLOCK:

 15         Q     Let me know when it's up.                                01:05:16

 16         A     It's up.     I'm just looking to see if I can

 17     zoom this.        Right here.

 18               Okay.

 19         Q     Is -- is this the Tack study that you're

 20     referring to?                                                      01:05:37

 21         A     Yes.

 22         Q     Okay.     If you can turn to page 2151 of the

 23     study.

 24         A     Okay.

 25         Q     Okay.     If you look in the second -- in the            01:06:07

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  1     right column, you know, the first full paragraph,

  2     it -- it says (as read):

  3             "Trans girls treated with CA showed

  4             a significant increase in fat mass

  5             (Figure 1D) and decrease in lean                       01:06:22

  6             mass (Figure 1C), resulting in an

  7             increased body fat percentage,

  8             without changes in total mass."

  9             Did I read that right?

 10         A   Yes.                                                   01:06:34

 11         Q   Okay.     So according to the summary, was there

 12     actually an increase in -- in total mass for these

 13     trans girls?

 14             MR. FRAMPTON:     Object to the form.

 15             Go ahead.                                              01:07:04

 16             THE WITNESS:     Can I have a minute to look at

 17     this paper?

 18     BY MR. BLOCK:

 19         Q   Yeah, sure.

 20         A   Thanks.                                                01:07:17

 21             Reference weight before hormonal therapy

 22     averaged 63.7 kilograms; afterwards, averaged

 23     66.3 kilograms.

 24         Q   So what do you interpret to be the -- what --

 25     what do you think -- what do you interpret the                 01:08:34

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  1     sentence we just read to refer to when it says

  2     "without changes in total mass"?

  3         A   That's speaking to a shift in -- you -- you

  4     are correct that there is no change in body weight

  5     associated with that statement.                                01:09:21

  6         Q   Okay.     And so this -- did this study find

  7     that -- that muscle mass in the transgender girls

  8     actually increased?

  9         A   Well, one of the -- the changes in lean body

 10     mass in this study were negative.                              01:10:36

 11         Q   Okay.     The study --

 12         A   But we don't know where they settled compared

 13     to a cisgender population because it wasn't

 14     analyzed.

 15         Q   Okay.                                                  01:10:51

 16         A   We do know that grip strength didn't change.

 17         Q   How -- is increase in fat generally

 18     associated with enhanced athletic performance?

 19         A   In the conte- -- it can be with -- as a --

 20     energy stored, but in the context of this, no.                 01:11:24

 21         Q   Okay.     On grip strength -- let's look further

 22     down in that paragraph we were reading from, on page

 23     2151.

 24         A   Uh-huh.

 25         Q   So this is the -- the beginning of the final           01:11:38

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  1     sentence.

  2             Do you see that?

  3         A   Yes, I do.

  4         Q   So it says (as read):

  5             No significant changes in grip                         01:11:47

  6             strength were observed in trans

  7             girls during the study period,

  8             resulting in decreased Z scores

  9             compared with the -- compared with

 10             age-matched peers of the same gender                   01:11:57

 11             recorded at birth.

 12             Do you see that?

 13         A   I do.

 14         Q   What does that mean, by negative Z scores?

 15         A   That's a comparison of your score to                   01:12:04

 16     age-matched norms.

 17         Q   Okay.   So in -- in context, does this mean

 18     that compared to -- that the cisgender boys that

 19     these subjects are being compared to continue to

 20     increase their grip strength while the grip strength           01:12:27

 21     of the transgender girls remained flat?

 22         A   Yes, that's accurate.

 23         Q   Okay.   So the -- the use -- suppressing

 24     testosterone had an effect on the ability to

 25     increase grip strength; correct?                               01:12:47

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  1             MR. FRAMPTON:     Object to the form.

  2             THE WITNESS:     In this case, yes.

  3     BY MR. BLOCK:

  4         Q   Okay.     If we can go to page 55, bottom of

  5     paragraph 95.                                                  01:13:13

  6         A   Are we back on my report?

  7         Q   Yeah, we are.     Thanks.

  8         A   Page 55, paragraph what?

  9         Q   95.     So the -- the -- the bottom half of the

 10     paragraph that's, you know, continuing.                        01:13:37

 11         A   Okay.

 12         Q   So -- so let's go just from the middle of

 13     that paragraph.

 14             Do you see "the important point to make"?        Do

 15     you see where you write that?                                  01:13:53

 16         A   I do.

 17         Q   Okay.     So you write (as read):

 18             "The important point to make is that

 19             the only effect strength training

 20             could have on these athletes is to                     01:13:59

 21             counteract and reduce the limited

 22             loss of muscle mass and strength

 23             that does otherwise occur to some

 24             extent over time with testosterone

 25             blockade.     There has been at least                  01:14:10

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  1             one study that illustrates this,

  2             although only over a short period,

  3             measuring strength during a

  4             twelve-week period where

  5             testosterone was suppressed to                              01:14:19

  6             levels of 2 nmol/L.      During that

  7             time, subjects actually increased

  8             leg lean mass by 4% and total lean

  9             mass by 2%, and subject performance

 10             on the 10 rep max leg press improved                        01:14:31

 11             by 32%, while their bench press

 12             performance improved by 17%."

 13             And you cite to -- to Kvorning, K-V-O-R-N-I

 14     N-G, 2006; right?

 15         A   Correct.                                                    01:14:47

 16         Q   Okay.   So do you -- do you recall what this

 17     study -- this Kvorning study was analyzing?

 18         A   I believe that it was analyzing

 19     non-transgender subjects who were -- (technical

 20     difficulty).                                                        01:15:18

 21             MR. FRAMPTON:     Sorry, he did answer --

 22             THE WITNESS:     Did you hear me?

 23             MR. FRAMPTON:     -- the question.          Did it not

 24     come through?

 25             MR. BLOCK:     It didn't come through.                      01:15:22

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  1              MR. FRAMPTON:     I'm sorry.

  2              Answer it again.

  3              THE WITNESS:     I -- I said I believed that it

  4     refers to non-transgender subjects who underwent

  5     hormonal suppression.                                          01:15:30

  6     BY MR. BLOCK:

  7         Q    Okay.   And are -- does it -- are those

  8     non-tran- -- are those non-transgender subjects

  9     compared to a -- a different group, a control group

 10     of any kind?                                                   01:15:39

 11         A    I -- I don't recall.        I'd have to go back and

 12     look.

 13         Q    Okay.   Let's do that.       I -- I have it already

 14     for you.

 15              MR. FRAMPTON:     Sorry, I'm just going to tilt       01:15:59

 16     his screen a little bit.       It looks like his chin is

 17     getting cut off.      I can't tell if that's just on my

 18     screen or -- or not.

 19              MR. BLOCK:     No, it's -- it's on -- it's on

 20     mine, too.                                                     01:16:09

 21              MR. FRAMPTON:     Okay.

 22              MR. BLOCK:     Thank you.

 23              (Exhibit 84 was marked for identification

 24             by the court reporter and is attached hereto.)

 25              MR. BLOCK:     So popping up in your exhibit          01:16:16

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  1     files should be a -- a document marked Exhibit 84.

  2             THE WITNESS:    Okay.

  3     BY MR. BLOCK:

  4         Q   Let me know when it's there.

  5         A   I have it.                                                   01:16:36

  6         Q   Okay.   Okay.   And so this document is titled

  7     "Suppression of endogenous testosterone production

  8     attenuates the response to strength training: a

  9     randomized, placebo-controlled, and blinded

 10     intervention study."                                                 01:16:55

 11             Did I read that right?

 12         A   You did.

 13         Q   And this is the study you were citing to;

 14     correct?

 15         A   Correct.                                                     01:17:01

 16         Q   And, you know, randomized,

 17     placebo-controlled, and blinded is pretty much

 18     the -- the best a study can be, right?              That's, you

 19     know, the gold standard, isn't it?

 20             MR. FRAMPTON:    Object to the form.                         01:17:11

 21             Go ahead.

 22             THE WITNESS:    Well, yeah, double blinded

 23     would be the gold standard, but yes.

 24     BY MR. BLOCK:

 25         Q   Good point.                                                  01:17:18

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  1              And so just reading from the -- the abstract

  2     a little bit, if you go, you know, five lines down

  3     from the abstract, it says (as read):

  4              "We hypothesized that suppression of

  5              endogenous testosterone would                         01:17:31

  6              inhibit the adaptations to strength

  7              training in otherwise healthy men."

  8              Right?

  9         A    Right.

 10         Q    And so tell me if my description of what              01:17:47

 11     happened is right.      You know, they -- they took two

 12     groups of, you know, cisgender men, and for one

 13     group, they suppressed their testosterone, and then

 14     they had both groups undergo a strength-training

 15     period of eight weeks; is that right?                          01:18:07

 16         A    Correct.

 17         Q    Okay.    And then they compared the two groups;

 18     right?

 19              Is that right?

 20         A    I -- I want to make sure I'm answering you            01:18:27

 21     correctly, so give me a minute.

 22         Q    Fair.    I just wanted to make sure.

 23         A    Yeah, so -- just so that I'm clear, can you

 24     restate your question again?

 25         Q    Yeah.    So, you know, after having the two           01:19:14

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  1     groups undergo this period of strength training,

  2     they then compared the results of the two groups;

  3     right?

  4         A    Yes.

  5         Q    Okay.    If we can just look at -- if we can          01:19:29

  6     just look at page E1329.      Let me know when you're

  7     there.

  8         A    Go ahead.

  9         Q    Okay.    So if you look at the paragraph

 10     beginning -- so the final paragraph on this page, on           01:20:08

 11     1329, it says (as read):

 12              "The placebo group adapted to the

 13              strength training period by

 14              significantly larger increases in

 15              both lean leg mass and isometric                      01:20:18

 16              strength.    Although those in the

 17              goserelin group were able to have

 18              the same progression in training

 19              load as those in the placebo group,

 20              they did not gain muscle mass or                      01:20:31

 21              increased isometric strength in the

 22              laboratory test."

 23              Right?

 24         A    That's what that says.

 25         Q    Okay.    And then if we can just go to the --         01:20:38

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  1     well, let's just -- I'll ask you questions about

  2     that.

  3             So the -- the -- tell me if I'm wrong about

  4     this, but the study, you know, seems to support an

  5     argument that reducing circulating testosterone                01:20:55

  6     affects a biological male's ability to increase

  7     muscle mass and strength.       Is that a fair -- in

  8     response to training.     Is that a fair statement?

  9             MR. FRAMPTON:    Object to the form.

 10             Go ahead.                                              01:21:18

 11             THE WITNESS:    I would say that it -- it does

 12     show that the effects -- that it does affect the

 13     ability to improve strength training, yes.

 14     BY MR. BLOCK:

 15         Q   And so when -- when athletes --                        01:21:33

 16         A   I would say affects, not eliminate, but...

 17         Q   Okay.   When -- when athletes train for

 18     athletic competitions, they engage in new strength

 19     training; right?

 20         A   Depending on the sport, yes.                           01:21:55

 21         Q   Okay.   So is it -- so -- yeah, I understand

 22     that -- you know, that your report talks about the

 23     ability of suppressing testosterone to reduce muscle

 24     and strength that's already been acquired, but does

 25     your report address the effects of lowering                    01:22:17

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  1     testosterone on the ability of someone to build new

  2     strength and muscle?

  3             MR. FRAMPTON:     Object to the form.

  4             THE WITNESS:    Yeah, can I go back to my

  5     report to answer that?                                         01:22:32

  6     BY MR. BLOCK:

  7         Q   Yes, sure.

  8         A   I'm back on page 55, if you want to go there.

  9         Q   Of your report?

 10         A   Yes.    Where -- where you started.                    01:23:02

 11         Q   Yeah.

 12         A   So -- and I'm sorry, restate your question

 13     one more time.

 14         Q   Sure.    Does your report address the effects

 15     of suppressing testosterone on an -- on an athlete's           01:23:16

 16     ability to -- to acquire new increases in mass and

 17     strength?

 18             MR. FRAMPTON:     Objection to the form.

 19             Go ahead.

 20             THE WITNESS:    I think it speaks to it here.          01:23:31

 21     It doesn't speak to the degree to which it affects

 22     it, but it -- what this study says is that gains are

 23     feasible.

 24     BY MR. BLOCK:

 25         Q   Sure.    Does -- does this study compare the           01:23:46

                                                                   Page 180

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  1     amount of gains that a cisgender man who's lowered

  2     testosterone would have to the gains that a

  3     cisgender woman would have?

  4         A     No, the study looked at men.

  5         Q     All right.   So we -- we don't really have a         01:24:04

  6     basis to -- to know one way or the other whether a

  7     cisgender woman receiving the same strength training

  8     would have increases in -- in muscle mass that are

  9     greater or less than the increases that the

 10     cisgender men who lowered testosterone had; right?             01:24:27

 11         A     Well, I think what's relevant to the

 12     discussion is that a cisgender male can enter into a

 13     strength training program at the time that hormonal

 14     therapy has started.

 15               That male, in many cases, will already have          01:24:43

 16     retained differences in lean muscle mass and

 17     strength when comparing to a cisgender female

 18     population.

 19               And rather than come in -- (technical

 20     difficulty) -- they have the capability of coming in           01:24:58

 21     higher.

 22               So I think that's the relevant comparison.

 23         Q     And you said in many cases they would have

 24     muscle mass that's greater than the cisgender

 25     female, but if they don't already have that muscle             01:25:06

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  1     mass, then they will have a harder time acquiring it

  2     than they otherwise would have had; right?

  3             MR. FRAMPTON:     Objection --

  4             THE WITNESS:    I didn't say that.

  5             MR. FRAMPTON:     -- to the form.                      01:25:20

  6             Go ahead.

  7     BY MR. BLOCK:

  8         Q   I'm saying that.     I'm asking that.

  9             You know, you said that in many cases, a -- a

 10     cisgen- -- a transgender girl will have entered into           01:25:27

 11     a tournament already having acquired certain muscle

 12     mass.

 13             And so my question is about, you know, people

 14     who lowered testosterone, you know, before, you

 15     know, acquiring any muscle mass and the effects that           01:25:48

 16     lowering testosterone would have on their ability to

 17     acquire it.

 18         A   That doesn't --

 19             MR. FRAMPTON:     Objection to the form.

 20             THE WITNESS:    -- have anything to do with            01:25:59

 21     what we're talking about.       We're talking about --

 22     you brought up the issue of whether or not

 23     individuals who enter into a strength-training

 24     program at the time that they are starting hormonal

 25     therapy gain ground or not.                                    01:26:12

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  1             And that study showed that -- that you can

  2     gain ground, and it was done in a male population,

  3     the applicably of -- applicability of which, to this

  4     conversation, is that those males can then, in turn,

  5     cross over into a female sport when they now have              01:26:27

  6     greater lean muscle mass than they had before they

  7     started, and they already had a retained advantage.

  8             I'm not sure --

  9     BY MR. BLOCK:

 10         Q   The study is about cisgender men who have              01:26:44

 11     already completed puberty; right?

 12         A   Again, I would have to go back and look at

 13     the age range of the study, but I believe that

 14     that's true.

 15         Q   All right.     So transgender girls who                01:26:55

 16     transition before completing puberty will not have

 17     the same amount of muscle mass as a cisgender man

 18     who has completed puberty; right?

 19             MR. FRAMPTON:     Object to the form.

 20             THE WITNESS:     Say -- say that one more time.        01:27:14

 21     BY MR. BLOCK:

 22         Q   Do people --

 23         A   Transgender girls who have not -- what did

 24     you say?

 25         Q   Who have not completed puberty do not have             01:27:20

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  1     the same amount of muscle mass as cisgender men who

  2     have completed puberty; right?

  3           A   I'll grant you that.     Yes, that's true.

  4           Q   Okay.   So lowering testosterone, according to

  5     the study, has an effect on their ability to                       01:27:34

  6     accumulate new muscle mass; right?

  7           A   Well, you -- you left that study.          We're no

  8     longer talking about that study.          I can't speak to

  9     the applicability of that study on the scenario that

 10     you just gave.       They're two different things.                 01:27:53

 11           Q   Okay.   So you -- you can't -- you can't speak

 12     to the applicability of studies on the effects of

 13     lowering circulating testos- -- circulating

 14     testosterone on transgender girls who have not

 15     completed puberty?                                                 01:28:07

 16           A   That's not what I said.       I said I can't speak

 17     to the applicability of the study you raised to the

 18     scenario that you then went to.

 19           Q   Why not?

 20           A   Because this study is looking at the effects             01:28:17

 21     of strength training in men who are transitioning.

 22           Q   So why is it relevant to this report?

 23           A   This report, what do you mean?

 24               MR. FRAMPTON:    Object to the form.

 25     ///

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  1     BY MR. BLOCK:

  2         Q   I mean, you're -- you're discussing the study

  3     because it has -- you think it has some relevance to

  4     the participation of transgender women; right?

  5         A   Yes.    I spoke to that already.                          01:28:52

  6         Q   Okay.    Do you think it has relevance only to

  7     the participation of transgender women who have

  8     completed puberty, or does it also have relevance to

  9     the participation of transgender women who received

 10     puberty blockers or hormones before completing                    01:29:04

 11     puberty?

 12             MR. FRAMPTON:    Object to the form.

 13             THE WITNESS:    The -- the study wasn't

 14     designed to look to that group, so I have no way to

 15     speak to that.     And that study hasn't -- and that              01:29:16

 16     has not been looked at.

 17     BY MR. BLOCK:

 18         Q   So -- so you don't think it's relevant to the

 19     participation of transgender girls and women who

 20     have not completed puberty; right?                                01:29:24

 21             MR. FRAMPTON:    Object to the form.

 22             THE WITNESS:    I didn't say that.          You did.

 23     BY MR. BLOCK:

 24         Q   So -- so is it -- is it relevant or isn't it,

 25     to -- to girls -- participation of girls and women                01:29:32

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  1     who are transgender who have not completed puberty?

  2         A   So --

  3             MR. FRAMPTON:     Same objection.

  4             THE WITNESS:     -- I'm a little bit

  5     uncomfortable with the assumptions that I've got to             01:29:43

  6     make to answer that question, but to step out of

  7     what you're saying and say in theory, is this study

  8     applicable to prepubertal kids who are entered into

  9     a strength-training program at the time that they

 10     start hormonal manipulation, possibly.                          01:30:03

 11             MR. FRAMPTON:     We're at -- we're at 1:30

 12     here.   I think that we probably would like to do a

 13     lunch break sometime soon, but I'm not -- I'm not

 14     telling you you've got to do that now, by any

 15     stretch, if you were trying to complete a line of               01:30:28

 16     questioning or something.

 17             MR. BLOCK:     Yeah -- yeah, I would.       Just give

 18     me ten more minutes, and then we can take a break.

 19             MR. FRAMPTON:     Yeah.

 20             MR. BLOCK:     Is that okay with you,                   01:30:40

 21     Dr. Carlson?

 22             THE WITNESS:     Yeah, that's fine.

 23             Can I have 30 seconds just to pop some food

 24     in my mouth?    Is that all right?

 25             MR. BLOCK:     Sure.   Can we go off the record         01:30:49

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  1     for 30 seconds?

  2             THE VIDEOGRAPHER:       We are off the record at

  3     1:31 p.m.

  4             (Recess.)

  5             THE VIDEOGRAPHER:       We are on the record at         01:31:34

  6     1:32 p.m.

  7             MR. BLOCK:     Great.    Thank you.

  8             THE VIDEOGRAPHER:       Central Time.       Sorry,

  9     Central Time.

 10     BY MR. BLOCK:                                                   01:31:57

 11         Q   If you go to page 54, near the end of

 12     paragraph 93.

 13         A   Back on my report?

 14         Q   Yeah.

 15         A   54, paragraph what?                                     01:32:13

 16         Q   93.     So at the very end, paragraph 93.

 17             When you're discussing this Lapauw 2008 and

 18     Hilton 2021 study, you say -- this is like five

 19     paragraphs from the bottom -- (as read):

 20             "The authors also noted that since                      01:32:32

 21             males who identify as women often

 22             have lower baseline (i.e., before

 23             hormone treatment) muscle mass than

 24             the general population of males..."

 25             And then it continues, but I --                         01:32:44

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  1         A   Sorry, I was -- I was trying to find my place

  2     when you started reading, so I'm -- I'm on that page

  3     now.

  4         Q   Sure.     Do you -- okay.

  5             So about five lines from the bottom of                 01:32:53

  6     paragraph 93, you say -- in -- when discussing this

  7     Hilton study, you say (as read):

  8             "The authors also noted that since

  9             males who identify as women often

 10             have lower baseline (i.e., before                      01:33:09

 11             hormone treatment) muscle mass than

 12             the general population of males..."

 13             And then the sentence continues, but I just

 14     want to ask you a question about this part where you

 15     say that the authors of the study noted that males             01:33:23

 16     who identify as women often have lower baseline

 17     muscle mass than the general population of males.

 18             So do you -- do you have any reason to

 19     disagree with them, that -- that transgender women

 20     often have lower baseline muscle mass than the                 01:33:44

 21     population of cisgender males?

 22         A   No.     I think there are -- a fair read of

 23     studies that do exist says that in many cases

 24     transgender -- I'm going to use your term --

 25     transgender females come into baseline with some               01:34:03

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  1     lower measures of lean muscle mass and -- but the

  2     relevant -- and so the relevant question is where do

  3     they fall related to cisgender females, but to your

  4     point.

  5         Q    So the -- so my -- so my question is, do --           01:34:25

  6     so by lowering their levels of circulating

  7     testosterone, that would affect their ability to

  8     acquire new muscle mass like at the same rate as a

  9     cisgender male; correct?

 10              MR. FRAMPTON:    Objection to the form.               01:34:48

 11              THE WITNESS:    Their -- their ability to

 12     acquire lean muscle mass at the same rate as a

 13     representative cisgender male population would be --

 14     studies show that it would show less, yes.

 15              Is that what you were asking?                         01:35:18

 16     BY MR. BLOCK:

 17         Q    Yeah, I was asking whether or not lowering

 18     their circulating testosterone would impair their

 19     ability to increa- -- to develop new muscle mass at

 20     the same rate as a cisgender male who is -- has                01:35:29

 21     regular levels of circulating testosterone.

 22         A    At the same rate, yes.

 23         Q    And do you know how -- whether -- do you know

 24     what the effects of lowering testosterone has on

 25     a -- a transgender woman's ability to acquire new              01:35:48

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  1     muscle mass compared to how quickly a cisgender

  2     woman can acquire new muscle mass?

  3             MR. FRAMPTON:     Object to the form.

  4             Go ahead.

  5             THE WITNESS:     Restate that question.                01:36:06

  6     BY MR. BLOCK:

  7         Q   Yeah, sure.     So I -- do you -- do you -- are

  8     you aware of any data comparing the ability of a

  9     transgender woman who's lowered circulating

 10     testosterone to acquire new muscle mass against the            01:36:20

 11     ability of a cisgender woman to acquire new muscle

 12     mass?

 13             MR. FRAMPTON:     Same objection.

 14             Go ahead and answer.

 15             THE WITNESS:     This comparison to cisgender          01:36:30

 16     women, trying to think of a specific study.         Wiik.

 17             I'd have to look at -- I'd have to go back

 18     and look at my references.

 19         Q   Sure.

 20             MR. BLOCK:     Okay.   We can take a break for --      01:37:07

 21     for lunch now.      Let's go off the record.

 22             THE VIDEOGRAPHER:      We are off the record at

 23     1:37 p.m., Central Time.

 24             (Lunch recess.)

 25             THE VIDEOGRAPHER:      We are on the record at         02:15:44

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  1     2:16 p.m., Central Time.

  2     BY MR. BLOCK:

  3         Q   Good afternoon, Dr. Carlson.

  4         A   Hello.

  5         Q   I'd like to direct your attention to                   02:15:54

  6     Exhibit 80, so your February 2022 report, on

  7     page 15.     Let me know when you're there.

  8         A   Okay.    I am on page 15.

  9         Q   Okay.    And if you can look at footnote 10.

 10         A   Okay.                                                  02:16:38

 11         Q   Are you there?

 12         A   I -- I said, "Okay."      I'm sorry.

 13         Q   Okay.    So in the footnote, you know, it says

 14     (as read):

 15             In some cases, safety requires even                    02:16:49

 16             further division or exclusion.          A

 17             welterweight boxer would not compete

 18             against a heavyweight, nor a

 19             heavyweight wrestle against

 20             smaller -- a smaller athlete.          In              02:16:59

 21             the case of youth sports, when

 22             children are at an age where growth

 23             rates can vary widely, leagues will

 24             accommodate for naturally-occurring

 25             large discrepancies in body size by                    02:17:10

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  1             limiting larger athletes from

  2             playing positions where their size

  3             and strength is likely to result in

  4             injury to smaller players.         Thus, in

  5             youth football, players exceeding a                    02:17:21

  6             certain weight threshold may be

  7             temporarily restricted to playing on

  8             the line and disallowed from

  9             carrying the ball, or playing in the

 10             defensive secondary, where they                        02:17:32

 11             could impose high-velocity hits on

 12             smaller players.

 13             Did I read that correctly?

 14         A   Yes, you did.

 15         Q   Okay.   Great.   So, you know -- so my question        02:17:39

 16     is, this is an example of a way to improve safety

 17     even within a team solely consisting of boys or

 18     solely consisting of girls; correct?

 19         A   Correct.

 20         Q   Okay.                                                  02:18:09

 21         A   I mean, it doesn't all speak to team sports,

 22     but yes.

 23         Q   Okay.   Now, would this also be a way to

 24     increase safety in a coed team?

 25         A   That does occur in some coed rec sports, yes.          02:18:18

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  1         Q     Okay.   So there are ways to make rule

  2     modifications to account for safety concerns without

  3     completely excluding certain members of the team?

  4               MR. FRAMPTON:     Object to the form.

  5               THE WITNESS:     The way that you -- the -- the      02:18:35

  6     type of changes that we're talking about can be

  7     made, but they alter the nature of the sport itself,

  8     so...     You -- you cannot do it without changing the

  9     essence of what the sport is.

 10     BY MR. BLOCK:                                                  02:19:07

 11         Q     So if --

 12         A     Whether that's acceptable or not acceptable,

 13     that's not really what I was retained for.

 14         Q     Okay.   So if we could go to paragraph 42.

 15         A     Okay.                                                02:19:35

 16         Q     All right.     So if you go to the second

 17     sentence, where it says "this is one reason."

 18               Do you see that?

 19         A     I'm reading the first, so just give me a

 20     second.                                                        02:19:47

 21               I see it.

 22         Q     Okay.   So you see "This is one reason that

 23     rule modifications often exist in leagues where coed

 24     participation occurs."        And then for footnote 14,

 25     you say, "For example, see" this website "(detailing           02:20:08

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  1     variety of rule modifications applied in co-ed

  2     basketball)."    And then you say, "Similarly, coed

  3     soccer leagues often prohibit so-called 'slide

  4     tackles,' which are not prohibited in either men's

  5     or women's soccer."                                            02:20:28

  6             Do you see those sentences?

  7         A   I do.

  8         Q   Okay.   And so, again, would it be possible to

  9     make similar rule modifications if a transgender

 10     participant is playing?                                        02:20:39

 11             MR. FRAMPTON:    Object to the form.

 12             Go ahead.

 13             THE WITNESS:    Can -- you can change a

 14     sport -- you can change the rules of the sport any

 15     way you want, but you can't do that without changing           02:20:50

 16     the essence of the sport.

 17     BY MR. BLOCK:

 18         Q   Okay.   But are these rule changes for these

 19     coed participation sports adequate, in your opinion,

 20     to minimize safety concerns?                                   02:21:05

 21             MR. FRAMPTON:    Object to the form.

 22             THE WITNESS:    I'm not sure I can speak to

 23     adequate or not.     That implies that safety

 24     guardrails can -- that there's an end to it, but --

 25     restate your question, I'm sorry.                              02:21:36

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  1     BY MR. BLOCK:

  2         Q   I said, are these rule changes that you

  3     discuss in footnote 14, in your opinion, adequate --

  4     adequate to minimize safety risks from coed

  5     participation?                                                 02:21:54

  6             MR. FRAMPTON:     Object to the form.

  7             THE WITNESS:     I believe that they -- I -- I

  8     would assume that in the leagues that use them, that

  9     they serve the purpose of risk reduction in those

 10     leagues.     Not total risk reduction, relative risk           02:22:36

 11     reduction.

 12     BY MR. BLOCK:

 13         Q   Is it ever possible to totally eliminate risk

 14     from participating in contact or collision sports?

 15         A   No, of course not.                                     02:22:45

 16         Q   But --

 17         A   Well, yes.     By not playing.

 18         Q   Okay.    So -- but -- so do you think sports

 19     should be eliminated to eliminate the possibility of

 20     risk?                                                          02:23:01

 21             MR. FRAMPTON:     Object to the form.

 22             THE WITNESS:     Well, that's -- that's a

 23     societal -- that's not why I was retained for this.

 24     I was retained to speak to safety issues as exist in

 25     sport, not whether a sport ought to continue.                  02:23:20

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  1     BY MR. BLOCK:

  2         Q   What -- do you think there's safety risks

  3     involved when a -- a cisgender high school girl

  4     competes at -- competes on a football team with

  5     cisgender boys?                                                  02:23:46

  6         A   Do I think that there are risks?            Is that

  7     what you said?

  8         Q   Are there risks to that cisgender girl.

  9         A   Well, if -- if -- if we're going to say that

 10     there -- sports is not a zero sum risk, then any                 02:23:59

 11     participation involves some risk.

 12         Q   Okay.    Well, do you think it's safe for a

 13     high school girl to play tackle football with a high

 14     school boy?

 15             MR. FRAMPTON:    Object to the form.                     02:24:16

 16             THE WITNESS:    You want to specify that

 17     question more or just leave it the way it is?

 18     BY MR. BLOCK:

 19         Q   I want -- do you think it's safe for a high

 20     school girl to play tackle football with a high                  02:24:29

 21     school boy?

 22             MR. FRAMPTON:    Same objection.

 23             Go ahead.

 24             THE WITNESS:    I think that there is

 25     heightened risk for a high school girl to play                   02:24:36

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  1     football with a high school boy; however, there's a

  2     couple of things to say about that.

  3             First of all, that individual can select

  4     certain positions that are going to reduce the risk

  5     more than others.      So, for instance, you might have        02:24:55

  6     somebody who kicks the ball off, who -- (technical

  7     difficulty).

  8             Second, in that case, it's an individual

  9     choosing to participate and assuming that risk.

 10             But as to whether there is risk, yeah,                 02:25:15

 11     there's risk.

 12     BY MR. BLOCK:

 13         Q   Are you able to compare that risk to the risk

 14     of 11-year-old boys and girls playing soccer

 15     together?                                                      02:25:27

 16             MR. FRAMPTON:     Object to the form.

 17             THE WITNESS:     Am I able to compare the risk

 18     of a high school female playing football on a men's

 19     team with 11-year-old boy and girls playing soccer

 20     together?    Is that what you're asking?                       02:25:48

 21     BY MR. BLOCK:

 22         Q   That's what I'm asking.

 23             MR. FRAMPTON:     Same objection.

 24             THE WITNESS:     That's not something that's

 25     been looked at.                                                02:25:57

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  1             If you're asking me whether there's a general

  2     increase in risk, I would say yes.

  3     BY MR. BLOCK:

  4         Q   An increase in risk for the football fact

  5     pattern?                                                        02:26:13

  6             MR. FRAMPTON:     Object to the form.

  7             THE WITNESS:     That's not what you asked.

  8     BY MR. BLOCK:

  9         Q   Well, I'm just trying to understand what you

 10     said at the end.                                                02:26:19

 11             You said, If you're asking if it's a general

 12     increase in risk, I'd say yes.

 13             I just wanted to just clarify what you were

 14     referring to at the end.

 15         A   I'm not sure what you were asking.          So you      02:26:29

 16     were asking whether --

 17         Q   What's -- what's -- sorry, I -- I can clarify

 18     my question.    Would that help?

 19         A   Yes, I think so.

 20         Q   Yeah, what's riskier, an 11-year-old girl               02:26:40

 21     playing soccer with an 11-year-old boy or a

 22     17-year-old girl playing football with a 17-year-old

 23     boy?

 24         A   Well, that's anecdote and --

 25             MR. TRYON:     Objection.                               02:26:56

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  1     BY MR. BLOCK:

  2         Q   Go on.

  3             MR. TRYON:     Go ahead.

  4             THE WITNESS:     Me?    Okay.

  5             That's anecdote.       And it's obviously going to      02:27:06

  6     depend on this situation.

  7             If you're comparing a high school placekicker

  8     and that's all she does to two 11-year-olds where

  9     there's wide discrepancy between a larger, faster

 10     male and a smaller, slower female, then there's                 02:27:28

 11     going to be more risk in the soccer side of it.         If

 12     you're comparing a high school female who's playing

 13     linebacker, the risk might fall to the other side.

 14     But those are hypotheticals around, again,

 15     anecdotes, so...                                                02:27:51

 16     BY MR. BLOCK:

 17         Q   Isn't this whole -- isn't your expert report

 18     all about hypotheticals and anecdotes?

 19             MR. FRAMPTON:     Object to the form.

 20             THE WITNESS:     I wouldn't say that they're            02:28:03

 21     about anecdotes.     I would say that it's based on

 22     modeling assumptions that -- informed by research

 23     that speaks to a sex-based difference.

 24     BY MR. BLOCK:

 25         Q   And those same modeling assumptions would               02:28:24

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  1     allow you to compare the risks of 11-year-olds

  2     playing soccer together to 17-year-olds playing

  3     football together; right?

  4             MR. FRAMPTON:    Object to the form.

  5             THE WITNESS:    To your point, I look at --            02:28:44

  6     yes, the -- the -- the modeling risks apply to many

  7     different age categories.

  8     BY MR. BLOCK:

  9         Q   Is there any data at all on injuries to

 10     cisgender prepubertal girls from playing with                  02:29:09

 11     cisgender prepubertal boys?

 12         A   I'm not aware of that specifically, no.

 13         Q   On page -- paragraph 78.        Let me know when

 14     you're at paragraph 78.

 15         A   Okay.                                                  02:30:09

 16         Q   Okay.   Paragraph 78, you say (as read):

 17             "Of course there exists variation in

 18             all these factors within a given

 19             group of males or females.         However,

 20             it is also true that within                            02:30:17

 21             sex-specific pools, size

 22             differential is somewhat predictable

 23             and bounded, even considering

 24             outliers."

 25             Did I read that right?                                 02:30:25

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  1         A   Yes.

  2         Q   Okay.   So I think this goes back a little bit

  3     to our discussion from -- from before, having a

  4     larger cisgender woman on a girls' -- a woman's

  5     sports team is riskier to the other participants                     02:30:43

  6     than having a smaller cisgender woman on that team;

  7     correct?

  8         A   I don't -- you're equating size to risk in a

  9     way that make it hard to answer that question.              You

 10     haven't told me the sport.       You haven't told me the             02:31:18

 11     other characteristics of the athletes.              So it could

 12     run either way.

 13             Injury risk is a net effect.          You could have

 14     a -- well, I'll just leave it at that.

 15         Q   Okay.   So you say size differential here, so                02:31:37

 16     that's why I talked about size.

 17             When you -- when you said it's also true that

 18     within sex-specific pools, size differential is

 19     somewhat predictable.

 20             What point were you making when you said                     02:31:51

 21     that?

 22         A   I -- I -- I suppose a more artful way to say

 23     that would be physical attributes are somewhat --

 24     or -- or performance-based attributes -- physical

 25     and performance attributes are somewhat predictable                  02:32:35

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  1     and bounded.

  2         Q   And so your concern about allowing

  3     transgender women to participate on women's teams is

  4     that you would be introducing athletes into the pool

  5     that fall outside of the outer bounds that would               02:32:50

  6     exist if it were just limited to cisgender women

  7     athletes?

  8             MR. FRAMPTON:    Objection --

  9             THE WITNESS:    It --

 10             MR. FRAMPTON:    -- to form.                           02:33:04

 11     BY MR. BLOCK:

 12         Q   Go ahead.

 13         A   My concern would be that in -- in the

 14     aggregate, there are more than any one -- there's

 15     more than any one attribute that makes up a male,              02:33:12

 16     and that taken as a whole, those attributes fall

 17     outside the bounds of -- into the other pool.

 18         Q   And is that going to be true for every

 19     transgender woman?

 20         A   I can't speak to how that would apply to any           02:33:38

 21     given -- (technical difficulty) -- but from a

 22     population standpoint, it would certainly hold true.

 23         Q   So what if eligibility were limited to

 24     transgender women whose physical attributes fell

 25     within the -- the predictable and bounded range of             02:34:18

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  1     physical attributes for cisgender women, would that

  2     raise safety concerns?

  3               MR. FRAMPTON:    Object to the form.

  4               THE WITNESS:    There's problems, first of all,

  5     with measurement validity when we're talking about             02:34:33

  6     an unlimited -- kind of an unbounded list of

  7     biological categories.       So that's a problem.

  8               So I -- I don't -- I think there's an

  9     assumption underneath all of that that says that you

 10     can kind of boil down a transgender and cisgender              02:34:49

 11     female into the exact same categories, and I -- I

 12     don't know that that's true.

 13     BY MR. BLOCK:

 14         Q     Do you know the effects of lowering

 15     testosterone to levels of circulating testosterone             02:35:11

 16     typical of women on all the various physiological

 17     attributes that would play into the analysis of

 18     safety?

 19         A     That's an evolving area of study, and it

 20     hasn't been completely studied yet, but the -- but             02:35:40

 21     the -- the net effect of the studies that we do have

 22     seem to tilt in the same direction, which is that

 23     there is retained difference.

 24         Q     In your report, you talk about internal risk

 25     factors and external risk factors; correct?                    02:36:32

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  1         A    Correct.

  2         Q    Okay.   And if you look at your report on --

  3     go to section -- on page 33, section VI.

  4         A    Are you talking about paragraph 57?

  5         Q    Yeah, yeah.   But I'm focusing on the headline        02:37:08

  6     "Enhanced Female Vulnerability to Certain Injuries,"

  7     right?    Do you see that?

  8         A    I see that.

  9         Q    Okay.   And then there's -- there's a

 10     subsection A on concussions and a subsection B on              02:37:23

 11     ACL tears.

 12              Are the things discussed in this section an

 13     example of internal risk factors?

 14         A    Well, I -- you know, when you go back and you

 15     look at the discussion around injury epidemiology,             02:37:45

 16     I -- I think I make it clear that -- that those are

 17     often blended.

 18              And so in the case of both concussion and ACL

 19     risk, there are -- there are innate things about the

 20     female that seem to predispose them to those                   02:38:04

 21     injuries, but at the same time, those injuries can

 22     be imparted by being struck, so...

 23         Q    And are -- is there any data on the

 24     susceptibility of transgender girls and women to

 25     those injuries, you know, if they have had puberty             02:38:30

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  1     blockers followed by gender-affirming hormones?

  2             MR. FRAMPTON:    Object to the form.

  3             THE WITNESS:    I'm not aware of research

  4     specifically looking at the risk of a transgender

  5     female who's prepubertal to ACL risk or concussion               02:38:52

  6     risk.

  7             Did I say transgender prepu- -- pre- --

  8     prepubertal females?

  9     BY MR. BLOCK:

 10         Q   I thought you did.      Or at least that's what I        02:39:16

 11     understood.

 12         A   I just wanted to clarify.

 13         Q   So if you -- turn to page 4 in your report.

 14         A   Okay.

 15         Q   On the second -- the -- the -- you know,                 02:39:47

 16     actually, let's go to Exhibit 81.          So this is the

 17     first white paper you -- you -- you made.           Page 3.

 18     It's page 3 of Exhibit 81, on the -- the internal

 19     pagination.

 20         A   Okay.   I'm -- I'm there.                                02:40:09

 21         Q   Okay.   So this paragraph, it says (as read):

 22             "Unfortunately, apart from

 23             World Rugby's careful review, the

 24             public discourse is lacking any

 25             careful consideration of the                             02:40:31

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  1             question of safety.      As a physician

  2             who has spent my career caring for

  3             athletes, I find this silence about

  4             safety both surprising and

  5             concerning.     It is my hope through                  02:40:39

  6             this white paper to equip and

  7             motivate sports leagues and policy

  8             makers to give adequate attention to

  9             the issue of safety for female

 10             athletes."                                             02:40:49

 11             Did I read that right?

 12         A   Yes, you did.

 13         Q   Okay.    And does this white paper disclose

 14     anywhere that you were hired to write it by ADF?

 15             MR. FRAMPTON:     Object to the form.                  02:41:04

 16             THE WITNESS:     I don't think that that's in

 17     there, no.

 18     BY MR. BLOCK:

 19         Q   Okay.    When -- when you say in the white

 20     paper that you find the silence about safety both              02:41:18

 21     surprising and concerning, when did you acquire that

 22     opinion?

 23         A   I imagine in the context of culling together

 24     this material.

 25         Q   So you didn't mean to say that you were just           02:41:43

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  1     a doctor listening to the discourse and just spurred

  2     into action organically by your surprising concern

  3     about the lack of discussion of safety?

  4             MR. FRAMPTON:    Object to the form.

  5             THE WITNESS:    Well, I think going back to            02:42:05

  6     what we were talking about earlier, I -- I -- you

  7     know, this -- this issue has become more prominent

  8     on the public radar, particularly over the last five

  9     years, and -- you know, so from the beginning, when

 10     I was with AMSSM, you know, those conversations were           02:42:22

 11     cropping up.

 12             And as I said earlier, I had some concerns

 13     about the issue of safety when it came to size

 14     differential, but those concerns -- I -- I believe

 15     that those concerns have been validated by review of           02:42:43

 16     the available evidence in conjunction with my

 17     experience as a physician.

 18     BY MR. BLOCK:

 19         Q   Going back to your -- your February 2022

 20     report, on page 7.                                             02:43:11

 21         A   Okay.

 22         Q   So in this paragraph, you discuss various

 23     sports that fall within your definition of contact

 24     or collision, and I wanted to --

 25         A   What -- what page are you on?                          02:43:41

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  1         Q   Page 7 of your February 22 report,

  2     Exhibit 80.

  3             Oh, no, I'm sorry --

  4         A   I'm not seeing that.

  5         Q   No, no, no, no.     I was looking at the wrong           02:43:57

  6     one, I apologize.      It was my -- my fault.

  7             This would then be page -- page 9 of your --

  8     of that one.

  9         A   Okay.

 10         Q   So you're -- you're discussing here -- you're            02:44:21

 11     listing various sports that fall within your

 12     definition of collision and contact.

 13         A   Uh-huh.

 14         Q   And we have boxing, wrestling, rugby,

 15     ice hockey, football, basketball.          And then we also      02:44:36

 16     have mixed martial arts, field hockey, soccer,

 17     rugby, lacrosse, volleyball, baseball and softball.

 18             Do you think that the increased risk that you

 19     talk about is equally present to the same degree in

 20     all of these sports that you list?                               02:45:05

 21         A   No, I wouldn't say that.

 22         Q   Okay.     So there's some contact in collision

 23     sports where there's a greater increased risk than

 24     another contact in collision sports; right?

 25         A   That's correct.                                          02:45:17

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  1           Q     Which of these contact and collision sports

  2     do you think have the least degree of increased

  3     risk?

  4           A     Of the sports listed there, I would -- I -- I

  5     would qualify this and say -- you know, I would need                   02:45:39

  6     to rely on epidemiological statistics, but I would

  7     guess that in terms of traumatic injury, volleyball

  8     is probably near the bottom.

  9                 MR. BLOCK:   If you could just give me another

 10     five minutes, I'll -- I'll just come back with any                     02:46:21

 11     remaining questions I have.

 12                 Can -- can we go off the record?

 13                 THE VIDEOGRAPHER:   We are off the record at

 14     2:46 p.m., Central Time.

 15                 (Recess.)                                                  02:56:18

 16                 THE VIDEOGRAPHER:   We are on the record at

 17     2:56 p.m., Central Time.

 18     BY MR. BLOCK:

 19           Q     Okay.   So just a few more questions,

 20     Dr.       Carlson, but I won't keep you too much longer.               02:56:31

 21                 If you could go to -- oh, jeez.           I thought I

 22     had the paper -- page -- this is it.             Page 28 of

 23     your -- of Exhibit 80, your February 2022 report.

 24           A     Page 28?

 25           Q     Yeah.   Paragraph 49.                                      02:57:09

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  1         A    Okay.

  2         Q    Just four lines down, you -- you say, in a

  3     parenthetical, that prime athletic years are ages 18

  4     to 29.

  5              Do you see that?                                      02:57:43

  6         A    Yes.

  7         Q    Could you explain why those are the prime

  8     athletic years?

  9         A    Well, it's -- I don't recall offhand how I

 10     came to include that in, so...         But looking at it,      02:58:04

 11     it's roughly from the age of the end of puberty

 12     through your third decade.       That makes sense to me.

 13         Q    Why does it make sense to you that the prime

 14     athletic years would begin roughly at the age of the

 15     end of puberty?                                                02:58:25

 16         A    We -- we've already spoken somewhat to the

 17     effect of puberty on performance.

 18         Q    So the -- the further along on -- you are on

 19     puberty, the greater effect it will have on your

 20     performance?                                                   02:58:50

 21         A    I -- I think that that term -- or that --

 22     that phrase could be rephrased in -- in other ways.

 23     Because obviously it depends on the sport; right?

 24     So take gymnastics, for example, the prime years for

 25     an Olympic gymnast are not going to fall in that               02:59:16

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  1     range.

  2         Q    Do you think that a trans girl has an

  3     athletic advantage over a cisgender girl in girls'

  4     gymnastics?

  5         A    I have never --                                       02:59:30

  6              MR. FRAMPTON:     Object to the form.

  7              Go ahead.

  8              THE WITNESS:    I have never considered that.

  9     BY MR. BLOCK:

 10         Q    Well, sitting here, considering it now, can           02:59:40

 11     you -- what's your opinion?

 12         A    Do I think a trans girl has an advantage over

 13     a cis girl in women's gymnastics?

 14         Q    Yes.

 15              MR. FRAMPTON:     Object to the form.                 02:59:50

 16              Go ahead.

 17              THE WITNESS:    It would depend on the

 18     apparatus that you're talking about, I suppose.         For

 19     instance, assuming that that individual may have an

 20     advantage in vault.      But again, you're -- we're            03:00:08

 21     talking about anecdotal hypothesis about individuals

 22     and not population, so -- you know, I -- I don't

 23     know that I can really answer that question.

 24     BY MR. BLOCK:

 25         Q    Well, at a population level, do you think             03:00:26

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  1     transgender girls have an athletic advantage over

  2     cisgender girls in girls gymnastics?

  3               MR. FRAMPTON:    Same objection, form and

  4     scope.

  5               Go ahead.                                            03:00:36

  6               THE WITNESS:    Certainly not all the way

  7     around, but there may be aspects of different events

  8     in gymnastics that they -- they may have a -- they

  9     may have some advantage within.

 10     BY MR. BLOCK:                                                  03:00:56

 11         Q     So are you -- would you -- do you feel

 12     confident in that answer?        I know I just asked you

 13     to give it off the top of your head, so is that, you

 14     know, an answer that you -- you feel sure about

 15     or --                                                          03:01:07

 16         A     Well, that study -- that -- that has never

 17     been looked at, as far as I'm aware, in a

 18     peer-reviewed study, but to the extent that you're

 19     making me answer it, I think I've given you an

 20     answer.                                                        03:01:20

 21         Q     Okay.   If you could go to --

 22         A     Sorry, I didn't hear you.

 23         Q     No, sorry, I -- I -- I stopped my sentence

 24     halfway through.

 25               If you can go to page 59.                            03:01:47

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  1         A   Okay.

  2         Q   Okay.   So in the second sentence of that

  3     paragraph, you say (as read):

  4             "While, as I have noted, some

  5             biological males have indeed                           03:02:20

  6             competed in a variety of girls' and

  7             women's contact sports, the numbers

  8             up till now have been small."

  9             Excuse me.

 10             "But recent studies have reported                      03:02:31

 11             very large increases in the number

 12             of children and young people

 13             identifying as transgender compared

 14             to historical experience.        For

 15             example, an extensive survey of 9th                    03:02:39

 16             and 11th graders in Minnesota found

 17             that 2.7% identified as transgender

 18             or gender-nonconforming—— well over

 19             100 times historical rates..."

 20             And you cite that to Rider 2018 for that.              03:02:54

 21             Did I read that right?

 22         A   I believe so.

 23         Q   Okay.   Well, first of all, are you aware of

 24     any statistics about the number of people

 25     identifying as transgender in West Virginia?                   03:03:07

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  1         A   I believe I have read at some point in time

  2     that the percentage of transgender-identifying

  3     people in West Virginia is high to the national

  4     average.

  5         Q   Okay.   How about transgender youth?                     03:03:26

  6         A   I -- I can't remember if what I read was

  7     specific to transgender youth or not.

  8         Q   And do you know whether any transgender girl

  9     besides the plaintiff in this case has ever competed

 10     in girls or women's sports in West Virginia?                     03:03:42

 11         A   Again, I couldn't speak to that.

 12         Q   Okay.   So --

 13         A   I was -- I wasn't retained for that, so I

 14     don't know.

 15         Q   So this -- this study by Rider 2018, in                  03:03:52

 16     Minnesota, do you know what percentage of the

 17     2.7 percent of students in that study identified as

 18     transgender as opposed to gender nonconforming?

 19         A   I don't recall that, no.

 20         Q   Okay.   Do you recall ever looking it up?                03:04:19

 21         A   I'm sure at -- at some point I did look it

 22     up, but I don't recall what the number is.

 23             MR. BLOCK:      Okay.   So if you could check your

 24     inbox -- I mean, exhibit box, Exhibit 85.            We can

 25     look at it together.       Let me know when you see it.          03:04:57

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  1               (Exhibit 85 was marked for identification

  2              by the court reporter and is attached hereto.)

  3               THE WITNESS:     I said I have it up.

  4     BY MR. BLOCK:

  5         Q     Okay.   Great.    Could you go to page 2.            03:05:20

  6         A     I'm there.

  7         Q     Okay.   So if you -- just scroll down to --

  8     just -- actually, you don't even have to scroll

  9     down.     The second sentence on page 2, where it

 10     describes -- it begins with "gender nonconforming."            03:05:41

 11         A     Yes.

 12         Q     Okay.   So page -- so this sentence says (as

 13     read):

 14               "Gender nonconforming describes

 15               individuals whose gender expression                  03:05:54

 16               does not follow stereotypical

 17               conventions of masculinity and

 18               femininity and who may or may not

 19               identify as transgender."

 20               Do you see that?                                     03:06:04

 21         A     Yes, I see that.

 22         Q     Okay.   Do you think that -- to the extent

 23     that the study is talking about gender nonconforming

 24     people, do you think it's still relevant to

 25     assessing an increase in transgender people                    03:06:17

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  1     participating in girls and women's sports?

  2             MR. FRAMPTON:     Object to the form.

  3             THE WITNESS:     I -- the definition that you

  4     just read for me is not the same thing as a

  5     transgender individual as you've defined it.                   03:06:38

  6     BY MR. BLOCK:

  7         Q   Okay.   Now, if you go to -- if you go to the

  8     first page of the study, for the abstract, if you go

  9     to "Results."

 10         A   Yes, I see that.                                       03:07:17

 11         Q   So it says (as read):

 12             "We found that students who are TGNC

 13             reported significantly poorer

 14             health, lower rates of preventative

 15             health checkups, and more nurse                        03:07:26

 16             office visits than cisgender youth.

 17             Do you see that?

 18         A   I do see that.

 19         Q   All right.     As a general matter, at a

 20     population level, if a group of folks reports                  03:07:38

 21     significantly poorer health than a control group, is

 22     that usually a sign of athletic advantage?

 23             MR. FRAMPTON:     Object to the form.

 24             Go ahead.

 25             THE WITNESS:     That's so far removed from            03:07:55

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  1     specifics of athletic advantage that I don't know

  2     that I can answer that, what -- what -- what plays

  3     into poorer health.

  4     BY MR. BLOCK:

  5         Q   Okay.   Well, do -- do you think that having a         03:08:15

  6     poor -- poorer health -- well, what connection do

  7     you have -- do you see, if any, between, you know,

  8     someone having poorer health and being a good

  9     athlete?

 10             MR. FRAMPTON:    Object to the form.                   03:08:35

 11             THE WITNESS:    Again, I -- I think without

 12     knowing how poorer health is defined here, I

 13     hesitate to answer that question.

 14     BY MR. BLOCK:

 15         Q   Okay.   Well, is it fair to say that there are         03:08:47

 16     a variety of ways in which, at a population level,

 17     the -- the health of transgender girls and women may

 18     be different than the health of cisgender boys and

 19     men?

 20             MR. FRAMPTON:    Same objection.                       03:09:10

 21             THE WITNESS:    Again, I'm a board-certified

 22     sports medicine physician, I'm not an

 23     endocrinologist, and you're asking questions about

 24     population distinctions between transgender and

 25     cisgender individuals.      I don't know that I was            03:09:24

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  1     retained to ask -- answer those questions.

  2     BY MR. BLOCK:

  3         Q   So -- so you can't offer an expert opinion on

  4     how similar or dissimilar transgender girls and

  5     women are to cisgender boys and men --                          03:09:43

  6             MR. FRAMPTON:    Object to --

  7             THE WITNESS:    I didn't --

  8             MR. FRAMPTON:    -- the form.

  9             THE WITNESS:    -- say that.       You were asking

 10     me about their population -- the reflection of                  03:09:53

 11     overall health on that population versus cisgender.

 12             Is that what you're asking me?

 13     BY MR. BLOCK:

 14         Q   Well, I asked you that, and then I asked you

 15     another question, which is, you know, the basis for             03:10:10

 16     your expert opinion opining on the similarities

 17     between cisgender girls and women -- excuse me.          I

 18     was asking the basis for your expert opinion opining

 19     on the similarities between transgender girls and

 20     women and cisgender boys and men.                               03:10:27

 21         A   Between trans- --

 22             MR. FRAMPTON:    Object to the form.

 23             Go ahead.

 24             THE WITNESS:    Between transgender boys and

 25     women, is that what you said?                                   03:10:39

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  1     BY MR. BLOCK:

  2           Q   Transgender girls and women compared to

  3     cisgender boys and men.        What's the basis of your

  4     expertise in drawing a comparison between those two

  5     groups of people?                                              03:10:52

  6           A   So you're talking about trans women --

  7           Q   Yes.

  8           A   -- or trans men?

  9           Q   Sorry, I'm talking about trans girls and

 10     women and cis --                                               03:11:01

 11           A   Can you rephrase --

 12           Q   -- boys and men --

 13           A   -- the question because I'm not sure -- I

 14     want to understand what you're saying.

 15           Q   Yeah.   People assigned a male sex assigned at       03:11:09

 16     birth who have female gender identities are the

 17     people I'm referring to as trans girls and women.

 18           A   Okay.

 19           Q   And my question is, do you have any expert

 20     basis to opine on how similar that group of people             03:11:30

 21     are to cisgender boys and men?

 22               MR. FRAMPTON:    Object to the form.

 23               Go ahead.

 24               THE WITNESS:    Yes, I do.

 25     ///

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  1     BY MR. BLOCK:

  2         Q   And what -- what is that expert basis?        What

  3     is the basis for that expert opinion?

  4         A   I'm a board-certified sports medicine

  5     physician, and I can speak to the safety issues                 03:11:53

  6     involved with these two populations.

  7         Q   But are you -- you don't -- what information

  8     do you have about the -- you know, the -- the health

  9     and physical profile of transgender girls and women?

 10             MR. FRAMPTON:      Object to the form.                  03:12:12

 11             THE WITNESS:      I think I told you that, A, I

 12     was retained to speak to the issues around these

 13     populations that deal with sports safety.

 14     BY MR. BLOCK:

 15         Q   And -- okay.      So what's the basis of your           03:12:42

 16     ability to render an expert opinion, though?

 17             MR. FRAMPTON:      Object to the form.

 18             Go ahead.

 19             THE WITNESS:      Sure, I understand the

 20     question.    I'm sorry.                                         03:12:55

 21             I -- I'm not sure how that relates to what

 22     we're looking at here.

 23     BY MR. BLOCK:

 24         Q   Sure.   Sure.     And I -- I -- I won't keep you

 25     too much longer.                                                03:13:06

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  1              I understand everything you've opined on in

  2     your report about cisgender boys and men and their

  3     differences between cisgender girls and women.             You

  4     know, this case is about transgender girls and women

  5     and that population, you would agree, is different                  03:13:26

  6     in some ways, at least, from cisgender boys and men;

  7     right?

  8              MR. FRAMPTON:     Object to the form.

  9              Go ahead.

 10              THE WITNESS:     There aren't population-level             03:13:35

 11     studies that have really looked at that.             You can --

 12     so I don't know that we can say that.

 13     BY MR. BLOCK:

 14         Q    So without population studies that have

 15     looked at transgender girls and women, we can't say                 03:13:57

 16     whether they are the same as cisgender boys and men;

 17     right?

 18              MR. FRAMPTON:     Object to the form.

 19              THE WITNESS:     Are you saying that -- are you

 20     asking if there are baseline characteristic                         03:14:18

 21     differences between transgender women and cisgender

 22     women?

 23     BY MR. BLOCK:

 24         Q    Sure.    That's one of them.       Sure, yes.    No,

 25     no, no, no.      No.   I'm asking between transgender               03:14:35

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  1     women and cisgender men.

  2             Are there baseline differences between

  3     transgender women and cisgender men?

  4         A   We don't have good studies that were designed

  5     to look at large populations to answer baseline                03:14:51

  6     questions.      We have inferences we can make about

  7     certain studies.      That's it.

  8         Q   Okay.

  9             MR. BLOCK:     All right.     Thank you,

 10     Dr. Carlson.      That's all the questions I have.             03:15:02

 11             THE WITNESS:     Thank you.

 12             THE VIDEOGRAPHER:     Any other questions?

 13             MR. TRYON:     This is Dave --

 14             THE VIDEOGRAPHER:     Okay.

 15             MR. TRYON:     This is Dave Tryon from the State       03:15:13

 16     of West Virginia.      I -- I have no questions for the

 17     witness.

 18             MR. CROPP:     This is Jeffrey Cropp for the

 19     defendants Harrison County Board of Education and

 20     Superintendent Dora Stutler.        I have no questions.       03:15:24

 21             MS. MORGAN:     This is Kelly Morgan on behalf

 22     of the West Virginia Board of Education and

 23     Superintendent Burch.      I have no questions.

 24             Thank you very much.

 25             MS. GREEN:     This is Roberta Green on behalf         03:15:36

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  1     of WVSSAC.    I have no questions.

  2             Thank you.

  3             THE VIDEOGRAPHER:       We are off the record

  4     at --

  5             MR. FRAMPTON:     Hang on.     Hang on.     Hang on.      03:15:50

  6     Hang on.

  7             I have -- I think I've got probably one just

  8     to follow-up on Mr. Block's last question.

  9             Dr. Carlson, do we have information on

 10     whether there are retained physical advantages when               03:16:04

 11     people undergo a transition from -- undergo a

 12     transition from male to female?

 13             MR. BLOCK:     Objection to form.

 14             THE WITNESS:     Yes.

 15             MR. FRAMPTON:     Okay.     That's all I had.             03:16:19

 16             MR. BLOCK:     All right.     So I have another

 17     question.

 18     BY MR. BLOCK:

 19         Q   What -- can you please describe the studies

 20     that we have that provide information that form the               03:16:36

 21     basis of your answer to counsel's question?

 22         A   Retained differences in -- well, the Roberts

 23     study, for one.      The Roberts study showed retained

 24     differences in speed.

 25         Q   Are there any others?                                     03:17:12

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  1         A   There are -- there are studies that look at

  2     retained differences in -- in muscle mass and -- so

  3     the Wiik study.

  4         Q   And we don't --

  5         A   Many of these are cited in my report.                  03:17:51

  6         Q   And -- and we don't have any studies on the

  7     differences between transgender girls and women and

  8     cisgender boys and men before transition, do we?

  9             MR. FRAMPTON:     Object to the form.

 10             Go ahead.                                              03:18:08

 11             THE WITNESS:     Say that one more time.

 12     BY MR. BLOCK:

 13         Q   We don't have any studies on the differences

 14     between transgender girls and women and cisgender

 15     boys and men before transition, do we?                         03:18:16

 16             MR. FRAMPTON:     Same objection.

 17             Go ahead.

 18             THE WITNESS:     I don't believe -- again, I

 19     can't recall if the Klaver study made that

 20     comparison, so I'd have to go back and look at it.             03:18:46

 21             MR. BLOCK:     No further questions.

 22             THE VIDEOGRAPHER:     Anyone else?

 23             MR. FRAMPTON:     I don't have anything further.

 24             THE VIDEOGRAPHER:     We are off the record at

 25     3:19 p.m., Central Time.      This completes today's           03:19:02

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  1      deposition of Dr. Chad Carlson.
  2                The total number of media units used was
  3      eight and will be retained by Veritext Legal
  4      Solutions.
  5                         (TIME NOTED:            3:19 p.m.)
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